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NOÿQRSOTUQVWXWYZÿ[YXY\XY[ÿQXÿRWTXeÿ Lÿ                                        Lÿ                                   65ÿ
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E+d+1(*ÿ1+/0125ÿ@=ÿ2H+ÿ*@2+1(2F1+ÿ@=3@B(2+ÿ2H(2ÿ/1052(?*(=3@=5iÿ@=B*F3@=?ÿD@50/10520*iÿD(9ÿH(d+ÿ2+1(20?+=@Bÿ+77+B25ÿ@=ÿHFD(=ÿ)+@=?5jÿEhF**ÿ3+7+B25iÿB1(=@(*
=+1d+ÿ/(*5@+5iÿ3+*(9+3ÿ?10J2Hÿ(=3ÿ/59BH0D0201ÿ3+d+*0/D+=2iÿ7(B@(*ÿD(*701D(2@0=ÿ(=3ÿ*@D)ÿ3+7+B25ÿH(d+ÿ(**ÿ)++=ÿ1+/012+3ÿ(72+1ÿ+k/05F1+ÿ3F1@=?ÿ2H+ÿ7@152
21@D+52+1j
G=@D(*ÿl(2(
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5F17(B+ÿ(1+(;ÿJ+1+ÿB(11@+3ÿ0F2jÿq+B(F5+ÿ07ÿ2H+ÿ(=2@/10?+52(2@0=(*ÿ(B2@d@29ÿ07ÿD@7+/1@520=+iÿ7+2(*ÿ*055+5ÿJ+1+ÿDFBHÿH@?H+1ÿ2H(=ÿ@=ÿB0=210*ÿ(=@D(*5jÿEhF**
3+701D@2@+5ÿJ+1+ÿ3+2+B2+3ÿ@=ÿ1())@2ÿ52F3@+5ÿ(2ÿ(//10k@D(2+*9ÿofrÿ2H+ÿHFD(=ÿ+k/05F1+iÿ(*2H0F?Hÿ=0ÿ2+1(20?+=@Bÿ+77+B25ÿ07ÿD@7+/1@520=+ÿH(d+ÿ)++=ÿ0)5+1d+3
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*+d+*5j
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B+1d@B(*ÿ5072+=@=?iÿ*+(3@=?ÿ20ÿ2H+ÿ+k/F*5@0=ÿ07ÿ2H+ÿ/103FB25ÿ07ÿB0=B+/2@0=j
CF15@=?ÿ802H+15
2ÿ@5ÿ=02ÿh=0J=ÿJH+2H+1ÿD@7+/1@520=+ÿ@5ÿ+kB1+2+3ÿ@=ÿHFD(=ÿD@*hjÿ8(=9ÿDEAR011
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E@=B+ÿ2H+ÿ+77+B25ÿ07ÿD@7+/1@520=+ÿ0=ÿ@=7(=25ÿ(1+ÿF=h=0J=iÿ)1+(52>7++3@=?ÿJ0D+=ÿ5H0F*3ÿB0=5F*2ÿJ@2Hÿ2H+@1ÿH+(*2HÿB(1+ÿ/10d@3+1ÿ20ÿ3+B@3+ÿ@7ÿ2H+9ÿ5H0F*3
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    CENTER FOR DRUG EVALUATION AND
               RESEARCH




                     APPLICATION NUMBER:
                         202107Orig1s000



RISK ASSESSMENT and RISK MITIGATION
             REVIEW(S)




                                  DEAR016                             FDA 0292
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                                   Department of Health and Human Services
                                         Food and Drug Administration
                                   Center for Drug Evaluation and Research
                                    Office of Surveillance and Epidemiology
                         Office of Medication Error Prevention and Risk Management

                                     RISK MANAGEMENT REVIEW


              Date:                      January 27, 2012

              Risk Management Analyst:   Suzanne Robottom, Pharm.D.
                                         Division of Risk Management (DRISK)

              Team Leader:               Cynthia LaCivita, Pharm.D., DRISK

              Division Director:         Claudia Karwoski, Pharm.D., DRISK

              Drug Name:                 Korlym (mifepristone)

              Dosage and Route:          300 mg tablets; by mouth

              Application Type/Number:   NDA 202-107

              Applicant/sponsor:         Corcept

              OSE RCM #:                 2011-2351




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                                                   DEAR017                            FDA 0293
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              EXECUTIVE SUMMARY
              The purpose of this review is to document DRISK’s determination that a risk evaluation
              and mitigation strategy (REMS) with elements to assure safe use (ETASU) is not
              necessary for the approval of mifepristone for the treatment of the signs and symptoms of
              endogenous Cushing’s syndrome.
              Corcept submitted a 505(b)(2) application for approval of Korlym (mifepristone) for the
              treatment of the signs and symptoms of endogenous Cushing’s syndrome. Mifepristone
              (Mifeprex) is currently approved for pregnancy termination with a REMS with ETASU.
              Based on FDA feedback provided at the September 14, 2010 pre-NDA meeting, Corcept
              proposed a REMS with ETASU with their NDA submission.
              After extensive research and multiple discussions with the review team, DRISK and the
              Division of Metabolism and Endocrinology Products (DMEP) determined that:
                    x    A REMS with ETASU is not necessary to ensure that the benefits outweigh the
                         risks of Korlym in the Cushing’s population.
                    x    A REMS with ETASU for Korlym would not improve the benefit/risk balance for
                         the intended use (Cushing’s) population and would add burden.
                    x    Use of Korlym outside of Cushing’s syndrome cannot be prospectively
                         quantified.
              The REMS Oversight Committee and the Center Director provided additional guidance
              and affirmed that although a REMS is required for Mifeprex, a REMS for Korlym is not
              necessary to ensure that the benefits of the drug outweigh its risks at this time. Korlym’s
              safety and drug utilization should use be monitored through post marketing requirements
              (PMR). If data indicate that the current approach compromises the integrity of the
              Mifeprex REMS and results in serious adverse events, or additional serious safety signals
              arise, further regulatory action must be considered.

              1     INTRODUCTION
              The purpose of this review is to document DRISK’s determination that a REMS with
              ETASU is not necessary for the approval of mifepristone for the treatment of the signs
              and symptoms of endogenous Cushing’s syndrome.

              1.1       BACKGROUND
              Corcept submitted a 505(b)(2) application on April 15, 2011 for approval of Korlym
              (mifepristone) to treat the clinical and metabolic effects of hypercortisolism in adult
              patients ( 18 years of age) with endogenous Cushing’s syndrome including:
                    x Patients with Cushing’s disease who have not adequately responded to or relapsed
                     after surgery
                    x Patients with Cushing’s disease who are not candidates for surgery
                                                                                       (b) (4)




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              Korlym is manufactured as 300 mg tablets. The proposed dosing for the aforementioned
              indication is 300 to 1200 mg daily by mouth.

              1.2 REGULATORY HISTORY
              Mifepristone if currently marketed as Mifeprex and approved on September 28, 2000
              under 21 CFR 314 Subpart H for the medical termination of intrauterine pregnancy
              through 49 days’ pregnancy. The approved dosing is 600 1 mg (three (3), 200 mg tablets)
              followed by misoprostol on Day 4. Since approval, mifepristone is available only through
              a restricted distribution program that requires prescribers to be enrolled to be able to
              order Mifeprex and should only be distributed to/through a clinic, medical office, or
              hospital, by or under the supervision of a specially certified prescriber. Mifeprex is not
              distributed to or dispensed through retail pharmacies. The restricted distribution program
              was approved as a REMS on June 8, 2011. 2
              In 2007, Corcept initiated a clinical development program to evaluate the clinical benefit
              of mifepristone in patients with Cushing’s syndrome and received orphan drug
              designation on July 5, 2007.

              A pre-NDA meeting with Corcept was held on September 14, 2010. Corcept informed
              the FDA that they intended to submit a REMS and requested comments on the draft
              REMS. The FDA informed Corcept that for this NDA/indication, a REMS with restricted
              distribution would be necessary to address the risk of termination of pregnancy. The
              proposed REMS must be sufficient to maintain the integrity of the current Mifeprex
              restricted distribution program. The sponsor was instructed that a complete review of the
              proposed REMS, and REMS materials would be done in conjunction with the full clinical
              review after the NDA is submitted.

              On April 15, 2011 Corcept submitted NDA 202107 for review with a proposed REMS.

              2       MATERIALS REVIEWED

              The following materials were reviewed:

                  x     Weber J. Pre-NDA Meeting Preliminary Comments for September 14, 2010.
                        Signed under IND 76480 on September 9, 2010 by Weber J.
                  x     NDA 202107 submitted on April 15, 2011 and received on April 18, 2011 with a
                        proposed REMS with ETASU.
                  x     Bhatnagar U. Maternal Health Team review for Mifepristone. Signed September
                        15, 2011 by Bhatnagar U, Feibus K, and Mathis L.
                  x     Greene P. Drug use review of Mifeprex. Signed September 19, 2011 by Greene P,
                        Chai G, and Governale L.

              1
                Standard practice is to dispense a single, 200 mg tablet of mifepristone, not 600 mg. In addition, the
              standard misoprostol dose is 800ȝg (4 tablets), not 400 ȝg.
              2
                Mifepristone was included on the list of products deemed to have in effect an approved risk evaluation
              and mitigation strategy (REMS) under section 505-1 of the Federal Food, Drug, and Cosmetic Act with the
              passage of the Food and Drug Administration Amendments Act (FDAAA) of 2007.


                                                                                                                  3
Reference ID: 3078677
                                                           DEAR019                                            FDA 0295
           Case 1:23-cv-03026-TOR                ECF No. 170-2     filed 12/11/24            PageID.3512          Page
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                      x    November 3, 2011 Center Director Briefing on Mifepristone for Cushing’s
                           syndrome. Signed into DAARTS for NDA 202107 on November 15, 2011 by
                           Egan A.
                      x
                                (b) (6)
                                        Division of Reproductive and Urology Products consult response.
                                                                                        (b) (6)
                           Signed November 18, 2011 by                                          .

              3        RISK BENEFIT CHARACTERIZATION

              3.1         CUSHING’S SYNDROME AND TREATMENT OPTIONS
              Cushing’s syndrome is a serious, multisystem disorder that results from overproduction
              of cortisol by the adrenal glands. For those not cured by surgery, it is a chronic and
              debilitating condition.4 If left untreated, Cushing’s syndrome limits survival to 4 to 5
              years following initial diagnosis.3

              Surgical resection of the offending tumor remains first line treatment, and initial cure or
              remission is obtained in 65-85% of patients with Cushing’s disease. 4 In cases that surgery
              only partially or temporarily controls glucocorticoid hypersecretion (or for patients who
              are not candidates for surgery), 5 radiation and/or pharmacologic treatment is used for
              disease control. A two to three fold increase in mortality is observed in most studies and
              this excess mortality seems confined to patients in whom initial cure was not obtained
              (the indicated population for mifepristone). 4

              There is an unmet medical need for additional drug treatment options for Cushing’s
              syndrome. The following table lists the drug treatment options, none of which are
              approved for Cushing’s syndrome:2,6

                      Steriodogenic inhibition      Adrenolytic         Neuromodulators               Glucocorticoid
                                                                        of ACTH release            receptor antagonism
                  x   Metyrapone (not             x Mitotane^^         x Cyproheptidine*          x Mifepristone
                      available in US)            x Etomidate          x Bromocriptine*
                  x Aminoglutethimide                                  x Valproic acid*
                      (discontinued)^                                  x Octreotide*
                  x Ketoconazole
                  ^Aminogluthethimide was approved in 1980 and indicated “for the the suppression of adrenal
                  function in selected patients with Cushing’s syndrome.”
                  ^^Mitotane was approved in 1970 and indicated for “the treatment of inoperable adrenal cortical
                  carcinoma of both functional and nonfunctional types.”
                  *Agent has not demonstrated consistent clinical efficacy.3

              3
                Gums JG, Smith JD. Adrenal Gland Disorders. Pharmacotherapy: A pathophysiologic approach. 4th ed.
              Ed Dipiro JT. Stamford, Appleton & Lange, 1999. Print.
              4
                Steffensen C, Bak AM, Rubeck KZ, Jorgensen JO. Epidemiology of Cushing’s syndrome.
              Neuroendocrinology 2010;92(supp 1):1-5.
              5
                Johanssen S. Allolio B. Mifepristone (RU 486) in Cushing’s syndrome. Euro J Endocrin (2007)156; 561-
              569.
              6
                Heyn J, et al. Medical suppression of hypercortisolemia in Cushing’s syndrome with particular
              consideration for etomidate. Pituitary (online May 10, 2011).


                                                                                                                4
Reference ID: 3078677
                                                          DEAR020                                           FDA 0296
           Case 1:23-cv-03026-TOR                ECF No. 170-2     filed 12/11/24                 PageID.3513        Page
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              3.1.1     Size of Population
              Cushing’s syndrome is a rare disorder with incidence ranging from 0.7 to 2.4 per 1
              million persons per year. 7 Ninety percent of all cases of Cushing’s syndrome occur
              during adulthood; the incidence of Cushing’s syndrome in children is estimated at
              approximately 0.2 cases per 1 million persons per year.
              It is estimated that at any given time there are approximately 20,000 patients with
              Cushing’s syndrome in the U.S. The peak incidence of Cushing’s syndrome due to an
              adrenal or pituitary tumor occurs in persons 25-40 years of age; females are 8 times more
              likely than males to develop hypercortisolemia from a pituitary tumor and 3 times more
              likely to develop a cortisol-secreting adrenal tumor.
              In the US, it is estimated that approximately 5,000 patients would be considered
              candidates for treatment with Korlym.

              3.2     EXPECTED DRUG BENEFIT

              Mifepristone works by binding to glucocorticoid receptors, preventing cortisol from
              binding, and thereby blocking cortisol’s activity and effects. It does not decrease the
              amount of circulating cortisol. It has a rapid onset of action (~90 minutes for peak plasma
              concentrations).

              According to the sponsor in Study 400 (open label, 24 week prospective trial), 60% of the
              diabetes patients met the primary endpont of at least a 25% reduction in AUCglucose, and
              antidiabetic medication use was reduced in half of the patients. The Data Review Board
              determined that 72% of patients met the secondary endpoint of a change in signs and
              symptoms at week 24.

              Mifepristone may be used as an adjunct to radiation, palliative treatment, or when rapid
              onset of anti-glucocorticoid effect is required (e.g., psychosis).

              3.3     DURATION OF TREATMENT
              Cushing’s syndrome that is not cured by surgery is a chronic condition. Patients may be
              treated indefinitely (weeks, months, years/decades) with mifepristone.

              3.4     SEVERITY OF THE RISK
              The observed risks (adverse events documented in the safety database; adrenal
              insufficiency, hyopkalemia, and endometrial hyperplasia) in patients with Cushing’s
              syndrome were considered. After discussion with DMEP, we agree that these risks can be
              adequately addressed through labeling.



              7
                Newell-Price J, Bertagna X, Grossman AB, Nieman LK. Cushing’s syndrome. Lancet. 2006 May 13;367
              (9522):1605-17.


                                                                                                                      5
Reference ID: 3078677
                                                            DEAR021                                               FDA 0297
           Case 1:23-cv-03026-TOR                  ECF No. 170-2     filed 12/11/24                  PageID.3514               Page
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              Two risks were identified that are anticipated to occur in the post-marketing setting.
              These risks were the focus of the risk management discussion.

              3.4.1      Fetal Loss (unintended pregnancy termination)

              3.4.1.1 Cushing’s Syndrome Patients
              Mifepristone blocks progesterone receptors at lower doses than necessary for
              glucocorticoid receptor inhibition. Therefore, the lowest treatment dose studied for the
              treatment of Cushing’s syndrome is effective for terminating pregnancy. However,
              mifepristone alone is less effective for pregnancy termination when compared to the
              combined regimen mifepristone/prostaglandin.8

              Women with Cushing’s syndrome are not at substantial risk for fetal loss because they
              are unlikely to be pregnant. The review by the Maternal Health Team (MHT) states that
              amenorrhea and ovulatory disturbances are associated with untreated Cushing’s
              syndrome and therefore pregnancy occurs “rarely” in this population. Pregnancy may
              occur in a small subset of patients with Cushing’s syndrome who are of childbearing age.
              MHT recommends that this possibility be noted in labeling. 9

              At the time treatment is initated with mifepristone, a woman has a low likelihood of
              conception due to her underlying disease. During treatment, if she is not compliant with
              mifepristone treatment, she would be amenorrheic due to worsened disease condition. If
              she is compliant with medication, mifepristone would prevent a sustained pregnancy.
              Therefore, the risk of fetal loss before and during treatment in the intended patient
              population appears low.

              Pregnancy tests were performed in Study 400 as part of enrollment and repeated after any
              significant interruption of treatment. No pregnancies were reported.

              3.4.1.2 Non-Cushing’s Syndrome Patients
                                                                                                     (b) (4)
              There are a variety of uses for mifepristone                                                     . It has been
              studied to treat the following:
                                                                                                                                  (b) (4)




                                                                                                        (b) (4)
                                                                                                                  .
              8    (b) (6)                                                                                              (b) (6)
                        Division of Reproductive and Urology Products consult response. Signed November 18, 2011 by
                                    .
              9
                Bhatnagar U. Maternal Health Team review for Mifepristone. Signed September 15, 2011 by Bhatnagar U, Feibus K,
              and Mathis L.




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Reference ID: 3078677
                                                               DEAR022                                                   FDA 0298
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              At present, mifepristone is only commercially available in blister packages (3 pills per
              carton) that are sold through the Mifeprex REMS. If Korlym is approved without
              restrictions (e.g. REMS), mifepristone will be more readily available to treat females of
              child bearing potential with other chronic conditions. The extent of off-label use of
              mifepristone, for the above conditions, in the post-marketing setting is unknown.

              3.4.2 Intended Termination of Pregnancy with Korlym
              If Korlym is approved without a REMS with restricted distribution, there will be
              increased access to mifepristone. This could lead to 1) prescribers prescribing Korlym for
              the termination of pregnancy without following the safeguards that are in place for
              Mifeprex and/or 2) misuse, pilfering, and diversion of Korlym for the termination of
              pregnancy not under the supervision of a healthcare provider.

              The risk mitigation tools for the Mifeprex REMS are physician certification and
              controlled access to assure safe use. A Mifeprex prescriber must agree that he/she meets
              the required qualifications to assure the drug is used safey and appropriately. Compliance
              with the REMS requirements is not enforced beyond a one-time completion of the
              enrollment form (e.g., signed Patient Agreements are not collected). The certification
              requirement is the tool that provides controlled access for Mifeprex. Without restricted
              distribution, a prescriber using Korlym for pregnancy termination would not have to
              attest to having certain skills, agree to document certain information/activities, or report
              adverse events. The patient would not receive a Patient Agreement or Mifeprex
              Medication Guide that would provide the most relevant and important information to her
              for pregnancy termination. The current REMS does not prevent use beyond 49 days
              gestation, termination of an ectopic pregnancy, bleeding, incomplete abortion, and
              infection.

              In considering if there is increased potential for pilfering and misuse with Korlym, we
              note that Mifeprex is distributed only to medical facilities and dispensed to the patient in
              small quantities (a single tablet) by certified prescribers. Korlym will be distributed
              directly to patients, in larger quantities and each Korlym tablet is an effective dose for
              pregnancy termination. Moreover, Korlym is proposed to be packaged in bottles of 28
              and 280, making diversion and pilfering presumably easier relative to the Mifeprex
              packaging. Similar to Korlym, there is potential for Mifeprex to be pilfered or diverted
              from a distribution facility, during shipping, or at the place of dispensing. Mifeprex has
              processes in place to prevent drug loss during distribution and shipping that can be done
              outside a REMS for Korlym. It is not known if clinics keep careful stock and dispensing
              records of Mifeprex.

              3.5   RISK IN CONTEXT OF DRUGS IN CLASS AND AMONG OTHER DRUGS USED TO
                    TREAT THE DISEASE
              There are no other glucocorticoid receptor antagonists approved in the U.S. for
              comparison.
              Ketoconazole, metapyrone (not approved in U.S.), mitotane, etomidate are anti-corticolic
              drugs that are used for the treatment of Cushing’s syndrome. Because these drugs have a


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              different mechanism of action, they are not associated with the same potential risks as
              mifepristone. These drugs are associated with serious risk(s) although none of these drugs
              have a REMS.

              3.6     HOW THE RISK(S) ARE MANAGED ACROSS OTHER PRODUCTS AND/OR DISEASES

              3.6.1     Fetal Loss
              Other drug products are associated with fetal loss (e.g., methotrexate, misoprostol; see
              Attachment 1). At present, this risk is addressed through labeling for these drugs. There
              are no REMS approved that address only fetal loss without also the accompanying risk of
              birth defect.

              3.6.2     Intended Termination of Pregnancy with Korlym
              We identified two drugs, misoprostol and methotrexate, that are associated with a risk of
              pregnancy termination and are approved for other uses. See the table in Attachment 1.
              The extent to which misoprostol and methotrexate are used off-label to terminate
              pregnancy is unknown. With each drug, the risk of termination of pregnancy is managed
              through labeling (Contraindication, Boxed Warning) and neither product has a REMS.

              3.6.3     Misuse
              Misuse has been addressed in different ways as follows:
              Voluntary Restricted Distribution:
              x     Example: Egrifta/growth hormone: Growth hormones are at risk for misuse and
                    abuse. None of the growth hormone products have a REMS. However, the sponsor
                    has voluntarily decided to distribute this product through a non-REMS restricted
                    distribution system which allows tracking “of each box of Egrifta to determine the
                    volume of product dispensed and evaluate if the projected number of boxes dispensed
                    correlates with prescription use in the intended population.” 10 Egrifta was approved
                    in 2010 with no REMS and no PMR for monitoring drug use.
              Required Restricted Distribution Program
              x     Example: Xyrem 11
                    o At the time Xyrem was initially approved in 2002, the Sponsor agreed as a
                       condition of approval to distribute and dispense Xyrem through a primary and
                       exclusive central pharmacy, implement a program to educate physicians and
                       patients about the risks and benefits of Xyrem, fill the initial prescription only
                       after the prescriber and patient received and read the educational materials, and
                       maintain patient and prescribing physician registries. 12



              10
                 LaCivita C. Review of REMS for Egrifta. Signed September 3, 2010.
              11
                 Xyrem was included on the list of products deemed to have in effect an approved risk evaluation and
              mitigation strategy (REMS) under section 505-1 of the Federal Food, Drug, and Cosmetic Act with the
              passage of the Food and Drug Administration Amendments Act (FDAAA) of 2007.
              12
                 Choudhry Y. REMS Interim Comment Set #1. Signed August 1, 2011 by Choudhry Y and Worthy K.


                                                                                                                   8
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              3.6.4     Same Active Ingredient, Different Indication and Different Risk
                        Management Approaches

              The agency evaluates an active ingredient based on the risk benefit profile for the
              intended population. To date, the Agency has not required a REMS for a product based
              only on the fact that the active ingredient already has a REMS for one population. For
              example, denosumab was originally approved under two tradenames for different
              indications. Prolia was initially approved for the treatment for post-menopausal
              osteoporosis (PMO). At that time, a REMS for Prolia was required and approved
              consisting of a Medication Guide and communication plan to “inform healthcare
              providers about the risks of serious infections, dermatologic adverse reactions, and
              suppression of bone turnover, including osteonecrosis of the jaw.” Under the tradename
              Xgeva, denosumab was approved for prevention of skeletal-related events in patients
              with bone metastases from solid tumors. A REMS was not required given the resulting
              differences in the risk benefit profile when considering the patient populations (post-
              menopausal women vs cancer patients with bone metastases) and prescribing populations
              (internists vs oncologists).

              3.7     PRODUCTS AFFECTED
              Mifeprex (and pending generics) are potentially affected because they are or will only be
              available under a restrictive REMS.

              4     RISK MANAGEMENT CONSIDERATIONS
              The following factors are important to consider:
              x     Burden to the intended population
                    It is important to ensure that the intended treatment population can receive Korlym in
                    a timely, dependable manner in the least burdensome way. Any restrictions will
                    impede access with little to no benefit to Cushing’s syndrome population.

              x     Confidentiality/Privacy
                    Confidentiality and patient privacy is a significant issue with Mifeprex. To what
                    extent do stakeholders who make, distribute, dispense, prescribe, and use Korlym
                    need protection from a confidentiality perspective?

                    The purpose of a REMS is to ensure the benefits of the drug outweigh its risks.
                    Confidentiality and concern regarding the safety of the prescribers, pharmacists, and
                    patients does not meet criteria. Confidentiality can be maintained without a REMS.
                    Privacy may be better maintained if there are no systems in place to track formally
                    prescribers and patients. Risk to pharmacies that stock the drug should be considered
                    but it is outside the purview of a REMS.

              x     Reproductive potential for various possible Korlym off-label use populations




                                                                                                       9
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                  As stated in section 3.4.1.2. above, there are a variety of uses for mifepristone
                                            (b) (4)
                                                    . The therapeutic areas included below are more likely to
                                                                                              (b) (4)
                  include females of reproductive potential than other uses                           ). A formal
                  epidemiologic review was not conducted to estimate of the proportion of females of
                  reproductive potential for each use. However, the following observations and/or
                  assumptions were made:
                                                                                                                (b) (4)




                  The degree to which Korlym will be used off label for the above uses is unknown.

              x   Extent of current off-label use
                  Current Mifeprex drug utilization information is not informative in predicting broader
                  uses for Korlym. In the September 19, 2011 mifepristone drug use review using
                  commercial databases was conducted, off-label use was described as “uncommon”
                  based on information obtained through a sample of medical offices and outpatient
                  clinics. Sales distribution data was not available. The lack of findings are not
                  surprising given the design of the Mifeprex REMS.

              5    RISK MANAGEMENT OPTIONS
              DRISK analyzed more than six risk management options to address intended termination
              of pregnancy by:
                       HCPs outside of Mifeprex REMS
                       women who seek to terminate a pregnancy and are not under the care of an HCP
              Ultimately, three options were considered.

                  1. No REMS and voluntary restricted distribution through specialty
                     pharmacies/distributors

                        This REMS option may minimize diversion and subsequent misuse by
                        minimizing the number of pharmacies stocking and dispensing Korlym for
                        outpatient use. This option is in alignment with DMEP and DRISK’s assessment
                        that a REMS is not necessary to assure the safe use of mifepristone for treating
                        patients with Cushing’s syndrome because we believe the likelihood that a
                        Cushing’s patient experiences “serious complications” relating to pregnancy
                        termination are low.


                                                                                                           10
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                        This approach is also consistent with misoprostol and methotrexate, both of which
                        are known abortifacents and do not have a REMS to address that risk. This
                        approach is used to prevent misuse of the growth hormone products.

                  2. REMS with ETASU – dispensing through certified specialty pharmacies

                        This REMS option may minimize diversion and subsequent misuse by
                        minimizing the number of pharmacies stocking and dispensing Korlym for
                        outpatient use. In addition, Corcept would be required to provide FDA an
                        assessment of how the REMS is achieving its goals.

                        This option does not address intended termination of pregnancy with Korlym.

                  3. REMS with ETASU – prescriber certification (agreement not to use for
                     termination of pregnancy) and distribution through certified specialty pharmacies
                     that are willing to track inventory
                        This REMS option would minimize diversion and subsequent misuse as
                        described above. In addition, certified pharmacies (for outpatient dispensing, not
                        inpatient hospital pharmacies) would verify that prescribers were certified.
                        Prescriber certification would consist of agreement not use Korlym for pregnancy
                        termination. The addition of prescriber certification would address the risk of
                        intended termination of pregnancy with Korlym.

              These options assume that the safety labeling is maximized to address Korlym use in
              pregnancy.

              6    DISCUSSION
              The issue of how to address intended termination of pregnancy was discussed at the
              REMS Oversight Committee meeting on September 29, 2011 and at a Center Director
              Briefing on November 3, 2011.
              DMEP and DRISK presented at both meetings that women with Cushing’s syndrome are
              unlikely to be or become pregnant given the effects of their disease on the reproductive
              system and the effects of daily mifepristone treatment. Therefore, addressing the risk of
              fetal loss associated with Korlym was not discussed because 1) pregnancy is not a likely
              event in the intended population and; 2) the use of Korlym for “off-label” uses (in women
              more likely to be pregnant) is unknown and available data do not indicate that
              mifepristone would be first line treatment for any diseases or conditions at this time. For
              these reasons, there was general agreement that fetal loss can be adequately addressed
              through labeling and is not necessary to require additional safe use measures through a
              REMS at this time.
              The team stated that for any risk management approach, it is important to ensure that the
              intended treatment population can receive Korlym in a timely, dependable manner in the
              least burdensome way. Any restrictions could impede access without benefit to the
              intended population.



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              The primary focus shifted to whether or not a REMS is necessary for Korlym to maintain
              the integrity of the Mifeprex REMS. While the absence of any restrictions on Korlym
              could undermine the safe use conditions required by the Mifeprex REMS, a number of
              other factors are important considerations including:
              x The burden (reduced access, treatment delays) of a restrictive REMS to the Cushing’s
                  population without any benefit from the REMS for this population.
              x Overall drug exposure and subsequent access is anticipated to be small given the
                  small size of the intended use population and lack of a signal for substantially broader
                  use.
              x The sponsor’s plan to distribute Korlym through a specialty pharmacy regardless of
                  the REMS. If necessary, this provides the sponsor the ability to monitor use more
                  closely.
              x The cost - If the cost of this orphan product is substanial, it may be expensive to
                  obtain and deter use for pregnancy termination as well as other off label uses. In
                  addition, third party payors/reimbursement may play a substantial role in influencing
                  prescribing behavior. It is unknown how much Korlym will cost and how cost will
                  impact prescribing behavior. 13
              The need for some monitoring of use was discussed. Commercial drug use databases will
              not provide FDA with adequate estimates of Korlym use because Korlym will be
              dispensed through a specialty pharmacy. As noted above, using a single specialty
              pharmacy does allow the sponsor the ability to monitor use more closely through its
              business contract with the specialty pharmacy. Similarly, commercial drug use databases
              are not able to provide an accurate estimate of Mifeprex use due to how it is distributed
              and dispensed. The first REMS assessment for Mifeprex is due June 2012 which we
              anticipate will provide a baseline to quantify current Mifeprex use. Given these
              considerations and the discussion with the Center Director, we agree that a post-
              marketing requirement (PMR) study to obtain Korlym use data (age, gender, dose,
              duration of treatment) “to better characterize the incidence rates of adverse events with
              Korlym” is prudent. Monitoring drug use data for both Mifeprex and Korlym, in
              conjunction with reports of serious adverse events resulting from pregnancy terminations
              outside of the Mifeprex REMS, will be important factors in future regulatory action to
              address any compromise to the Mifeprex REMS.

              7    CONCLUSION
              A REMS for Korlym is not necessary to ensure that the benefits of the drug outweigh its
              risks at this time. We agree that it is prudent to monitor use through a PMR. If data
              indicate that this approach compromises the integrity of the Mifeprex REMS and results
              in serious adverse events, or additional serious safety signals arise, further regulatory
              action must be considered.


              ATTACHMENTS


              13
                Planned parenthood charges $300-800 for a medical abortion (includes diagnostic testing, mifepristone, and
              misoprostol).


                                                                                                                            12
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                                                                DEAR028                                                  FDA 0304
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               ATTACHMENT 1: Drugs with a risk associated with an off-label use

        Drug             Abortifacient             Indication        Off-label use*         Contraindication            Boxed Warning
                         Efficacy
        Misoprostol      When used alone –         NSAID-induced     x Postpartum           “Cytotec should not be      “Cytotec administration to
                         variable (~40-60%);       gastric ulcers      hemorrhage           taken by pregnant           women who are pregnant
        (Cytotec)        used in combination                                                women to reduce the risk    can cause abortion …
                         with MTX or MFP                             x Cervical ripening,   of ulcers induced by        Cytotec should not be taken
                         efficacy is higher                            labor induction      NSAIDs ”                    by pregnant women to
                                                                                                                        reduce the risk of ulcers
                         (Source - Micromedex)                                                                          induced by NSAIDs…
                                                                     x Pregnancy
                                                                                                                        Patients must be advised of
                                                                       termination                                      the abortifacient property
                                                                                                                        and warned not to give the
                                                                                                                        drug to others … ”
                                                   x   Cancer
        Methotrexate     When used alone – (IM
                                                   x   Psoriasis     x Other                “MTX can cause fetal        “MTX has been reported to
                         injxn – variable); in                         Autoimmune           death or teratogenic        cause fetal death and/or
        (MTX)            combination with          x   Rheumatoid                           effects when                congenital anomalies
                                                                       diseases
                         misoprostol efficacy is       arthritis                            administered to a           Therefore, it is not
                         higher (80-90%; small         including     x More cancer          pregnant woman MTX          recommended for women
                         Ns)                           juvenile                             is contraindicated in       of childbearing potential
                                                                     x Pregnancy            pregnant women with         unless there is clear medical
                         (Source - Micromedex)                                              psoriasis or rheumatoid     evidence that the benefits
                                                                       termination          arthritis and should be     can be expected to
                                                                                            used in the treatment of    outweigh the considered
                                                                                            neoplastic diseases only    risks Pregnant women with
                                                                                            when the potential          psoriasis or rheumatoid
                                                                                            benefit outweighs the       arthritis should not receive
                                                                                            risk to the fetus Women     MTX ”
                                                                                            of childbearing potential
                                                                                            should not be started on
                                                                                            MTX until pregnancy is
                                                                                            excluded and should be
                                                                                            fully counseled on the
                                                                                            serious risk to the fetus
                                                                                            should they become
                                                                                            pregnant while
                                                                                            undergoing treatment ”
               *The off-label uses are general and based on tertiary sources; not on a formal drug use analysis.




                                                                                                                                      13
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     /s/
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     SUZANNE C BERKMAN ROBOTTOM
     01/27/2012

     CLAUDIA B KARWOSKI
     01/27/2012
     concur




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                                                            DEAR030                             FDA 0306
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Cross Discipline Team Leader Review                                           X
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Chemistry Review(s)                                                           X
Environmental Assessment
Pharmacology Review(s)                                                        X
Statistical Review(s)                                                         X
Microbiology / Virology Review(s)
Clinical Pharmacology/Biopharmaceutics Review(s)                              X
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                      APPROVAL LETTER




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          7KHWLPHWDEOHIRUVXEPLVVLRQRIDVVHVVPHQWVRIWKH5(06UHPDLQVWKHVDPHDVWKDWDSSURYHGRQ
          -XQH
          
          7KH5(06DVVHVVPHQWSODQZLOOLQFOXGHWKHLQIRUPDWLRQVXEPLWWHGWR)'$RQ0DUFK
          
          7KHUHYLVHG5(06DVVHVVPHQWSODQPXVWLQFOXGHEXWLVQRWOLPLWHGWRWKHIROORZLQJ
          
          REMS Assessment Plan 
               1XPEHURISUHVFULEHUVHQUROOHG FXPXODWLYH 
               1XPEHURIQHZSUHVFULEHUVHQUROOHGGXULQJUHSRUWLQJSHULRG
               1XPEHURISUHVFULEHUVRUGHULQJ0LIHSUH[GXULQJUHSRUWLQJSHULRG
               1XPEHURIKHDOWKFDUHSURYLGHUVZKRDWWHPSWHGWRRUGHU0LIHSUH[ZKRZHUHQRWHQUROOHG
                  GHVFULEHDFWLRQVWDNHQ GXULQJUHSRUWLQJSHULRGDQGFXPXODWLYH 
               1XPEHURIZRPHQH[SRVHGWR0LIHSUH[ GXULQJUHSRUWLQJSHULRGDQGFXPXODWLYH 
               6XPPDU\DQGDQDO\VLVRIDQ\SURJUDPGHYLDWLRQVDQGFRUUHFWLYHDFWLRQWDNHQ
               %DVHGRQWKHLQIRUPDWLRQUHSRUWHGDQDVVHVVPHQWDQGDQDO\VLVRIZKHWKHUWKH5(06LV
                  PHHWLQJLWVJRDOVDQGZKHWKHUPRGLILFDWLRQVWRWKH5(06DUHQHHGHG
          
          7KHUHTXLUHPHQWVIRUDVVHVVPHQWVRIDQDSSURYHG5(06XQGHUVHFWLRQ J  LQFOXGHZLWK
          UHVSHFWWRHDFKJRDOLQFOXGHGLQWKHVWUDWHJ\DQDVVHVVPHQWRIWKHH[WHQWWRZKLFKWKHDSSURYHG
          VWUDWHJ\LQFOXGLQJHDFKHOHPHQWRIWKHVWUDWHJ\LVPHHWLQJWKHJRDORUZKHWKHURUPRUHVXFK
          JRDOVRUVXFKHOHPHQWVVKRXOGEHPRGLILHG
          
          :HUHPLQG\RXWKDWLQDGGLWLRQWRWKH5(06DVVHVVPHQWVVXEPLWWHGDFFRUGLQJWRWKHWLPHWDEOHLQ
          WKHDSSURYHG5(06\RXPXVWLQFOXGHDQDGHTXDWHUDWLRQDOHWRVXSSRUWDQ\SURSRVHG5(06
          PRGLILFDWLRQIRUWKHDGGLWLRQPRGLILFDWLRQRUUHPRYDORIDQ\RIJRDORUHOHPHQWRIWKH5(06
          DVGHVFULEHGLQVHFWLRQ J  RIWKH)'&$

          :HDOVRUHPLQG\RXWKDW\RXPXVWVXEPLWD5(06DVVHVVPHQWZKHQ\RXVXEPLWDQ\IXWXUH
          VXSSOHPHQWDODSSOLFDWLRQIRUDQHZLQGLFDWLRQIRUXVHDVGHVFULEHGLQVHFWLRQ J  $ RI
          WKH)'&$7KLVDVVHVVPHQWVKRXOGLQFOXGH
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                   LQGLFDWLRQ
               E $GHWHUPLQDWLRQRIWKHLPSOLFDWLRQVRIDFKDQJHLQWKHEHQHILWULVNSURILOHIRUWKHFXUUHQW
                 5(06




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           Case 1:23-cv-03026-TOR           ECF No. 170-2     filed 12/11/24         PageID.3529       Page
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               F   If the new indication for use introduces unexpected risks$GHVFULSWLRQRIWKRVHULVNV
                   DQGDQHYDOXDWLRQRIZKHWKHUWKRVHULVNVFDQEHDSSURSULDWHO\PDQDJHGZLWKWKHFXUUHQWO\
                   DSSURYHG5(06
               G   If a REMS assessment was submitted in the 18 months prior to submission of the
                   supplemental application for a new indication for use$VWDWHPHQWDERXWZKHWKHUWKH
                   5(06ZDVPHHWLQJLWVJRDOVDWWKHWLPHRIWKDWWKHODVWDVVHVVPHQWDQGLIDQ\
                   PRGLILFDWLRQVRIWKH5(06KDYHEHHQSURSRVHGVLQFHWKDWDVVHVVPHQW
               H   If a REMS assessment has not been submitted in the 18 months prior to submission of the
                   supplemental application for a new indication for use: 3URYLVLRQRIDVPDQ\RIWKH
                   FXUUHQWO\OLVWHGDVVHVVPHQWSODQLWHPVDVLVIHDVLEOH
               I   If you propose a REMS modification based on a change in the benefit-risk profile or
                   because of the new indication of use, submit an adequate rationale to support the
                   modification, including3URYLVLRQRIWKHUHDVRQ V ZK\WKHSURSRVHG5(06
                   PRGLILFDWLRQLVQHFHVVDU\WKHSRWHQWLDOHIIHFWRQWKHVHULRXVULVN V IRUZKLFKWKH5(06
                   ZDVUHTXLUHGRQSDWLHQWDFFHVVWRWKHGUXJDQGRURQWKHEXUGHQRQWKHKHDOWKFDUH
                   GHOLYHU\V\VWHPDQGRWKHUDSSURSULDWHHYLGHQFHRUGDWDWRVXSSRUWWKHSURSRVHGFKDQJH
                   $GGLWLRQDOO\LQFOXGHDQ\FKDQJHVWRWKHDVVHVVPHQWSODQQHFHVVDU\WRDVVHVVWKH
                   SURSRVHGPRGLILHG5(06If you are not proposing REMS modificationsSURYLGHD
                   UDWLRQDOHIRUZK\WKH5(06GRHVQRWQHHGWREHPRGLILHG
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          ,IWKHDVVHVVPHQWLQVWUXPHQWVDQGPHWKRGRORJ\IRU\RXU5(06DVVHVVPHQWVDUHQRWLQFOXGHGLQ
          WKH5(06VXSSRUWLQJGRFXPHQWRULI\RXSURSRVHFKDQJHVWRWKHVXEPLWWHGDVVHVVPHQW
          LQVWUXPHQWVRUPHWKRGRORJ\\RXVKRXOGXSGDWHWKH5(06VXSSRUWLQJGRFXPHQWWRLQFOXGH
          VSHFLILFDVVHVVPHQWLQVWUXPHQWDQGPHWKRGRORJ\LQIRUPDWLRQDWOHDVWGD\VEHIRUHWKH
          DVVHVVPHQWVZLOOEHFRQGXFWHG8SGDWHVWRWKH5(06VXSSRUWLQJGRFXPHQWPD\EHLQFOXGHGLQD
          QHZGRFXPHQWWKDWUHIHUHQFHVSUHYLRXV5(06VXSSRUWLQJGRFXPHQWVXEPLVVLRQ V IRU
          XQFKDQJHGSRUWLRQV$OWHUQDWLYHO\XSGDWHVPD\EHPDGHE\PRGLI\LQJWKHFRPSOHWHSUHYLRXV
          5(06VXSSRUWLQJGRFXPHQWZLWKDOOFKDQJHVPDUNHGDQGKLJKOLJKWHG3URPLQHQWO\LGHQWLI\WKH
          VXEPLVVLRQFRQWDLQLQJWKHDVVHVVPHQWLQVWUXPHQWVDQGPHWKRGRORJ\ZLWKWKHIROORZLQJZRUGLQJ
          LQEROGFDSLWDOOHWWHUVDWWKHWRSRIWKHILUVWSDJHRIWKHVXEPLVVLRQ
          
                  NDA 020687 REMS CORRESPONDENCE
                  (insert concise description of content in bold capital letters, e.g.,
                  UPDATE TO REMS SUPPORTING DOCUMENT - ASSESSMENT
                  METHODOLOGY
          
          $QDXWKRUL]HGJHQHULFGUXJXQGHUWKLV1'$PXVWKDYHDQDSSURYHG5(06SULRUWRPDUNHWLQJ
          6KRXOG\RXGHFLGHWRPDUNHWVHOORUGLVWULEXWHDQDXWKRUL]HGJHQHULFGUXJXQGHUWKLV1'$
          FRQWDFWXVWRGLVFXVVZKDWZLOOEHUHTXLUHGLQWKHDXWKRUL]HGJHQHULFGUXJ5(06VXEPLVVLRQ

          :HUHPLQG\RXWKDWVHFWLRQ I  RI)'&$SURKLELWVKROGHUVRIDQDSSURYHGFRYHUHG
          DSSOLFDWLRQZLWKHOHPHQWVWRDVVXUHVDIHXVHIURPXVLQJDQ\HOHPHQWWREORFNRUGHOD\DSSURYDO
          RIDQDSSOLFDWLRQXQGHUVHFWLRQ E  RU M $YLRODWLRQRIWKLVSURYLVLRQLQ I FRXOG
          UHVXOWLQHQIRUFHPHQWDFWLRQ




Reference ID: 3909592
                                                     DEAR037                                      FDA 0377
           Case 1:23-cv-03026-TOR          ECF No. 170-2     filed 12/11/24         PageID.3530        Page
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          3URPLQHQWO\LGHQWLI\DQ\VXEPLVVLRQFRQWDLQLQJWKH5(06DVVHVVPHQWVRUSURSRVHG
          PRGLILFDWLRQVRIWKH5(06ZLWKWKHIROORZLQJZRUGLQJLQEROGFDSLWDOOHWWHUVDWWKHWRSRIWKH
          ILUVWSDJHRIWKHVXEPLVVLRQDVDSSURSULDWH
          
                  NDA 020687 REMS ASSESSMENT

                  NEW SUPPLEMENT FOR NDA 020687/S-000
                  CHANGES BEING EFFECTED IN 30 DAYS
                  PROPOSED MINOR REMS MODIFICATION

                                 or

                  NEW SUPPLEMENT FOR NDA 020687/S-000
                  PRIOR APPROVAL SUPPLEMENT
                  PROPOSED MAJOR REMS MODIFICATION

                            or
                  
                  NEW SUPPLEMENT FOR NDA 020687/S-000
                  PRIOR APPROVAL SUPPLEMENT
                    PROPOSED REMS MODIFICATIONS DUE TO SAFETY LABEL CHANGES
                    SUBMITTED IN SUPPLEMENT XXX

                                 or

                  NEW SUPPLEMENT (NEW INDICATION FOR USE)
                    FOR NDA 020687/S-000
                           REMS ASSESSMENT
                           PROPOSED REMS MODIFICATION (if included)

          6KRXOG\RXFKRRVHWRVXEPLWD5(06UHYLVLRQSURPLQHQWO\LGHQWLI\WKHVXEPLVVLRQFRQWDLQLQJ
          WKH5(06UHYLVLRQVZLWKWKHIROORZLQJZRUGLQJLQEROGFDSLWDOOHWWHUVDWWKHWRSRIWKHILUVWSDJH
          RIWKHVXEPLVVLRQ

                  REMS REVISIONS FOR NDA 020687

          7RIDFLOLWDWHUHYLHZRI\RXUVXEPLVVLRQZHUHTXHVWWKDW\RXVXEPLW\RXUSURSRVHGPRGLILHG
          5(06DQGRWKHU5(06UHODWHGPDWHULDOVLQ0LFURVRIW:RUGIRUPDW,IFHUWDLQGRFXPHQWVVXFK
          DVHQUROOPHQWIRUPVDUHRQO\LQ3')IRUPDWWKH\PD\EHVXEPLWWHGDVVXFKEXWWKHSUHIHUHQFH
          LVWRLQFOXGHDVPDQ\DVSRVVLEOHLQ:RUGIRUPDW
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          ,I\RXGRQRWVXEPLWHOHFWURQLFDOO\SOHDVHVHQGFRSLHVRI5(06UHODWHGVXEPLVVLRQV




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                                                     DEAR038                                      FDA 0378
           Case 1:23-cv-03026-TOR            ECF No. 170-2     filed 12/11/24          PageID.3531         Page
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          1'$6
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          PROMOTIONAL MATERIALS

          <RXPD\UHTXHVWDGYLVRU\FRPPHQWVRQSURSRVHGLQWURGXFWRU\DGYHUWLVLQJDQGSURPRWLRQDO
          ODEHOLQJ7RGRVRVXEPLWWKHIROORZLQJLQWULSOLFDWH  DFRYHUOHWWHUUHTXHVWLQJDGYLVRU\
          FRPPHQWV  WKHSURSRVHGPDWHULDOVLQGUDIWRUPRFNXSIRUPZLWKDQQRWDWHGUHIHUHQFHVDQG
             WKHSDFNDJHLQVHUW V WR
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                    23'35HJXODWRU\3URMHFW0DQDJHU
                    )RRGDQG'UXJ$GPLQLVWUDWLRQ
                    &HQWHUIRU'UXJ(YDOXDWLRQDQG5HVHDUFK
                    2IILFHRI3UHVFULSWLRQ'UXJ3URPRWLRQ 23'3 
                    %$PPHQGDOH5RDG
                    %HOWVYLOOH0'
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          $OWHUQDWLYHO\\RXPD\VXEPLWDUHTXHVWIRUDGYLVRU\FRPPHQWVHOHFWURQLFDOO\LQH&7'IRUPDW
          )RUPRUHLQIRUPDWLRQDERXWVXEPLWWLQJSURPRWLRQDOPDWHULDOVLQH&7'IRUPDWVHHWKHGUDIW
          *XLGDQFHIRU,QGXVWU\ DYDLODEOHDW
          KWWSZZZIGDJRYGRZQORDGV'UXJV*XLGDQFH&RPSOLDQFH5HJXODWRU\,QIRUPDWLRQ*XLGDQFHV8
          &0SGI 
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          <RXPXVWVXEPLWILQDOSURPRWLRQDOPDWHULDOVDQGSDFNDJHLQVHUW V DFFRPSDQLHGE\D)RUP
          )'$DWWKHWLPHRILQLWLDOGLVVHPLQDWLRQRUSXEOLFDWLRQ>&)5 E  L @)RUP
          )'$LVDYDLODEOHDW
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          ,QIRUPDWLRQDQG,QVWUXFWLRQVIRUFRPSOHWLQJWKHIRUPFDQEHIRXQGDW
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          PRUHLQIRUPDWLRQDERXWVXEPLVVLRQRISURPRWLRQDOPDWHULDOVWRWKH2IILFHRI3UHVFULSWLRQ'UXJ
          3URPRWLRQ 23'3 VHHKWWSZZZIGDJRY$ERXW)'$&HQWHUV2IILFHV&'(5XFPKWP
          
          REPORTING REQUIREMENTS
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          :HUHPLQG\RXWKDW\RXPXVWFRPSO\ZLWKUHSRUWLQJUHTXLUHPHQWVIRUDQDSSURYHG1'$
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           Case 1:23-cv-03026-TOR   ECF No. 170-2     filed 12/11/24   PageID.3532   Page
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     03/29/2016




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          The REMS assessment plan will include the information submitted to FDA on May 27, 2011,
          and should include the following information:

                  a. Per section 505-1(g)(3)(A), an assessment of the extent to which the elements to
                     assure safe use are meeting the goal or goals to mitigate a specific serious risk listed
                     in the labeling of the drug, or whether the goal or goals or such elements should be
                     modified.
                  b. Per section 505-1(g)(3)(B) and (C), information on the status of any postapproval
                     study or clinical trial required under section 505(o) or otherwise undertaken to
                     investigate a safety issue. With respect to any such postapproval study, you must
                     include the status of such study, including whether any difficulties completing the
                     study have been encountered. With respect to any such postapproval clinical trial,
                     you must include the status of such clinical trial, including whether enrollment has
                     begun, the number of participants enrolled, the expected completion date, whether
                     any difficulties completing the clinical trial have been encountered, and registration
                     information with respect to requirements under subsections (i) and (j) of section 402
                     of the Public Health Service Act. You can satisfy these requirements in your REMS
                     assessments by referring to relevant information included in the most recent annual
                     report required under section 506B and 21 CFR 314.81(b)(2)(vii) and including any
                     updates to the status information since the annual report was prepared. Failure to
                     comply with the REMS assessments provisions in section 505-1(g) could result in
                     enforcement action.

          We remind you that in addition to the assessments submitted according to the timetable included
          in the approved REMS, you must submit a REMS assessment and may propose a modification to
          the approved REMS when you submit a supplemental application for a new indication for use as
          described in Section 505-1(g)(2)(A) of FDCA.

          Prominently identify future submissions containing the REMS assessments or proposed
          modifications with the following wording in bold capital letters at the top of the first page of the
          submission:

                  NDA 020687 REMS ASSESSMENT

                  NEW SUPPLEMENT FOR NDA 020687
                  PROPOSED REMS MODIFICATION
                  REMS ASSESSMENT

                  NEW SUPPLEMENT (NEW INDICATION FOR USE) FOR NDA 020687
                  REMS ASSESSMENT
                  PROPOSED REMS MODIFICATION (if included)

          If you do not submit electronically, please send 5 copies of REMS-related submissions.

          As part of the approval under Subpart H, as required by 21 CFR 314.550, you must submit all
          promotional materials, including promotional labeling as well as advertisements, at least 30 days



Reference ID: 2957855
                                                      DEAR043                                      FDA 1282
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     06/08/2011




Reference ID: 2957855
                                                            DEAR045                             FDA 1284
Case 1:17-cv-00493-JAO-RT
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   ARUN G. RAO
   Deputy Assistant Attorney General

   GUSTAV W. EYLER
   Director

   HILARY K. PERKINS
   Assistant Director

   JONATHAN E. AMGOTT (DCBN 1031947)
   Trial Attorney
   Consumer Protection Branch
   Civil Division
   U.S. Department of Justice
   450 5th Street, N.W.
   Washington, D.C. 20530
   (202) 532-5025
   Jonathan.E.Amgott@usdoj.gov

   Attorneys for Defendants Xavier Becerra, et al.
   (see signature page for complete list)

                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAII

   GRAHAM T. CHELIUS, M.D., et al.,          CIV. NO. 1:17-00493 JAO-RT
                      Plaintiffs,            JOINT MOTION TO STAY CASE
                                             PENDING AGENCY REVIEW
               v.
                                             District Judge: Jill A. Otake
                                             Summary Judgment Hearing: July 9,
   XAVIER BECERRA, J.D., in his
                                             2021, at 9:00 AM
   official capacity as SECRETARY,
                                             Trial Date: Vacated per Dkt. 82
   U.S. D.H.H.S., et al.,
                       Defendants.




                                       DEAR046                 2021 REMS 000643
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   Case 1:23-cv-03026-TOR Document
                           ECF No. 148
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         The Parties jointly seek a stay of this matter in light of Defendant U.S. Food

  and Drug Administration’s (“FDA”) current review of the risk evaluation and

  mitigation strategy (“REMS”) at issue in this case. The Parties agree that the

  outcome of FDA’s review could have a material impact on the course of this

  litigation. Accordingly, to conserve the resources of the Court and the Parties, the

  Parties seek a stay of this matter until December 1, 2021, with a joint status report,

  to include an update on the status of FDA’s review, due on November 1, 2021.

         FDA is reviewing the elements of the REMS for Mifeprex and its approved

  generic, Mifepristone Tablets, 200 mg, in accordance with the REMS assessment

  provisions of Section 505-1 of the Federal Food, Drug, and Cosmetic Act. In

  conducting this review, FDA is relying on information submitted by the sponsors

  of the new drug application (“NDA”) and the abbreviated new drug application

  (“ANDA”) and information from other sources, including published literature.

  FDA also commits to review any relevant data and evidence submitted by the

  Plaintiffs.

         FDA recently completed a review of the in-person dispensing requirement

  (and related provisions) of the REMS in the context of the COVID-19 public

  health emergency (“PHE”). On April 12, 2021, in response to an April 2020

  request from the American College of Obstetricians and Gynecologists (“ACOG”),

  the Agency decided that it intends to exercise enforcement discretion with respect


                                            2

                                       DEAR047                      2021 REMS 000644
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                                               05/07/21   PagePageID.3540
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                                                                            #: 3192
                                   48 of 300



  to the in-person dispensing requirement (and related provisions) during the

  pendency of the PHE.

        In a letter announcing its decision, FDA stated that “provided the other

  requirements of the Mifepristone REMS Program are met,” the Agency “intends to

  exercise enforcement discretion during the COVID-19 PHE with respect to the in-

  person dispensing requirement of the Mifepristone REMS Program, including any

  in-person requirements that may be related to the Patient Agreement Form.” Joint

  Stips. of Facts, Ex. J, at 2, Dkt. 140-10. FDA also stated that, “to the extent all of

  the other requirements of the Mifepristone REMS Program are met,” the Agency

  “intends to exercise enforcement discretion during the COVID-19 PHE with

  respect to the dispensing of mifepristone through the mail either by or under the

  supervision of a certified prescriber, or through a mail-order pharmacy when such

  dispensing is done under the supervision of a certified prescriber.” Id. If FDA’s

  review of the REMS is not completed before the expiration of the PHE, FDA

  agrees that it intends to exercise this enforcement discretion for a further 30 days

  following the end of the PHE to afford an opportunity for the mifepristone drug

  sponsors and mifepristone prescribers to modify their operational protocols.

        In light of FDA’s decision, the parties in ACOG v. FDA, No. 8:20-cv-1320-

  TDC (D. Md.), recently filed a joint status report indicating that the plaintiffs

  intend to voluntarily dismiss their case challenging the restricted dispensing


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                                        DEAR048                      2021 REMS 000645
Case 1:17-cv-00493-JAO-RT
   Case 1:23-cv-03026-TOR Document
                           ECF No. 148
                                   170-2Filedfiled
                                               05/07/21   PagePageID.3541
                                                   12/11/24   4 of 6 PageIDPage
                                                                            #: 3193
                                   49 of 300



  requirement (and related provisions) during the PHE. The parties also stated their

  intention to jointly move for dismissal of appeals pending in the U.S. Court of

  Appeals for the Fourth Circuit, No. 20-1784.

        Similarly, the outcome of FDA’s review of the REMS could have a material

  effect on the issues before this Court. Thus, to conserve the resources of the Court

  and the Parties, the Parties jointly seek a stay of proceedings until December 1,

  2021. See, e.g., Leyva v. Certified Grocers of Cal., Ltd., 593 F.2d 857, 863 (9th

  Cir. 1979) (recognizing district court authority to stay litigation in the interest of

  efficiency and fairness “pending resolution of independent proceedings which bear

  upon the case”); EO (Jan. 23, 2020), Dkt. 107.

        Previously, the Court stayed this case sua sponte pending the Supreme

  Court’s ruling in June Medical Services, L. L. C. v. Russo, 140 S. Ct. 2103 (2020).

  See EO (Jan. 23, 2020), Dkt. 107; EO (Jan. 13, 2020), Dkt. 102. Following the

  June Medical decision and certain proceedings in the ACOG litigation, the Court

  recently lifted its stay in response to Plaintiffs’ unopposed motion. See EO (Mar.

  5, 2021), Dkt. 128; Pls.’ Unopposed Mot. to Lift Stay & Reactivate Summ. J.

  Briefing, Dkt. 127. Plaintiffs made their request to lift the stay, however, prior to

  FDA’s April 2021 decision and prior to FDA’s current review of the REMS. In

  light of these developments, the stay presently sought by the Parties would once

  again enable the Court to handle this case “with economy of time and effort for


                                              4

                                        DEAR049                       2021 REMS 000646
Case 1:17-cv-00493-JAO-RT
   Case 1:23-cv-03026-TOR Document
                           ECF No. 148
                                   170-2Filedfiled
                                               05/07/21   PagePageID.3542
                                                   12/11/24   5 of 6 PageIDPage
                                                                            #: 3194
                                   50 of 300



  itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254

  (1936).

        For the foregoing reasons, the Parties respectfully propose that the Court

  enter an Order: (1) staying this litigation until December 1, 2021; (2) directing the

  Parties to submit a joint status report by November 1, 2021; and (3) permitting any

  Party to move to lift or extend the stay for good cause.




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                                       DEAR050                      2021 REMS 000647
Case 1:17-cv-00493-JAO-RT
   Case 1:23-cv-03026-TOR Document
                           ECF No. 148
                                   170-2Filedfiled
                                               05/07/21   PagePageID.3543
                                                   12/11/24   6 of 6 PageIDPage
                                                                            #: 3195
                                   51 of 300



  Dated: May 7, 2021
                                        Respectfully submitted,

                                        /s/ Jonathan E. Amgott
                                        JONATHAN E. AMGOTT
                                        Trial Attorney
                                        Consumer Protection Branch
                                        Civil Division
                                        U.S. Department of Justice

                                        Attorney for Defendants Xavier
                                        Becerra, J.D., in his official capacity as
                                        Secretary, U.S. Department of Health
                                        and Human Services; U.S. Food and
                                        Drug Administration; and Janet
                                        Woodcock, M.D., in her official
                                        capacity as Acting Commissioner of
                                        Food and Drugs

                                        /s/ Julia Kaye
                                        JULIA KAYE*
                                        RACHEL REEVES*
                                        LORIE CHAITEN*
                                        WHITNEY WHITE*
                                        RUTH HARLOW*
                                        American Civil Liberties Union
                                        Foundation

                                        JONGWOOK “WOOKIE” KIM
                                        $&/8RI+DZDL‫ދ‬L)RXQGDWLRQ

                                        JOHN FREEDMAN*
                                        Arnold & Porter Kaye Scholar, LLP

                                        * admitted pro hac vice

                                        Attorneys for Plaintiffs Graham T.
                                        Chelius, M.D., Society of Family
                                        Planning, and California Academy of
                                        Family Physicians
                                        6

                                    DEAR051                       2021 REMS 000648
Case 1:17-cv-00493-JAO-RT
   Case 1:23-cv-03026-TOR Document
                           ECF No. 149
                                   170-2Filedfiled
                                               05/07/21   PagePageID.3544
                                                   12/11/24   1 of 2 PageIDPage
                                                                            #: 3198
                                   52 of 300



   ARUN G. RAO
   Deputy Assistant Attorney General

   GUSTAV W. EYLER
   Director

   HILARY K. PERKINS
   Assistant Director

   JONATHAN E. AMGOTT (DCBN 1031947)
   Trial Attorney
   Consumer Protection Branch
   Civil Division
   U.S. Department of Justice
   450 5th Street, N.W.
   Washington, D.C. 20530
   (202) 532-5025
   Jonathan.E.Amgott@usdoj.gov

   Attorneys for Defendants Xavier Becerra, J.D.,
   in his official capacity as Secretary,
   U.S. Department of Health and Human Services;
   U.S. Food and Drug Administration; and
   Janet Woodcock, M.D., in her official capacity as
   Acting Commissioner of Food and Drugs

                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

   GRAHAM T. CHELIUS, M.D., et al.,          CIVIL NO. 17-00493 JAO-RT

                      Plaintiffs,
                                             ORDER GRANTING JOINT
               v.                            MOTION TO STAY CASE
                                             PENDING AGENCY REVIEW
   XAVIER BECERRA, J.D., in his
   official capacity as SECRETARY,
   U.S. D.H.H.S., et al.,
                       Defendants.


                                       DEAR052                2021 REMS 000649
Case 1:17-cv-00493-JAO-RT
   Case 1:23-cv-03026-TOR Document
                           ECF No. 149
                                   170-2Filedfiled
                                               05/07/21   PagePageID.3545
                                                   12/11/24   2 of 2 PageIDPage
                                                                            #: 3199
                                   53 of 300




        The parties jointly seek a stay of this matter in light of Defendant U.S. Food

  and Drug Administration’s current review of the risk evaluation and mitigation

  strategy (“REMS”) at issue in this case. After reviewing the parties’ Joint Motion

  to Stay Case Pending Agency Review, ECF No. 148, and for good cause shown,

  the Court GRANTS the parties’ Joint Motion. This litigation is stayed until

  December 1, 2021. The parties are directed to submit a joint status report every 90

  days, starting on August 5, 2021. Any party may move to lift or extend the stay for

  good cause.

        IT IS SO ORDERED.

        DATED:        Honolulu, Hawai‘i, May 7, 2021.




  CV 17-00493 JAO-RT, Chelius, et al. v. Becerra, et al.; ORDER GRANTING JOINT MOTION TO
  STAY CASE PENDING AGENCY REVIEW




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                                         DEAR053                       2021 REMS 000650
Case 1:23-cv-03026-TOR   ECF No. 170-2     filed 12/11/24   PageID.3546   Page
                                 54 of 300




                                 DEAR054
                Case 1:23-cv-03026-TOR         ECF No. 170-2     filed 12/11/24     PageID.3547     Page
                                                       55 of 300
               NDA 020687
               Page 2


               complications associated with mifepristone listed in the labeling of the drug. Modification
               of the Mifepristone REMS to allow dispensing of mifepristone by pharmacies requires
               the addition of certification of pharmacies that dispense the drug.

               Your REMS must include elements to mitigate this risk, including at least the following:
                 • Healthcare providers have particular experience or training, or are specially
                     certified

                    •   Pharmacies, practitioners, or health care settings that dispense the drug are
                        specially certified

                    •   The drug is dispensed to patients with evidence or other documentation of safe
                        use conditions.

                        The REMS must include an implementation system to monitor, evaluate, and
                        work to improve the implementation of the elements to assure safe use (outlined
                        above). Include an intervention plan to address any findings of non-compliance
                        with the ETASU.

               The proposed REMS must include a timetable for submission of assessments.
               The proposed REMS modification submission should include a new proposed REMS
               document and appended REMS materials, as appropriate, that show the complete
               previously approved REMS with all proposed modifications highlighted and revised
               REMS materials.

               In addition, the submission should also include an update to the REMS supporting
               document that includes a description of all proposed modifications and their potential
               impact on other REMS elements. Revisions to the REMS supporting document should
               be submitted with all changes marked and highlighted.

               Because we have determined that a REMS modification as described above is
               necessary to minimize the burden on the health care delivery system of complying with
               the REMS, and to ensure that the benefits of the drug outweigh the risks, you must
               submit a proposed REMS modification within 120 days of the date of this letter.

               Submit the proposed modified REMS as a Prior Approval supplement (PAS) to your
               NDA.




               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov
                                                        DEAR055                      2021 REMS 001804
Reference ID: 4906335
                Case 1:23-cv-03026-TOR         ECF No. 170-2     filed 12/11/24      PageID.3548       Page
                                                       56 of 300
               NDA 020687
               Page 3


               Because FDA is requiring the REMS modifications in accordance with section 505-
               1(g)(4)(B), you are not required to submit an adequate rationale to support the proposed
               modifications, as long as the proposals are consistent with the modifications described
               in this letter. If the proposed REMS modification supplement includes changes that
               differ from the modifications described in this letter, an adequate rationale is required for
               those additional proposed changes in accordance with section 505-1(g)(4)(A).

               Prominently identify the submission with the following wording in bold capital letters at
               the top of the first page of the submission:

                        NEW SUPPLEMENT FOR NDA 020687/S-000
                        PRIOR APPROVAL SUPPLEMENT
                        PROPOSED MAJOR REMS MODIFICATION

               Prominently identify subsequent submissions related to the proposed REMS
               modification with the following wording in bold capital letters at the top of the first page
               of the submission:

                    NDA 020687/S-000
                    PROPOSED REMS MODIFICATION-AMENDMENT

               To facilitate review of your submission, we request that you submit your proposed
               modified REMS and other REMS-related materials in Microsoft Word format. If certain
               documents, such as enrollment forms, are only in PDF format, they may be submitted
               as such, but the preference is to include as many as possible in Word format.

               SUBMISSION OF REMS DOCUMENT IN SPL FORMAT

               In addition to submitting the proposed modified REMS as described above, you can
               also submit the REMS document in Structured Product Labeling (SPL) format. If you
               intend to submit the REMS document in SPL format, include the SPL file with your
               proposed REMS modification submission.

               For more information on submitting REMS in SPL format, please email
               FDAREMSwebsite@fda.hhs.gov.




               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov
                                                        DEAR056                        2021 REMS 001805
Reference ID: 4906335
Case 1:23-cv-03026-TOR   ECF No. 170-2     filed 12/11/24   PageID.3549   Page
                                 57 of 300




                                 DEAR057
                Case 1:23-cv-03026-TOR                 ECF No. 170-2     filed 12/11/24   PageID.3550 Signature
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          electronically. Following this are manifestations of any and all
          electronic signatures for this electronic record.
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          /s/
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                                                                  DEAR058                  2021 REMS 001807
Reference ID: 4906335
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                                 59 of 300




                                 DEAR059                     2021 REMS 001808
                Case 1:23-cv-03026-TOR           ECF No. 170-2     filed 12/11/24   PageID.3552      Page
               ANDA 091178                               60 of 300
               Page 2




                    serious complications associated with mifepristone listed in the labeling of the drug.
                    Modification of the Mifepristone REMS to allow dispensing of mifepristone by
                    pharmacies requires the addition of certification of pharmacies that dispense the
                    drug.

               Your REMS must include elements to mitigate this risk, including at least the following:
                       • Healthcare providers who prescribe the drugs have particular experience
                          or training, or are specially certified
                       • Pharmacies, practitioners, or health care settings that dispense the drug
                          are specially certified
                       • The drug is dispensed to patients with evidence or other documentation of
                          safe use conditions

               The REMS must include an implementation system to monitor, evaluate, and work to
               improve the implementation of the ETASU (as outlined above). Include an intervention
               plan to address any findings of non-compliance with the ETASU.

               The proposed REMS modification submission should include a new proposed REMS
               document and appended REMS materials, as appropriate, that show the complete
               previously approved REMS with all proposed modifications highlighted and revised
               REMS materials.

               In addition, the submission should also include an update to the REMS supporting
               document that includes a description of all proposed modifications and their potential
               impact on other REMS elements. Revisions to the REMS supporting document should
               be submitted with all changes marked and highlighted.

               Because we have determined that a REMS modification as described above is
               necessary to minimize the burden on the health care delivery system of complying with
               the REMS and to ensure that the benefits of the drug outweigh the risks, you must
               submit a proposed REMS modification within 120 days of the date of this letter.

               Submit the proposed modified REMS as a Prior Approval supplement (PAS) to your
               ANDA.

               Because FDA is requiring the REMS modifications in accordance with section 505-
               1(g)(4)(B) of the FD&C Act, you are not required to submit an adequate rationale to
               support the proposed modifications, as long as the proposals are consistent with the
               modifications described in this letter. If the proposed REMS modification supplement
               includes changes that differ from the modifications described in this letter, an adequate
               rationale is required for those additional proposed changes in accordance with section
               505-1(g)(4)(A) of the FD&C Act.



               U.S. Food & Drug Administration
               10903 New Hampshire Avenue
               Silver Spring, MD 20903
               www.fda.gov
                                                         DEAR060                      2021 REMS 001809
Reference ID: 4906129
                Case 1:23-cv-03026-TOR           ECF No. 170-2     filed 12/11/24      PageID.3553     Page
               ANDA 091178                               61 of 300
               Page 3




               Prominently identify the submission with the following wording in bold capital letters at
               the top of the first page of the submission:

                        NEW SUPPLEMENT FOR ANDA 091178/S-000
                        PRIOR APPROVAL SUPPLEMENT
                        PROPOSED MAJOR REMS MODIFICATION

               Prominently identify subsequent submissions related to the proposed REMS
               modification with the following wording in bold capital letters at the top of the first page
               of the submission:

                        ANDA 091178/S-000
                        PROPOSED REMS MODIFICATION-AMENDMENT

               To facilitate review of your submission, we request that you submit your proposed
               modified REMS and other REMS-related materials in Microsoft Word format. If certain
               documents, such as enrollment forms, are only in PDF format, they may be submitted
               as such, but the preference is to include as many as possible in Word format.

               SUBMISSION OF REMS DOCUMENT IN SPL FORMAT

               In addition to submitting the proposed modified REMS as described above, you can
               also submit the REMS document in Structured Product Labeling (SPL) format. If you
               intend to submit the REMS document in SPL format, include the SPL file with your
               proposed REMS modification submission.

               For more information on submitting REMS in SPL format, please email
               REMS_Website@fda.hhs.gov.
                                                                          (b)(6)/PPI
               If you have any questions, call
                     .

                                                    Sincerely,

                                                    {See appended electronic signature page}
                                                                         (b)(6)/PPI




                                                    Center for Drug Evaluation and Research



               U.S. Food & Drug Administration
               10903 New Hampshire Avenue
               Silver Spring, MD 20903
               www.fda.gov
                                                         DEAR061                        2021 REMS 001810
Reference ID: 4906129
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          electronic signatures for this electronic record.
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          /s/
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                                 DEAR063
Case 1:23-cv-03026-TOR   ECF No. 170-2     filed 12/11/24   PageID.3556   Page
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                                 DEAR064
Case 1:23-cv-03026-TOR   ECF No. 170-2     filed 12/11/24   PageID.3557   Page
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                                 DEAR065
Case 1:23-cv-03026-TOR   ECF No. 170-2     filed 12/11/24   PageID.3558   Page
                                 66 of 300




                                 DEAR066
Case 1:23-cv-03026-TOR                     ECF No. 170-2     filed 12/11/24                     PageID.3559            Page
                                                   67 of 300
                                                    CONFIDENTIAL*


revised to align with the modifications to the SSS REMS. All revised documents include gender
neutral adjustments where indicated.
The below list of documents are included in this submission.

                        Documents Provided in this Submission                                           eCTD Location

 Summary of Modifications
            Summary of Modifications to Mifepristone SSS REMS – PDF                                          1.16.2.2

            Summary of Modifications to Mifepristone SSS REMS – MS Word                                      1.16.2.2

 Mifepristone SSS REMS Proposed Modification

           Mifepristone SSS REMS Modification – TRACK CHANGES MS                                             1.16.2.2
           Word Version

           Mifepristone SSS REMS Modification – CLEAN MS Word Version                                        1.16.2.2

           Side-by-Side Comparison of the SSS REMS Modification and                                          1.16.2.2
           REMS Materials with the Current SSS REMS and REMS Materials

 Revised Patient Agreement

           Revised Patient Agreement –TRACK CHANGES MS Word version                                          1.16.2.2

           Revised Patient Agreement – CLEAN MS Word version                                                 1.16.2.2

 Revised Prescriber Agreement

           Revised Danco Prescriber Agreement –TRACK CHANGES MS                                              1.16.2.2
           Word version

           Revised Danco Prescriber Agreement –CLEAN MS Word version                                         1.16.2.2

 New Proposed Pharmacy Agreement

           New Proposed Danco Pharmacy Agreement – MS Word                                                   1.16.2.2




* This document constitutes trade secret and confidential commercial information exempt from public disclosure under
21 C.F.R. 20.61. Should FDA tentatively determine that any portion of this document is disclosable in response to a request
under the Freedom of Information Act, Applicant requests immediate notification and an opportunity for consultation in
accordance with 21 C.F.R. 20.45.




                                                       DEAR067                                     2023 SUPP 000261
Case 1:23-cv-03026-TOR                     ECF No. 170-2     filed 12/11/24                     PageID.3560            Page
                                                   68 of 300
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                                                                                                             eCTD
                           Documents Provided in this Submission
                                                                                                            Location
 Revised REMS Supporting Document

           REMS Supporting Document –TRACK CHANGES MS Word                                                  1.16.2.2
           version

           REMS Supporting Document – CLEAN MS Word version                                                 1.16.2.2

 Revised Full Prescribing Information and Medication Guide

           Revised Danco Full Prescribing Information and Medication                                        1.14.1.2
           Guide– Redline Annotated MS Word version

           Revised Danco Full Prescribing Information and Medication                                        1.14.1.2
           Guide– Clean MS Word version

Please contact me with any questions or if you need additional information.




Sincerely,
                (b)(4)/TS-CI; (b)(6)/PPI




* This document constitutes trade secret and confidential commercial information exempt from public disclosure under
21 C.F.R. 20.61. Should FDA tentatively determine that any portion of this document is disclosable in response to a request
under the Freedom of Information Act, Applicant requests immediate notification and an opportunity for consultation in
accordance with 21 C.F.R. 20.45.




                                                       DEAR068                                     2023 SUPP 000262
Case 1:23-cv-03026-TOR           ECF No. 170-2     filed 12/11/24          PageID.3561      Page
                                         69 of 300




                         ELECTRONIC SUBMISSION SPECIFICATIONS

   Root Folder Name:                nda020687
   eCTD Sequence Number:            00
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   No. Files:                       
   No. Folders:                     
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   Anti-Virus Software              Microsoft Antimalware for Azure (eCTD Server)
   Information:




                                              Confidential                               Page 1 of 1
                                           DEAR069                           2023 SUPP 000263
                Case 1:23-cv-03026-TOR               ECF No. 170-2     filed 12/11/24          PageID.3562   Page
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                    PLIHSULVWRQH EH GLVSHQVHG RQO\ LQ FHUWDLQ KHDOWKFDUH VHWWLQJV VSHFLILFDOO\ FOLQLFV
                    PHGLFDO RIILFHV DQG KRVSLWDOV LH WKH ³LQSHUVRQ GLVSHQVLQJ UHTXLUHPHQW´ LV QR
                    ORQJHU QHFHVVDU\ WR HQVXUH WKH EHQHILWV RI PLIHSULVWRQH RXWZHLJK WKH ULVNV RI VHULRXV
                    FRPSOLFDWLRQV DVVRFLDWHG ZLWK PLIHSULVWRQH WKDW DUH OLVWHG LQ WKH ODEHOLQJ RI WKH GUXJ
                    5HPRYDO RI WKH UHTXLUHPHQW IRU LQSHUVRQ GLVSHQVLQJ ZLOO DOVR PLQLPL]H WKH EXUGHQ
                    RQ WKH KHDOWKFDUH GHOLYHU\ V\VWHP RI FRPSO\LQJ ZLWK WKH 5(06

                    (OHPHQWV WR $VVXUH 6DIH 8VH 3XUVXDQW WR  I   )'$ DOVR GHWHUPLQHG WKDW
                    DQ DGGLWLRQDO HOHPHQW WR DVVXUH VDIH XVH LV QHFHVVDU\ WR PLWLJDWH WKH ULVN RI VHULRXV
                    FRPSOLFDWLRQV DVVRFLDWHG ZLWK PLIHSULVWRQH OLVWHG LQ WKH ODEHOLQJ RI WKH GUXJ
                    0RGLILFDWLRQ RI WKH 5(06 WR DOORZ GLVSHQVLQJ RI PLIHSULVWRQH E\ SKDUPDFLHV
                    UHTXLUHV WKH DGGLWLRQ RI FHUWLILFDWLRQ RI SKDUPDFLHV WKDW GLVSHQVH WKH GUXJ




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               4XHVWLRQ  )RU SKDUPDFLHV WKDW ZLOO GLVSHQVH PLIHSULVWRQH

                    4XHVWLRQ  D  :LOO WKH $JHQF\ DFFHSW D FHUWLILFDWLRQ SURFHVV DQG UHTXLUHPHQWV WKDW
                    DUH WKH VDPH IRU SKDUPDFLHV GLVSHQVLQJ E\ PDLO RU ORFDO FRXULHU DQG SKDUPDFLHV
                    GLVSHQVLQJ LQSHUVRQ WR WKH SDWLHQW"

                    )'$ 5HVSRQVH <RX PD\ SURSRVH WKH VDPH FHUWLILFDWLRQ IRU GLIIHUHQW SKDUPDF\
                    GLVSHQVLQJ PRGHOV +RZHYHU ZH PD\ QHHG DGGLWLRQDO LQIRUPDWLRQ RQ \RXU SURSRVDO
                    GHSHQGLQJ RQ \RXU GLVSHQVLQJ PRGHO $ UHYLHZ RI \RXU SURSRVHG 5(06
                    PRGLILFDWLRQV ZLOO EH QHFHVVDU\ WR GHWHUPLQH LI \RXU RYHUDOO SURSRVDO IRU SKDUPDF\
                    FHUWLILFDWLRQ DVVXUHV WKH VDIH XVH RI PLIHSULVWRQH LQ D UHJLPHQ ZLWK PLVRSURVWRO IRU
                    WKH PHGLFDO WHUPLQDWLRQ RI LQWUDXWHULQH SUHJQDQF\ WKURXJK  GD\V JHVWDWLRQ

                    4XHVWLRQ  E  ,V FHUWLILFDWLRQ RI DQ DXWKRUL]HG UHSUHVHQWDWLYH RI WKH SKDUPDF\ RQ
                    EHKDOI RI DOO RI LWV PXOWLSOH ORFDWLRQV DQG SHUVRQQHO DFFHSWDEOH WR WKH $JHQF\ IRU WKH
                    UHYLVHG PLIHSULVWRQH 5(06"

                    )'$ 5HVSRQVH <HV D SKDUPDF\ FDQ GHVLJQDWH DQ DXWKRUL]HG UHSUHVHQWDWLYH WR
                    FDUU\ RXW WKH FHUWLILFDWLRQ SURFHVV UHJDUGOHVV RI ZKHWKHU WKDW SKDUPDF\ KDV RQH
                    ORFDWLRQ RU PXOWLSOH ORFDWLRQV 1RWH WKDW WKH DXWKRUL]HG UHSUHVHQWDWLYH LV UHVSRQVLEOH
                    IRU DQG PXVW DJUHH WR RYHUVHH LPSOHPHQWDWLRQ RI DQG FRPSOLDQFH ZLWK WKH
                    0LIHSULVWRQH 5(06 3URJUDP ,Q DGGLWLRQ DV SDUW RI \RXU SURSRVHG LPSOHPHQWDWLRQ
                    V\VWHP \RX PXVW KDYH D SURFHVV WR HQVXUH WKDW WKH SKDUPDFLHV GLVWULEXWLQJ
                    PLIHSULVWRQH FRPSO\ ZLWK WKH 0LIHSULVWRQH 5(06 3URJUDP UHTXLUHPHQWV IRU FHUWLILHG
                    SKDUPDFLHV ,Q \RXU VXEPLVVLRQ GHVFULEH KRZ \RX ZRXOG LPSOHPHQW DQG PRQLWRU
                    FRPSOLDQFH E\ FHUWLILHG SKDUPDFLHV ZLWK WKH 0LIHSULVWRQH 5(06 3URJUDP
                    UHTXLUHPHQWV

                    4XHVWLRQ  F  :RXOG )'$ FRQVLGHU DSSURYLQJ 3KDUPDF\ &HUWLILFDWLRQ ZLWK WKH
                    IROORZLQJ UHTXLUHPHQWV DQG DGYLVH RQ RWKHU HOHPHQWV WKDW DOVR QHHG WR EH
                    DGGUHVVHG"

                        5HTXLUHPHQWV 7KH SKDUPDF\ WKURXJK LWV DXWKRUL]HG UHSUHVHQWDWLYH FHUWLILHV WKDW
                        LW ZLOO LPSOHPHQW QHFHVVDU\ DFWLRQV WR HQVXUH WKH IROORZLQJ
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                               L 'LVSHQVH PLIHSULVWRQH RQO\ XQGHU SUHVFULSWLRQV LVVXHG E\
                                              D FHUWLILHG SUHVFULEHU VHH EHORZ IRU FRQWHPSODWHG
                                 YHULILFDWLRQ DQG TXHVWLRQV RQ FHUWLILHG SUHVFULEHUV 

                               LL 1R WUDQVIHU RI PLIHSULVWRQH RWKHU WKDQ WR D SDWLHQW SHU DERYH D FHUWLILHG
                                  SUHVFULEHU DQRWKHU FHUWLILHG SKDUPDF\ RU IRU UHWXUQV RU GHVWUXFWLRQ

                               LLL &RPPXQLFDWH DQ\ UHSRUWHG GHDWKV RI PLIHSULVWRQH XVHUV WR WKH
                                   SUHVFULEHU

               86 )RRG DQG 'UXJ $GPLQLVWUDWLRQ
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          7KLV LV D UHSUHVHQWDWLRQ RI DQ HOHFWURQLF UHFRUG WKDW ZDV VLJQHG
          HOHFWURQLFDOO\ )ROORZLQJ WKLV DUH PDQLIHVWDWLRQV RI DQ\ DQG DOO
          HOHFWURQLF VLJQDWXUHV IRU WKLV HOHFWURQLF UHFRUG
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HIGHLIGHTS OF PRESCRIBING INFORMATION
                                                  (b)(4)/TS-CI




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                                    (b)(4)/TS-CI




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                             MEDICATION GUIDE
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                              M I F E P R E X®
                          (Mifepristone) Tablets, 200 mg


                         PHARMACY AGREEMENT
                                   (b)(4)/TS-CI
                                                FORM




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               :H UHIHU WR \RXU QHZ GUXJ DSSOLFDWLRQ 1'$ VXEPLWWHG XQGHU VHFWLRQ  E RI WKH
               )HGHUDO )RRG 'UXJ DQG &RVPHWLF $FW )'&$ IRU 0LIHSUH[ PLIHSULVWRQH 7DEOHWV

               5,6. (9$/8$7,21 $1' 0,7,*$7,21 675$7(*< 5(06 5(48,5(0(176

               7KH 5(06 IRU PLIHSULVWRQH ZDV RULJLQDOO\ DSSURYHG RQ -XQH   DQG \RXU VLQJOH
               VKDUHG V\VWHP 5(06 666 5(06 ZDV DSSURYHG RQ $SULO   <RXU ODVW 666
               5(06 PRGLILFDWLRQ ZDV DSSURYHG 0D\   7KH 666 5(06 FRQVLVWV RI HOHPHQWV
               WR DVVXUH VDIH XVH DQ LPSOHPHQWDWLRQ V\VWHP DQG D WLPHWDEOH IRU VXEPLVVLRQ RI
               DVVHVVPHQWV RI WKH 5(06

               ,Q DFFRUGDQFH ZLWK VHFWLRQ  J  % RI WKH )HGHUDO )RRG 'UXJ DQG &RVPHWLF $FW
                )'&$  ZH KDYH GHWHUPLQHG WKDW \RXU DSSURYHG 5(06 IRU PLIHSULVWRQH PXVW EH
               PRGLILHG WR PLQLPL]H WKH EXUGHQ RQ WKH KHDOWKFDUH GHOLYHU\ V\VWHP RI FRPSO\LQJ ZLWK WKH
               5(06 DQG WR HQVXUH WKDW WKH EHQHILWV RI WKH GUXJ RXWZHLJK WKH ULVNV

               7KLV GHWHUPLQDWLRQ LV EDVHG RQ D UHYLHZ RI SXEOLVKHG OLWHUDWXUH VDIHW\ LQIRUPDWLRQ
               FROOHFWHG GXULQJ WKH &29,' 3+( )'$ $GYHUVH (YHQW 5HSRUWLQJ 6\VWHP )$(56
               UHSRUWV 5(06 DVVHVVPHQW UHSRUWV DQG LQIRUPDWLRQ SURYLGHG E\ DGYRFDF\ JURXSV
               LQGLYLGXDOV WKH $SSOLFDQWV DQG SODLQWLIIV LQ RQJRLQJ OLWLJDWLRQ

               <RXU DSSURYHG 5(06 PXVW EH PRGLILHG DV IROORZV

               (OHPHQWV WR $VVXUH 6DIH 8VH :H KDYH GHWHUPLQHG WKDW WKH UHTXLUHPHQW WKDW
               PLIHSULVWRQH EH GLVSHQVHG RQO\ LQ FHUWDLQ KHDOWKFDUH VHWWLQJV VSHFLILFDOO\ FOLQLFV
               PHGLFDO RIILFHV DQG KRVSLWDOV LH WKH ³LQSHUVRQ GLVSHQVLQJ UHTXLUHPHQW´ LV QR ORQJHU
               QHFHVVDU\ WR HQVXUH WKH EHQHILWV RI PLIHSULVWRQH RXWZHLJK WKH ULVNV RI VHULRXV
               FRPSOLFDWLRQV DVVRFLDWHG ZLWK PLIHSULVWRQH WKDW DUH OLVWHG LQ WKH ODEHOLQJ RI WKH GUXJ
               5HPRYDO RI WKH UHTXLUHPHQW IRU LQSHUVRQ GLVSHQVLQJ ZLOO DOVR PLQLPL]H WKH EXUGHQ RQ
               WKH KHDOWKFDUH GHOLYHU\ V\VWHP RI FRPSO\LQJ ZLWK WKH 5(06

               (OHPHQWV WR $VVXUH 6DIH 8VH 3XUVXDQW WR  I   ZH KDYH DOVR GHWHUPLQHG WKDW
               DQ DGGLWLRQDO HOHPHQW WR DVVXUH VDIH XVH LV QHFHVVDU\ WR PLWLJDWH WKH ULVN RI VHULRXV



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               FRPSOLFDWLRQV DVVRFLDWHG ZLWK PLIHSULVWRQH OLVWHG LQ WKH ODEHOLQJ RI WKH GUXJ 0RGLILFDWLRQ
               RI WKH 0LIHSULVWRQH 5(06 WR DOORZ GLVSHQVLQJ RI PLIHSULVWRQH E\ SKDUPDFLHV UHTXLUHV
               WKH DGGLWLRQ RI FHUWLILFDWLRQ RI SKDUPDFLHV WKDW GLVSHQVH WKH GUXJ

               <RXU 5(06 PXVW LQFOXGH HOHPHQWV WR PLWLJDWH WKLV ULVN LQFOXGLQJ DW OHDVW WKH IROORZLQJ
                 • +HDOWKFDUH SURYLGHUV KDYH SDUWLFXODU H[SHULHQFH RU WUDLQLQJ RU DUH VSHFLDOO\
                     FHUWLILHG

                    •   3KDUPDFLHV SUDFWLWLRQHUV RU KHDOWK FDUH VHWWLQJV WKDW GLVSHQVH WKH GUXJ DUH
                        VSHFLDOO\ FHUWLILHG

                    •   7KH GUXJ LV GLVSHQVHG WR SDWLHQWV ZLWK HYLGHQFH RU RWKHU GRFXPHQWDWLRQ RI VDIH
                        XVH FRQGLWLRQV

                        7KH 5(06 PXVW LQFOXGH DQ LPSOHPHQWDWLRQ V\VWHP WR PRQLWRU HYDOXDWH DQG
                        ZRUN WR LPSURYH WKH LPSOHPHQWDWLRQ RI WKH HOHPHQWV WR DVVXUH VDIH XVH RXWOLQHG
                        DERYH  ,QFOXGH DQ LQWHUYHQWLRQ SODQ WR DGGUHVV DQ\ ILQGLQJV RI QRQFRPSOLDQFH
                        ZLWK WKH (7$68

               7KH SURSRVHG 5(06 PXVW LQFOXGH D WLPHWDEOH IRU VXEPLVVLRQ RI DVVHVVPHQWV
               7KH SURSRVHG 5(06 PRGLILFDWLRQ VXEPLVVLRQ VKRXOG LQFOXGH D QHZ SURSRVHG 5(06
               GRFXPHQW DQG DSSHQGHG 5(06 PDWHULDOV DV DSSURSULDWH WKDW VKRZ WKH FRPSOHWH
               SUHYLRXVO\ DSSURYHG 5(06 ZLWK DOO SURSRVHG PRGLILFDWLRQV KLJKOLJKWHG DQG UHYLVHG
               5(06 PDWHULDOV

               ,Q DGGLWLRQ WKH VXEPLVVLRQ VKRXOG DOVR LQFOXGH DQ XSGDWH WR WKH 5(06 VXSSRUWLQJ
               GRFXPHQW WKDW LQFOXGHV D GHVFULSWLRQ RI DOO SURSRVHG PRGLILFDWLRQV DQG WKHLU SRWHQWLDO
               LPSDFW RQ RWKHU 5(06 HOHPHQWV 5HYLVLRQV WR WKH 5(06 VXSSRUWLQJ GRFXPHQW VKRXOG
               EH VXEPLWWHG ZLWK DOO FKDQJHV PDUNHG DQG KLJKOLJKWHG

               %HFDXVH ZH KDYH GHWHUPLQHG WKDW D 5(06 PRGLILFDWLRQ DV GHVFULEHG DERYH LV
               QHFHVVDU\ WR PLQLPL]H WKH EXUGHQ RQ WKH KHDOWK FDUH GHOLYHU\ V\VWHP RI FRPSO\LQJ ZLWK
               WKH 5(06 DQG WR HQVXUH WKDW WKH EHQHILWV RI WKH GUXJ RXWZHLJK WKH ULVNV \RX PXVW
               VXEPLW D SURSRVHG 5(06 PRGLILFDWLRQ ZLWKLQ  GD\V RI WKH GDWH RI WKLV OHWWHU

               6XEPLW WKH SURSRVHG PRGLILHG 5(06 DV D 3ULRU $SSURYDO VXSSOHPHQW 3$6 WR \RXU
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               %HFDXVH )'$ LV UHTXLULQJ WKH 5(06 PRGLILFDWLRQV LQ DFFRUGDQFH ZLWK VHFWLRQ 
                J  %  \RX DUH QRW UHTXLUHG WR VXEPLW DQ DGHTXDWH UDWLRQDOH WR VXSSRUW WKH SURSRVHG
               PRGLILFDWLRQV DV ORQJ DV WKH SURSRVDOV DUH FRQVLVWHQW ZLWK WKH PRGLILFDWLRQV GHVFULEHG
               LQ WKLV OHWWHU ,I WKH SURSRVHG 5(06 PRGLILFDWLRQ VXSSOHPHQW LQFOXGHV FKDQJHV WKDW
               GLIIHU IURP WKH PRGLILFDWLRQV GHVFULEHG LQ WKLV OHWWHU DQ DGHTXDWH UDWLRQDOH LV UHTXLUHG IRU
               WKRVH DGGLWLRQDO SURSRVHG FKDQJHV LQ DFFRUGDQFH ZLWK VHFWLRQ  J  $ 

               3URPLQHQWO\ LGHQWLI\ WKH VXEPLVVLRQ ZLWK WKH IROORZLQJ ZRUGLQJ LQ EROG FDSLWDO OHWWHUV DW
               WKH WRS RI WKH ILUVW SDJH RI WKH VXEPLVVLRQ

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               PRGLILFDWLRQ ZLWK WKH IROORZLQJ ZRUGLQJ LQ EROG FDSLWDO OHWWHUV DW WKH WRS RI WKH ILUVW SDJH
               RI WKH VXEPLVVLRQ

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               7R IDFLOLWDWH UHYLHZ RI \RXU VXEPLVVLRQ ZH UHTXHVW WKDW \RX VXEPLW \RXU SURSRVHG
               PRGLILHG 5(06 DQG RWKHU 5(06UHODWHG PDWHULDOV LQ 0LFURVRIW :RUG IRUPDW ,I FHUWDLQ
               GRFXPHQWV VXFK DV HQUROOPHQW IRUPV DUH RQO\ LQ 3') IRUPDW WKH\ PD\ EH VXEPLWWHG
               DV VXFK EXW WKH SUHIHUHQFH LV WR LQFOXGH DV PDQ\ DV SRVVLEOH LQ :RUG IRUPDW

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               ,Q DGGLWLRQ WR VXEPLWWLQJ WKH SURSRVHG PRGLILHG 5(06 DV GHVFULEHG DERYH \RX FDQ
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               LQWHQG WR VXEPLW WKH 5(06 GRFXPHQW LQ 63/ IRUPDW LQFOXGH WKH 63/ ILOH ZLWK \RXU
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               86 )RRG DQG 'UXJ $GPLQLVWUDWLRQ
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          7KLV LV D UHSUHVHQWDWLRQ RI DQ HOHFWURQLF UHFRUG WKDW ZDV VLJQHG
          HOHFWURQLFDOO\ )ROORZLQJ WKLV DUH PDQLIHVWDWLRQV RI DQ\ DQG DOO
          HOHFWURQLF VLJQDWXUHV IRU WKLV HOHFWURQLF UHFRUG
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                                   Mifepristone Tablets, 200 mg 1


SINGLE SHARED SYSTEM RISK EVALUATION AND MITIGATION STRATEGY
                 (REMS) SUPPORTING DOCUMENT
                                                       (b)(4)/TS-CI




1
 This document constitutes trade secret and confidential information exempt from public disclosure under 21 C.F.R.
§ 20.61. Should FDA tentatively determine that any portion of this document is disclosable in response to a request
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consultation in accordance with 21 C.F.R. § 20.45.

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NDA 020687 Mifeprex® (Mifepristone) Tablets, 200 mg
REMS Modification
eCTD Sequence 18
                                                                DEAR146                                            2023 SUPP 000340
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1.16.2          Summary of the Proposed REMS Modifications

1. Introduction

On December 16, 2021, the Agency directed Danco Laboratories, LLC (“Danco”) and GenBioPro,
Inc. (“GenBioPro”) (collectively, the “Sponsors”) in a REMS Modification Notification dated
December 16, 2021 to modify the Mifepristone SSS REMS (the “REMS”) as follows:

         Elements to Assure Safe Use: We have determined that the requirement
         that mifepristone be dispensed only in certain healthcare settings,
         specifically clinics, medical offices, and hospitals (i.e., the “in-person
         dispensing requirement”) is no longer necessary to ensure the benefits of
         mifepristone outweigh the risks of serious complications associated with
         mifepristone that are listed in the labeling of the drug. Removal of the
         requirement for in-person dispensing will reduce the burden on the
         healthcare delivery system of complying with the REMS.

         Elements to Assure Safe Use: Pursuant to §505-1(f)(1) [of the Food, Drug,
         and Cosmetic Act], we have also determined that an additional element to
         assure safe use is necessary to mitigate the risk of serious complications
         associated with mifepristone listed in the labeling of the drug. Modification
         of the Mifepristone REMS to allow dispensing of mifepristone by
         pharmacies requires the addition of certification of pharmacies that dispense
         the drug.

         Your REMS must include elements to mitigate this risk, including at least
         the following:
            x   Healthcare providers who prescribe the drugs have particular
                experience or training, or are specially certified[.]
            x   Pharmacies, practitioners, or health care settings that dispense the
                drug are specially certified[.]
            x   The drug is dispensed to patients with evidence or other
                documentation of safe use conditions.

         The REMS must include an implementation system to monitor, evaluate, and
         work to improve the implementation of the elements to assure safe use
         (outlined above). Include an intervention plan to address any findings of
         non-compliance with the ETASU.

On March 11, 2022, the Sponsors submitted a Type A Meeting Request including questions
regarding the REMS Modification to which the Agency provided Written Responses on April 8,
2022.

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NDA 020687 Mifeprex® (Mifepristone) Tablets, 200 mg
REMS Modification
eCTD Sequence 18
                                             DEAR147                         2023 SUPP 000341
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GenBioPro and Danco have worked collaboratively to modify the REMS for mifepristone as
directed by FDA.

This document summarizes and provides further explanation for the proposed Modifications to the
mifepristone REMS and serves as the adequate rationale for the REMS Modifications to the extent
required by § 505-1(g)(4)(A) of the Food, Drug, and Cosmetic Act (FDCA). Additionally, a
detailed side-by-side annotated comparison of the proposed modified REMS versus the approved
REMS is provided in Section 1.16.2.2.

2. Background

Based on FDA’s review of published literature, safety information collected during the ongoing
COVID-19 public health emergency, FDA Adverse Event Reporting Systems (FAERS) reports,
REMS assessment reports, and information provided by advocacy groups, individuals, and parties
in ongoing litigation, FDA determined that the in-person dispensing requirement is no longer
necessary to ensure the benefit of the drug outweigh the risk and that modification of the REMS
to add pharmacy certification is necessary to allow dispensing by pharmacies.

The proposed Modifications to the REMS and REMS materials were developed to allow for
                                                                             (b)(4)/TS-CI
mifepristone to be prescribed by certified prescribers
            , without imposing in-person assessment, counseling, consenting, prescribing or
follow-up requirements. In addition, the proposed Modifications provide for mifepristone to be
dispensed by mail/courier (as well as in person) by or under the supervision of certified prescribers
or by certified pharmacies, while meeting the statutory requirement under §505-1(f)(2)(B) of the
FDCA to minimize the burden on the health care system and not be unduly burdensome on patient
access to the drug (especially to patients who have difficulty accessing health care, such as patients
in rural or medically underserved areas or who have other limitations).

In developing the modified REMS, the Sponsors considered both the FDA’s responses (in its
Written Response) to the Sponsors’ questions and their extensive experience with the use and
distribution of mifepristone, including the experience gained over the last two years with the
provision of mifepristone through telemedicine and mail delivery by healthcare providers and
mail-order pharmacies. They have also consulted with a broad range of stakeholders, including
current and potential prescribers, mail and retail pharmacies, distributors, and other experts to
develop REMS Modifications that would best meet the FDA directive to improve access and
maintain safe use without imposing undue burdens on patients and stakeholders.

The Sponsors’ proposed REMS includes several interrelated elements to implement the REMS to
meet the Agency’s objectives and mandate under §505-1(f)(2)(B) while avoiding the unintended
effect of limiting access, increasing burdens, and introducing risks to healthcare provider and
patient confidentiality. In that regard, the proposed modified REMS is intended to meet the
applicable legal standards and reflect FDA’s considered view of what conditions are necessary for
the safe use of mifepristone for the intended use, such that additional restrictions would be
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NDA 020687 Mifeprex® (Mifepristone) Tablets, 200 mg
REMS Modification
eCTD Sequence 18
                                             DEAR148                          2023 SUPP 000342
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inconsistent with the conditions of use (including its labeling, distribution, prescribing, dispensing
and use) established by the Agency under its unique and exclusive statutory authority, mandates
and recognized expertise. We ask FDA to carefully evaluate our proposed Modifications, as a
suitable approach to assure that patient access to mifepristone under such restrictions as necessary
to safe use.

The proposed Modified REMS includes the following:
                                                (b)(4)/TS-CI




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NDA 020687 Mifeprex® (Mifepristone) Tablets, 200 mg
REMS Modification
eCTD Sequence 18
                                             DEAR149                          2023 SUPP 000343
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NDA 020687 Mifeprex® (Mifepristone) Tablets, 200 mg
REMS Modification
eCTD Sequence 18
                                             DEAR150                  2023 SUPP 000344
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NDA 020687 Mifeprex® (Mifepristone) Tablets, 200 mg
REMS Modification
eCTD Sequence 18
                                             DEAR151                  2023 SUPP 000345
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NDA 020687 Mifeprex® (Mifepristone) Tablets, 200 mg
REMS Modification
eCTD Sequence 18
                                             DEAR152                  2023 SUPP 000346
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NDA 020687 Mifeprex® (Mifepristone) Tablets, 200 mg
REMS Modification
eCTD Sequence 18
                                             DEAR153                  2023 SUPP 000347
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NDA 020687 Mifeprex® (Mifepristone) Tablets, 200 mg
REMS Modification
eCTD Sequence 18
                                             DEAR154                  2023 SUPP 000348
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NDA 020687 Mifeprex® (Mifepristone) Tablets, 200 mg
REMS Modification
eCTD Sequence 18
                                             DEAR155                  2023 SUPP 000349
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NDA 020687 Mifeprex® (Mifepristone) Tablets, 200 mg
REMS Modification
eCTD Sequence 18
                                             DEAR156                  2023 SUPP 000350
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                                                           NEW SUPPLEMENT FOR ANDA 091178/S-004
                                                                  PRIOR APPROVAL SUPPLEMENT
                                                           PROPOSED MAJOR REMS MODIFICATION


June 22, 2022
                      (b)(6)/PPI




Center for Drug Evaluation and Research
Food and Drug Administration
10903 New Hampshire Avenue
Silver Spring, Maryland 20993-0002


Re:      ANDA 091178, Sequence No. 0087
         Mifepristone tablets, 200 mg
         PRIOR APPROVAL SUPPLEMENT S-004
         PROPOSED MAJOR SSS REMS MODIFICATION
         PROPOSED CHANGES TO LABELING AND MEDICATION GUIDE

         (b)(6)/PPI
Dear

This prior approval ANDA supplement 004 is being submitted by GenBioPro, Inc. in response to
FDA’s REMS Modification Notification dated December 16, 2021. This supplement addresses
FDA’s determination that the approved Mifepristone Single Shared System Risk Evaluation and
Mitigation Strategy (“SSS REMS”) must be modified to minimize the burden on the health care
delivery system of complying with the REMS and to ensure that the benefits of the drug
outweigh the risks.

Danco and GenBioPro have worked collaboratively to modify the SSS REMS to include the
necessary elements to assure safe use of mifepristone. Danco will be submitting identical
documents to their NDA 020687, adjusted for company name and other proprietary information.

The proposed major modifications to the SSS REMS were developed based on the
recommendations provided by FDA in the REMS Modification Notification as well as feedback
received in the Type A Meeting Written Response communication dated April 08, 2022
(“Written Response”). Additionally, the Full Prescribing Information, and the Medication Guide
have been revised to align with the modifications to the SSS REMS. All revised documents
include gender neutral adjustments where indicated.


* This document constitutes trade secret and confidential commercial information exempt from public disclosure under
21 C.F.R. 20.61. Should FDA tentatively determine that any portion of this document is disclosable in response to a request
under the Freedom of Information Act, Applicant requests immediate notification and an opportunity for consultation in
accordance with 21 C.F.R. 20.45.

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                                                                                            Prior Approval Supplement
                                                                                    Proposed Major REMS Modification


The below list of documents are included in this submission.
                                                                                                            eCTD
                        Documents Provided in this Submission
                                                                                                           Location
 Summary of Changes
                                                                                                            1.16.2.2
           Summary of Modifications to Mifepristone SSS REMS

 Mifepristone SSS REMS Proposed Modification

           Mifepristone SSS REMS Modification – TRACK CHANGES MS                                            1.16.2.2
           Word version

           Mifepristone SSS REMS Modification – CLEAN MS Word                                               1.16.2.2
           version

           Side-by-Side Comparison of the SSS REMS Modification and                                         1.16.2.2
           REMS Materials with the Current SSS REMS and REMS Materials

 Revised Patient Agreement

           Revised Patient Agreement –TRACK CHANGES MS Word                                                 1.16.2.2
           version

           Revised Patient Agreement – CLEAN MS Word version                                                1.16.2.2

 Revised Prescriber Agreement

           Revised Prescriber Agreement – (GenBioPro) TRACK CHANGES                                         1.16.2.2
           MS Word version

           Revised Prescriber Agreement – (GenBioPro) CLEAN MS Word                                         1.16.2.2
           version

 New Proposed Pharmacy Agreement

           New Proposed Pharmacy Agreement (GenBioPro) – MS Word                                            1.16.2.2




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21 C.F.R. 20.61. Should FDA tentatively determine that any portion of this document is disclosable in response to a request
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accordance with 21 C.F.R. 20.45.

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      FDA Response ..................................................................................................................................................................................... 7




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               NDA 020687
                                                                                        MEETING REQUEST-
                                                                                       WRITTEN RESPONSES

               Danco Laboratories,         LLC
                          (b)(4)/TS-CI; (b)(6)/PPI




               P.O. Box 4816
               New York, NY 10185
                        (b)(4)/TS-CI; (b)(6)/PPI
               Dear

               Please refer to your new drug application (NDA) submitted under section 505(b) of the
               Federal Food, Drug, and Cosmetic Act for Mifeprex (mifepristone) Tablets.

               We also refer to your submission dated March 11, 2022, containing a meeting request.
               The purpose of the requested meeting was to discuss the proposed modifications to the
               single, shared system Risk Evaluation and Mitigation Strategy (REMS) for mifepristone
               200 mg, the REMS materials, and other supporting documents to facilitate a submission
               by April 15, 2022.

               Further reference is made to our Meeting Granted letter dated March 16, 2022, wherein
               we agreed that written responses to your questions would be provided in lieu of a
               meeting.

               The enclosed document constitutes our written responses to the questions contained in
               your March 11, 2022, background package.
                                                               (b)(6)/PPI
               If you have any questions,

                                                           Sincerely,

                                                           {See appended electronic signature page}
                                                                                  (b)(6)/PPI




                                                           Center for Drug Evaluation and Research


               Enclosure:
                  • Written Responses



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                                                 WRITTEN RESPONSES

               Meeting Type:                Type A
               Meeting Category:            Post-Action Meeting, REMS

               Application Number:          020687

               Product Name:                Mifeprex (mifepristone) Tablets

               Indication:                  Mifepristone, in a regimen with misoprostol, is indicated
                                            for the medical termination of intrauterine pregnancy
                                            through 70 days gestation

               Applicant Name:              Danco Laboratories, LLC


               BACKGROUND

               On December 16, 2021, FDA issued a letter to notify the applicants of mifepristone for
               medical termination of early pregnancy that the single, shared system REMS must be
               modified as follows:

                    Elements to Assure Safe Use: FDA determined that the requirement that
                    mifepristone be dispensed only in certain healthcare settings, specifically clinics,
                    medical offices, and hospitals (i.e., the “in-person dispensing requirement”) is no
                    longer necessary to ensure the benefits of mifepristone outweigh the risks of serious
                    complications associated with mifepristone that are listed in the labeling of the drug.
                    Removal of the requirement for in-person dispensing will also minimize the burden
                    on the healthcare delivery system of complying with the REMS.

                    Elements to Assure Safe Use: Pursuant to 505-1(f)(1), FDA also determined that
                    an additional element to assure safe use is necessary to mitigate the risk of serious
                    complications associated with mifepristone listed in the labeling of the drug.
                    Modification of the REMS to allow dispensing of mifepristone by pharmacies
                    requires the addition of certification of pharmacies that dispense the drug.




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               QUESTIONS AND RESPONSES

               Question 1: For pharmacies that will dispense mifepristone:

                    Question 1 a): Will the Agency accept a certification process and requirements that
                    are the same for pharmacies dispensing by mail or local courier and pharmacies
                    dispensing in-person to the patient?

                    FDA Response: You may propose the same certification for different pharmacy
                    dispensing models. However, we may need additional information on your proposal
                    depending on your dispensing model. A review of your proposed REMS
                    modifications will be necessary to determine if your overall proposal for pharmacy
                    certification assures the safe use of mifepristone, in a regimen with misoprostol, for
                    the medical termination of intrauterine pregnancy through 70 days gestation.

                    Question 1 b): Is certification of an authorized representative of the pharmacy on
                    behalf of all of its multiple locations and personnel acceptable to the Agency for the
                    revised mifepristone REMS?

                    FDA Response: Yes, a pharmacy can designate an authorized representative to
                    carry out the certification process regardless of whether that pharmacy has one
                    location or multiple locations. Note that the authorized representative is responsible
                    for and must agree to oversee implementation of and compliance with the
                    Mifepristone REMS Program. In addition, as part of your proposed implementation
                    system, you must have a process to ensure that the pharmacies distributing
                    mifepristone comply with the Mifepristone REMS Program requirements for certified
                    pharmacies. In your submission, describe how you would implement and monitor
                    compliance by certified pharmacies with the Mifepristone REMS Program
                    requirements.

                    Question 1 c): Would FDA consider approving Pharmacy Certification with the
                    following requirements and advise on other elements that also need to be
                    addressed?

                        Requirements: The pharmacy, through its authorized representative, certifies that
                        it will implement necessary actions to ensure the following:
                                                                                                  (b)(4)/TS-CI
                              (i) Dispense mifepristone only under prescriptions issued by
                                               a certified prescriber (see below for contemplated
                                  verification and questions on certified prescribers);

                              (ii) No transfer of mifepristone other than to a patient per above, a certified
                                   prescriber, another certified pharmacy, or for returns or destruction;

                              (iii) Communicate any reported deaths of mifepristone users to the
                                    prescriber;

               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov
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                        (b)(6)/PPI


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                    serious complications associated with mifepristone listed in the labeling of the drug.
                    Modification of the Mifepristone REMS to allow dispensing of mifepristone by
                    pharmacies requires the addition of certification of pharmacies that dispense the
                    drug.

               Your REMS must include elements to mitigate this risk, including at least the following:
                       • Healthcare providers who prescribe the drugs have particular experience
                          or training, or are specially certified
                       • Pharmacies, practitioners, or health care settings that dispense the drug
                          are specially certified
                       • The drug is dispensed to patients with evidence or other documentation of
                          safe use conditions

               The REMS must include an implementation system to monitor, evaluate, and work to
               improve the implementation of the ETASU (as outlined above). Include an intervention
               plan to address any findings of non-compliance with the ETASU.

               The proposed REMS modification submission should include a new proposed REMS
               document and appended REMS materials, as appropriate, that show the complete
               previously approved REMS with all proposed modifications highlighted and revised
               REMS materials.

               In addition, the submission should also include an update to the REMS supporting
               document that includes a description of all proposed modifications and their potential
               impact on other REMS elements. Revisions to the REMS supporting document should
               be submitted with all changes marked and highlighted.

               Because we have determined that a REMS modification as described above is
               necessary to minimize the burden on the health care delivery system of complying with
               the REMS and to ensure that the benefits of the drug outweigh the risks, you must
               submit a proposed REMS modification within 120 days of the date of this letter.

               Submit the proposed modified REMS as a Prior Approval supplement (PAS) to your
               ANDA.

               Because FDA is requiring the REMS modifications in accordance with section 505-
               1(g)(4)(B) of the FD&C Act, you are not required to submit an adequate rationale to
               support the proposed modifications, as long as the proposals are consistent with the
               modifications described in this letter. If the proposed REMS modification supplement
               includes changes that differ from the modifications described in this letter, an adequate
               rationale is required for those additional proposed changes in accordance with section
               505-1(g)(4)(A) of the FD&C Act.



               U.S. Food & Drug Administration
               10903 New Hampshire Avenue
               Silver Spring, MD 20903
               www.fda.gov
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               Prominently identify the submission with the following wording in bold capital letters at
               the top of the first page of the submission:

                        NEW SUPPLEMENT FOR ANDA 091178/S-000
                        PRIOR APPROVAL SUPPLEMENT
                        PROPOSED MAJOR REMS MODIFICATION

               Prominently identify subsequent submissions related to the proposed REMS
               modification with the following wording in bold capital letters at the top of the first page
               of the submission:

                        ANDA 091178/S-000
                        PROPOSED REMS MODIFICATION-AMENDMENT

               To facilitate review of your submission, we request that you submit your proposed
               modified REMS and other REMS-related materials in Microsoft Word format. If certain
               documents, such as enrollment forms, are only in PDF format, they may be submitted
               as such, but the preference is to include as many as possible in Word format.

               SUBMISSION OF REMS DOCUMENT IN SPL FORMAT

               In addition to submitting the proposed modified REMS as described above, you can
               also submit the REMS document in Structured Product Labeling (SPL) format. If you
               intend to submit the REMS document in SPL format, include the SPL file with your
               proposed REMS modification submission.

               For more information on submitting REMS in SPL format, please email
               REMS_Website@fda.hhs.gov.
                                                                          (b)(6)/PPI
               If you have any questions, call


                                                    Sincerely,

                                                    {See appended electronic signature page}
                                                                         (b)(6)/PPI




                                                    Center for Drug Evaluation and Research



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               Silver Spring, MD 20903
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        FULL PRESCRIBING INFORMATION
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                                              Mifepristone Tablets, 200 mg

                                                  Progestin Antagonist

                             RISK EVALUATION AND MITIGATION STRATEGY (REMS)
                                SINGLE SHARED SYSTEM FOR MIFEPRISTONE 200MG
                                                     (b)(4)/TS-CI




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PHARMACY AGREEMENT FORM                          Mifepristone Tablets, 200 mg
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                                       (b)(4)/TS-CI




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                                   Mifepristone Tablets, 200 mg 1


SINGLE SHARED SYSTEM RISK EVALUATION AND MITIGATION STRATEGY
                 (REMS) SUPPORTING DOCUMENT
                                                    (b)(4)/TS-CI




1
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{00212682}

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REMS Modification
eCTD Sequence 004
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1.16.2          Summary of the Proposed REMS Modifications

1. Introduction

On December 16, 2021, the Agency directed Danco Laboratories, LLC (“Danco”) and GenBioPro,
Inc. (“GenBioPro”) (collectively, the “Sponsors”) in a REMS Modification Notification dated
December 16, 2021 to modify the Mifepristone SSS REMS (the “REMS”) as follows:

         Elements to Assure Safe Use: We have determined that the requirement
         that mifepristone be dispensed only in certain healthcare settings,
         specifically clinics, medical offices, and hospitals (i.e., the “in-person
         dispensing requirement”) is no longer necessary to ensure the benefits of
         mifepristone outweigh the risks of serious complications associated with
         mifepristone that are listed in the labeling of the drug. Removal of the
         requirement for in-person dispensing will reduce the burden on the
         healthcare delivery system of complying with the REMS.

         Elements to Assure Safe Use: Pursuant to §505-1(f)(1) [of the Food, Drug,
         and Cosmetic Act], we have also determined that an additional element to
         assure safe use is necessary to mitigate the risk of serious complications
         associated with mifepristone listed in the labeling of the drug. Modification
         of the Mifepristone REMS to allow dispensing of mifepristone by
         pharmacies requires the addition of certification of pharmacies that dispense
         the drug.

         Your REMS must include elements to mitigate this risk, including at least
         the following:
            x   Healthcare providers who prescribe the drugs have particular
                experience or training, or are specially certified[.]
            x   Pharmacies, practitioners, or health care settings that dispense the
                drug are specially certified[.]
            x   The drug is dispensed to patients with evidence or other
                documentation of safe use conditions.

         The REMS must include an implementation system to monitor, evaluate, and
         work to improve the implementation of the elements to assure safe use
         (outlined above). Include an intervention plan to address any findings of
         non-compliance with the ETASU.

On March 11, 2022, the Sponsors submitted a Type A Meeting Request including questions
regarding the REMS Modification to which the Agency provided Written Responses on April 8,
2022.

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ANDA 091178 Mifepristone Tablets, 200 mg
REMS Modification
eCTD Sequence 004
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GenBioPro and Danco have worked collaboratively to modify the REMS for mifepristone as
directed by FDA.

This document summarizes and provides further explanation for the proposed Modifications to the
mifepristone REMS and serves as the adequate rationale for the REMS Modifications to the extent
required by § 505-1(g)(4)(A) of the Food, Drug, and Cosmetic Act (FDCA). Additionally, a
detailed side-by-side annotated comparison of the proposed modified REMS versus the approved
REMS is provided in Section 1.16.2.2.

2. Background

Based on FDA’s review of published literature, safety information collected during the ongoing
COVID-19 public health emergency, FDA Adverse Event Reporting Systems (FAERS) reports,
REMS assessment reports, and information provided by advocacy groups, individuals, and parties
in ongoing litigation, FDA determined that the in-person dispensing requirement is no longer
necessary to ensure the benefit of the drug outweigh the risk and that modification of the REMS
to add pharmacy certification is necessary to allow dispensing by pharmacies.

The proposed Modifications to the REMS and REMS materials were developed to allow for
                                                                            (b)(4)/TS-CI
mifepristone to be prescribed by certified prescribers
              without imposing in-person assessment, counseling, consenting, prescribing or
follow-up requirements. In addition, the proposed Modifications provide for mifepristone to be
dispensed by mail/courier (as well as in person) by or under the supervision of certified prescribers
or by certified pharmacies, while meeting the statutory requirement under §505-1(f)(2)(B) of the
FDCA to minimize the burden on the health care system and not be unduly burdensome on patient
access to the drug (especially to patients who have difficulty accessing health care, such as patients
in rural or medically underserved areas or who have other limitations).

In developing the modified REMS, the Sponsors considered both the FDA’s responses (in its
Written Response) to the Sponsors’ questions and their extensive experience with the use and
distribution of mifepristone, including the experience gained over the last two years with the
provision of mifepristone through telemedicine and mail delivery by healthcare providers and
mail-order pharmacies. They have also consulted with a broad range of stakeholders, including
current and potential prescribers, mail and retail pharmacies, distributors, and other experts to
develop REMS Modifications that would best meet the FDA directive to improve access and
maintain safe use without imposing undue burdens on patients and stakeholders.

The Sponsors’ proposed REMS includes several interrelated elements to implement the REMS to
meet the Agency’s objectives and mandate under §505-1(f)(2)(B) while avoiding the unintended
effect of limiting access, increasing burdens, and introducing risks to healthcare provider and
patient confidentiality. In that regard, the proposed modified REMS is intended to meet the
applicable legal standards and reflect FDA’s considered view of what conditions are necessary for
the safe use of mifepristone for the intended use, such that additional restrictions would be
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ANDA 091178 Mifepristone Tablets, 200 mg
REMS Modification
eCTD Sequence 004
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inconsistent with the conditions of use (including its labeling, distribution, prescribing, dispensing
and use) established by the Agency under its unique and exclusive statutory authority, mandates
and recognized expertise. We ask FDA to carefully evaluate our proposed Modifications, as a
suitable approach to assure that patient access to mifepristone under such restrictions as necessary
to safe use.

The proposed Modified REMS includes the following:
                                               (b)(4)/TS-CI




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ANDA 091178 Mifepristone Tablets, 200 mg
REMS Modification
eCTD Sequence 004
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                                            (b)(4)/TS-CI




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ANDA 091178 Mifepristone Tablets, 200 mg
REMS Modification
eCTD Sequence 004
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                                            (b)(4)/TS-CI




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ANDA 091178 Mifepristone Tablets, 200 mg
REMS Modification
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ANDA 091178 Mifepristone Tablets, 200 mg
REMS Modification
eCTD Sequence 004
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REMS Modification
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REMS Modification
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ANDA 091178 Mifepristone Tablets, 200 mg
REMS Modification
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                                            (b)(4)/TS-CI




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REMS Modification
eCTD Sequence 004
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               EXECUTIVE SUMMARY
               This is a review of the proposed modification to the single, shared system Risk Evaluation and Mitigation
               Strategy (REMS) for mifepristone 200 mg (hereafter referred to as the Mifepristone REMS Program)
               submitted by Danco Laboratories, LLC (Danco) for new drug application (NDA) 020687 and by
               GenBioPro, Inc. (GBP) for abbreviated new drug application (ANDA) 091178. The Sponsors submitted
               proposed modification to the Mifepristone REMS Program on June 22, 2022, and amended their
               submissions on October 19, 2022 (Danco), October 20, 2022 (GBP), November 30, 2022 (both),
               December 9, 2022 (both) and December 16, 2022 (both).
               The Mifepristone REMS Program was originally approved on April 11, 2019, to mitigate the risk of
               serious complications associated with mifepristone 200 mg. The most recent REMS modification was
               approved on May 14, 2021. a The Mifepristone REMS Program consists of elements to assure safe use
               (ETASU) A, C and D, an implementation system, and a timetable for submission of assessments of the
               REMS.
               The Sponsors submitted the proposed modification to the REMS in response to the Agency’s REMS
               Modification Notification letters dated December 16, 2021, which required removal of the requirement
               that mifepristone be dispensed only in certain healthcare settings, specifically clinics, medical offices,
               and hospitals (i.e., the “in-person dispensing requirement”) and the addition of certification of
               pharmacies that dispense the drug.
               In addition, the following were addressed during the course of the review:
                   x revisions to the REMS goal to align with the updated REMS requirements.
                   x replacing serial number with recording of NDC and lot number of mifepristone dispensed.
                   x additional edits for clarification and consistency in the REMS Document and REMS materials
                        (Prescriber Agreement Forms, Patient Agreement Form, and Pharmacy Agreement Forms).
               The review team finds the proposed modification to the Mifepristone REMS Program last submitted on
               December 16, 2022, to be acceptable and recommends approval of the REMS modification. The
               proposed REMS modification includes changes to the REMS goal, additional REMS requirements for
               prescribers to incorporate dispensing from certified pharmacies and new REMS requirements for
               pharmacy certification.
               The proposed goal of the modified REMS for mifepristone 200 mg is to mitigate the risk of serious
               complications associated with mifepristone by:
                        D  Requiring healthcare providers who prescribe mifepristone to be certified in the
                            Mifepristone REMS Program.
                        E  Ensuring that mifepristone is only dispensed by or under the supervision of certified
                            prescribers, or by certified pharmacies on prescriptions issued by certified
                            prescribers.
                        F  Informing patients about the risk of serious complications associated with mifepristone.




               a
                The May 14, 2021 REMS modification approved the inclusion of gender neutral language in the Patient
               Agreement Form as well as corresponding minor changes to the REMS document to be consistent with the
               changes made to the Patient Agreement Form.

                                                                                                                            3

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               The timetable for submission of assessments of the REMS was modified to one year from the date of the
               approval of the modified REMS and annually thereafter. The assessment plan was revised to align with
               the changes to the REMS and capture additional metrics for drug utilization and REMS operations.
               The modified REMS includes ETASU A, B and D, an implementation system, and a timetable for
               submission of assessments of the REMS. Mifepristone will no longer be required to be dispensed only in
               certain healthcare settings, specifically clinics, medical offices, and hospitals (referred to as the “in-
               person dispensing requirement” for brevity) and will be able to be dispensed from certified pharmacies.

               1. Introduction
               This review evaluates the proposed modification to the single, shared system Risk Evaluation and
               Mitigation Strategy (REMS) for mifepristone 200 mg (hereafter referred to as the Mifepristone REMS
               Program) submitted by Danco Laboratories, LLC (Danco) for new drug application (NDA) 020687 and by
               GenBioPro, Inc. (GBP) for abbreviated new drug application (ANDA) 091178.
               The Sponsors initially submitted proposed modification to the Mifepristone REMS Program on June 22,
               2022, in response to the Agency’s REMS Modification Notification letters issued on December 16, 2021,
               to Danco and GBP, requiring the following modification to minimize the burden on the healthcare
               delivery system of complying with the REMS and to ensure that the benefits of the drug outweigh the
               risks:
                     x removal of the requirement that mifepristone be dispensed only in certain healthcare settings,
                        specifically clinics, medical offices, and hospitals (i.e., the “in-person dispensing requirement”)
                     x addition of certification of pharmacies that dispense the drug
               Per the Agency’s December 16, 2021, REMS Modification Notification letters, the proposed REMS was
               required to include the following ETASU to mitigate the risk of serious complications associated with
               mifepristone, including at least the following:
                     •   healthcare providers have particular experience or training, or are specially certified
                     •   pharmacies, practitioners, or health care settings that dispense the drug are specially certified
                     •   the drug is dispensed to patients with evidence or other documentation of safe use conditions
               The REMS was also required to include an implementation system and timetable for submission of
               assessments.


               2. Background
                     2.1. Product Information and REMS Information

               Mifepristone is a progestin antagonist indicated, in a regimen with misoprostol, for the medical
               termination of intrauterine pregnancy (IUP) through 70 days gestation. Mifepristone is available as 200
               mg tablets for oral use.

               Mifeprex (mifepristone) was approved on September 28, 2000, with a restricted distribution
               program under 21 CFR 314.520 (subpart H) b to ensure that the benefits of the drug outweighed

               b
                   NDA approval letter Mifeprex (NDA 020687) dated September 28, 2000.

                                                                                                                              4

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               the risk of serious complications associated with mifepristone when used for medical abortion. c
               Mifeprex was deemed to have in effect an approved REMS under section 505-1 of the Federal Food,
               Drug, and Cosmetic Act with the passage of the Food and Drug Administration Amendments Act of 2007
               (FDAAA), and the Mifeprex REMS was approved on June 8, 2011.

               On March 29, 2016, FDA approved an efficacy supplement for Mifeprex, which included changes in the
               dose of Mifeprex and the dosing regimen for taking Mifeprex and misoprostol, as well as a modification
               of the gestational age up to which Mifeprex has been shown to be safe and effective and a modification
               to the process for follow-up after administration of the drug. FDA also approved modification to the
               Mifeprex REMS that reflected the changes approved in the efficacy supplement.1-5 On April 11, 2019,
               FDA approved ANDA 091178 and the Mifepristone REMS Program.6-7 The Mifepristone REMS Program is
               a single, shared system REMS that includes NDA 020687 and ANDA 091178. The goal of the approved
               Mifepristone REMS Program is to mitigate the risk of serious complications associated with mifepristone
               by:
                    a) Requiring healthcare providers who prescribe mifepristone to be certified in the Mifepristone
                        REMS Program (under ETASU A).
                    b) Ensuring that mifepristone is only dispensed in certain healthcare settings by or under the
                        supervision of a certified prescriber (under ETASU C).
                    c) Informing patients about the risk of serious complications associated with mifepristone (under
                        ETASU D).
               The Mifepristone REMS Program was last modified and approved in 2021 to revise the Patient
               Agreement Form to include gender-neutral language; however, the goal of the Mifepristone REMS
               Program has not changed since the initial approval in 2019.

               Under ETASU A, to become specially certified to prescribe mifepristone, a healthcare provider
               must review the prescribing information, complete and sign the Prescriber Agreement Form,
               and agree to follow the guidelines for use of mifepristone. Under ETASU C, in the Mifepristone REMS
               Program as approved prior to today’s action, mifepristone was required to be
               dispensed to patients only in certain healthcare settings, specifically clinics, medical offices, and
               hospitals, by or under the supervision of a certified prescriber. Under ETASU D, mifepristone
               must be dispensed to patients with evidence or other documentation of safe use conditions
               (i.e., the patient must sign a Patient Agreement Form). The approved Mifepristone REMS Program
               includes an implementation system, and a timetable for assessments (one year from the date of the
               initial approval of the REMS on April 11, 2019, and every three years thereafter).
               In April 2021, FDA communicated its intent to exercise enforcement discretion during the COVID-19
               public health emergency (PHE) regarding the in-person dispensing requirement in the Mifepristone
               REMS Program. Specifically, FDA communicated that provided all other requirements of the
               Mifepristone REMS Program are met, the Agency intended to exercise enforcement discretion with
               respect to the in-person dispensing requirement of the Mifepristone REMS Program, including any in-
               person requirements that may be related to the Patient Agreement Form, during the COVID-19 PHE.
               This determination, which FDA made on April 12, 2021, was effective immediately. We also note that
               from July 13, 2020, to January 12, 2021, per a court order, FDA was enjoined from enforcing the in-
               person dispensing requirement of the Mifepristone REMS Program.8


               c
                Mifepristone is also approved in approximately 80 other countries.
               https://gynuity.org/assets/resources/biblio_ref_lst_mife_en.pdf

                                                                                                                       5

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               Further, and as we also communicated on April 12, 2021, to the extent all of the other requirements of
               the Mifepristone REMS Program are met, the Agency intended to exercise enforcement discretion
               during the COVID-19 PHE with respect to the dispensing of Mifeprex or the approved generic version of
               Mifeprex, Mifepristone Tablets, 200 mg, through the mail, either by or under the supervision of a
               certified prescriber, or through a mail-order pharmacy when such dispensing is done under the
               supervision of a certified prescriber.


                    2.2. Regulatory History

               The following is a summary of the regulatory history relevant to this review:
                    x 04/11/2019: Approval of the Mifepristone REMS Program, a single, shared system REMS that
                       includes NDA 020687 and ANDA 091178.
                    x 04/12/2021: The Agency issued a General Advice letter to both the NDA and ANDA Applicants,
                       explaining that FDA intended to exercise enforcement discretion during the COVID-19 PHE with
                       respect to the in-person dispensing requirement in the Mifepristone REMS Program, including
                       any in-person requirements that may be related to the Patient Agreement Form.
                    x 05/07/2021: The Agency stated that it would be reviewing the elements of the Mifepristone
                       REMS Program in accordance with section 505-1 of the FD&C Act.
                    x 12/16/2021: The Agency completed its review of the Mifepristone REMS Program and
                       determined, among other things, that the REMS must be modified to remove the in-person
                       dispensing requirement and add pharmacy certification.9
                    x 12/16/2021: REMS Modification Notification letters were sent to both Sponsors stating that the
                       approved Mifepristone REMS Program must be modified to minimize the burden on the
                       healthcare system of complying with the REMS and ensure that the benefits of the drug
                       outweigh the risks.
                    x 04/08/2022: Final written responses to a Type A meeting request were provided to Danco, the
                       point of contact for the Mifepristone REMS Program. The questions pertained to the
                       12/16/2021 REMS Modification Notification letter requirements.
                    x 04/13/2022: The Sponsors requested an extension to 6/30/2022, to submit a proposed REMS
                       modification in response to the Agency’s 12/16/2021 REMS Modification Notification letters.
                    x 04/15/2022: The Agency granted the Sponsors’ request for an extension to submit a proposed
                       REMS modification and conveyed that the modification must be submitted no later than
                       06/30/2022.10
                    x 06/22/2022: Danco and GBP submitted a proposed REMS modification to their respective
                       applications in response to the 12/16/2021 REMS Modification Notification letters.
                    x 07/22/2022: An Information Request was sent to the Sponsors requesting clarification of the
                       proposed prescriber and dispenser requirements and additional rationale to support their
                       proposal.
                    x 08/26/2022: Sponsors submitted responses to 07/22/2022 Information Request.
                    x 09/19/2022: Teleconference was held between Agency and Sponsors where the Agency
                       communicated the REMS requirements that are necessary to support the addition of pharmacy


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                        certification. The Agency proposed focusing on the pharmacy settings where a closed system d
                                                                                                                     (b) (4)
                        REMS could be implemented using the existing email and facsimile based system,
                                                                                        , as the best strategy for an
                        approvable modification by the goal date.
                    x 09/22/2022: An Information Request was sent to Sponsors requesting confirmation that the
                       Sponsors agree with the pharmacy distribution approach outlined in the 09/19/2022
                       teleconference so that the Agency’s feedback could be appropriately tailored.
                    x 09/23/2022: The Sponsors confirmed via email that they were willing to pursue
                                                                                                                       (b) (4)


                                , as discussed in the 09/19/2022 teleconference. The Sponsors also requested a
                                                                                                                                  (b) (4)
                       teleconference to discuss the current modification
                                  .
                    x 09/27/2022: Comments from the 09/19/2022 teleconference sent to Sponsors with additional
                       comments and requests regarding what will be necessary for pharmacy certification.
                    x 09/29/2022: An Information request was sent to the Sponsors asking for agenda items,
                       questions, and a request to walk through their proposed system for pharmacy certification,
                       including dispensing through mail-order or specialty pharmacies, at the 10/06/2022 scheduled
                       teleconference.
                    x 10/04/2022: Sponsors emailed that they will focus the 10/06/2022 teleconference on the
                       09/27/2022 Agency comments and their mail order and specialty pharmacy distribution model.
                    x 10/06/2022: Teleconference was held between Agency and Sponsors where Sponsors outlined
                       their proposal for pharmacy certification, including dispensing through mail order and specialty
                       pharmacies, as well as their concerns with certain requirements and general timelines.
                    x 10/19/2022: Danco submitted a REMS amendment to their pending sNDA, which included a
                       REMS document and REMS materials. They did not submit a REMS Supporting Document.
                    x 10/20/2022: GBP submitted a REMS amendment to their pending sANDA, which included a
                       REMS document and REMS materials. They did not submit a REMS Supporting Document.
                    x 10/25/2022: Teleconference was held between Agency and Sponsors to discuss the Patient
                       Agreement Form and timing related to shipping a mifepristone prescription from a certified
                       pharmacy to the patient.
                    x 11/23/2022: An Information Request was sent to Sponsors with comments on their proposed
                       REMS Document, submitted on 10/19/2022 (Danco) and 10/20/2022 (GBP).
                    x 11/30/2022: Danco and GBP submitted REMS amendments, which included the REMS
                       Document, to their respective pending supplemental applications.
                    x 12/01/2022: Teleconference was held between Agency and Sponsors to discuss the REMS
                       Document.
                    x 12/05/2022: An Information Request was sent to Sponsors with comments on their proposed
                       REMS Document submitted on 11/30/2022 and discussed at the teleconference on 12/01/2022,
                       and REMS materials submitted to their applications on 10/19/2022 and 10/20/2022.

               d
                “Closed system” in this case refers to a system where prescribers, pharmacies, and distributors are certified or
               authorized in the REMS and the certification of the stakeholder must be verified prior to distribution or dispensing,
               as per the REMS.

                                                                                                                                        7

                                                                  DEAR252                                2023 SUPP 001118
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                     x 12/07/2022: Teleconference was held between Agency and Sponsors to discuss the REMS
                        Document and REMS materials the Agency sent to the Sponsors on 12/05/22.
                     x 12/08/2022: Danco and GBP submitted REMS amendments, including the REMS Document,
                        Prescriber Agreement Form, Pharmacy Agreement Form, Patient Agreement Form and REMS
                        Supporting Document, to their respective pending applications.
                     x 12/09/2022: An Information Request was sent to Sponsors with the Agency’s comments on the
                        REMS assessment plan.
                     x 12/14/2022: An Information Request was sent to Sponsors with the Agency’s comments on the
                        REMS Document, Prescriber Agreement Form, Pharmacy Agreement Form, and REMS
                        Supporting Document.
                     x 12/15/2022: Two teleconferences were held between Agency and Sponsors to discuss the
                        proposed REMS Document and REMS materials the Agency sent to the Sponsors on 12/14/22.
                     x 12/16/2022: Sponsors submitted a REMS amendment to their respective applications.


               3. Review of Proposed REMS Modification
                (b) (6)
                     has discussed the Sponsors’ proposed modification with the review team, which includes members
                                                                         (b) (6)                                    (b) (6)
               of the                                                            and the
                                                            ; hereafter referred to as the review team. This review
               includes their input and concurrence with the analysis and proposed changes to the Mifepristone REMS
               Program.


                     3.1. REMS Goal

               The Sponsors proposed modification to the goal for the Mifepristone REMS Program to add that
               mifepristone can also be dispensed from certified pharmacies on prescriptions issued by certified
               prescribers. The proposed REMS goal is:
               The goal of the REMS for mifepristone is to mitigate the risk of serious complications associated with
               mifepristone by:
                          D  Requiring healthcare providers who prescribe mifepristone to be certified in the
                              Mifepristone REMS Program.
                          E  Ensuring that mifepristone is only dispensed by or under the supervision of certified
                              prescribers, or by certified pharmacies on prescriptions issued by certified
                              prescribers.
                          F  Informing patients about the risk of serious complications associated with mifepristone.
               Reviewer Comment: We agree with the Sponsors’ proposal.


                     3.2. REMS Document

               The proposed REMS Document is not in the format as outlined in the 2017 Draft Guidance for Industry,
               Format and Content of a REMS Document.11


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               Reviewer Comment: To avoid the misperception that this REMS modification is making major changes
               to the REMS document that go beyond our December 16, 2021, determination that the REMS must be
               modified to remove the in-person dispensing requirement and add pharmacy certification, CDER staff
               and management discussed whether to change the format of the REMS document to that described in
               the 2017 draft guidance.11 After internal discussion, CDER staff and management aligned not to
               transition the REMS document at this time to the format described in the 2017 draft guidance.

                    3.3. REMS Requirements

                        3.3.1. Addition and Removal of ETASU
               The December 16, 2021, REMS Modification Notification letters specified that the ETASU must be
               modified to minimize the burden on the healthcare delivery system of complying with the REMS and to
               ensure the benefits of the drug outweigh the risks by:
                    x Removing the requirement that mifepristone be dispensed only in certain healthcare settings,
                       specifically clinics, medical offices and hospitals (i.e., the “in-person dispensing requirement”),
                       and;
                    x Adding a requirement that pharmacies that dispense the drug be specially certified.
               The Sponsors proposed changes to the REMS as reflected in the subsections below.


                        3.3.2. REMS Participant Requirements and Materials
                            3.3.2.1. Prescriber Requirements
               Consistent with the approved Mifepristone REMS Program prescribers must be specially certified. To
               become specially certified to prescribe mifepristone, healthcare providers who prescribe must
               review the Prescribing Information for mifepristone and complete the Prescriber Agreement Form.
               In signing the Prescriber Agreement Form, prescribers agree they meet certain qualifications and will
               follow the guidelines for use of mifepristone. The guidelines for use include ensuring i) that the
               Patient Agreement Form is reviewed with the patient and the risks of the mifepristone treatment
               regimen are fully explained; ii) that the healthcare provider (HCP) and the patient sign the Patient
               Agreement Form, iii) the patient receives a copy of the Patient Agreement Form and Medication
               Guide, iv) the Patient Agreement Form is placed in the patient’s medical record; v) that any patient
               deaths are reported to the Mifepristone Sponsor that provided the mifepristone, identifying the
               patient by a non-identifiable reference and including the NDC and lot number from the package of
               mifepristone that was dispensed to the patient. The language on the guidelines for use was revised
               from the Mifepristone REMS Program approved in 2021 to clarify that, if the certified prescriber
               supervises the dispensing of mifepristone, they must ensure the guidelines for use of mifepristone
               are followed by those under their supervision. This clarification reflects the ongoing implementation
               of the approved Mifepristone REMS Program. For example, consistent with the approved REMS, the
               Patient Agreement Form does not require the certified prescriber’s signature, but rather the
               signature of the healthcare provider counseling the patient on the risks of mifepristone. Additional
               changes were made globally to provide consistency and clarity of the requirements for certified
               prescribers and healthcare providers who complete tasks under the supervision of certified
               prescribers.
               A certified prescriber may submit the Prescriber Agreement Form to an authorized distributor if the
               certified prescriber wishes to dispense or supervise the dispensing of mifepristone; this is consistent
               with the current requirements of the Mifepristone REMS Program. Additional requirements were


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               added to incorporate mifepristone dispensing by a certified pharmacy. If a healthcare provider
               wishes to prescribe mifepristone by sending a prescription to a certified pharmacy for dispensing,
               the healthcare provider must become certified by providing the pharmacy a Prescriber Agreement
               Form signed by the provider. A certified prescriber must also assess the appropriateness of
               dispensing mifepristone when contacted by a certified pharmacy about patients who will receive
               mifepristone more than four calendar days after the prescription was received by the certified
               pharmacy.
               The NDC and lot number of the dispensed drug will be recorded in the patient’s record when
               mifepristone is dispensed by or under the supervision of a certified prescriber, replacing the
               requirement that serial numbers from each package of mifepristone be recorded in the patient’s
               record. If prescribers become aware of the death of a patient for whom the mifepristone was
               dispensed from a certified pharmacy, the prescribers will be required to obtain the NDC and lot
               number of the package of mifepristone the patient received from the pharmacy.
               The following materials support prescriber requirements:
                   x Prescriber Agreement Form for Danco Laboratories, LLC
                   x Prescriber Agreement Form for GenBioPro, Inc.
                   x Patient Agreement Form
               Reviewer Comment: We agree with the Sponsors’ proposal.
               Although certain activities (review of the Patient Agreement Form with patients and answering any
               questions about treatment, signing, providing a copy to the patient and retaining the Patient Agreement
               Form, providing a copy of the Medication Guide, and ensuring any deaths are reported to the
               Mifepristone Sponsor, recording the NDC and lot number from drug dispensed from the certified
               prescriber or those under their supervision) may be conducted by healthcare providers under the
               supervision of a certified prescriber, the certified prescriber remains responsible for ensuring compliance
               with the requirements of the Mifepristone REMS Program. We agree with the additional language to
               further clarify that the certified prescriber must ensure the guidelines for use of mifepristone are
               followed.
               As proposed, certified prescribers may either, 1) continue to submit the Prescriber Agreement Form to an
               authorized distributor if the certified prescriber is dispensing or supervising the dispensing of the drug
               (as already required in the REMS), or 2) if the drug will be dispensed from a certified pharmacy, submit
               the Prescriber Agreement Form to the certified pharmacy that will dispense the drug (as proposed in the
               modification). Regarding #2, the pharmacy can only fill prescriptions written by a certified prescriber.
               Based on our review of the proposed changes, the review team finds it acceptable for prescribers to
               submit their Prescriber Agreement Form directly to the certified pharmacy. Although certified prescribers
               still have the option of in-person dispensing of the drug, not all prescribers may want to stock
               mifepristone. Typically due to the number of drugs that are available and the expense associated with
               stocking prescription medications intended for outpatient use, most prescribers do not stock many
               medications, if they stock medications at all.
               The proposal to submit a Prescriber Agreement Form to a certified pharmacy provides another option for
               dispensing mifepristone. The burden of providing the Prescriber Agreement Form prior to or when the
               prescription is provided to a certified pharmacy does not create unreasonable burden for prescribers. The
               burden of prescriber certification has been minimized to the extent possible. The Prescriber Agreement
               Form is designed to require minimal time to complete and requires that the prescriber submit it to the
               authorized distributor once, and if the prescriber chooses to use a certified pharmacy to dispense
               mifepristone, they will need to submit the form to the certified pharmacy.

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               There is an additional requirement added for certified pharmacies and certified prescribers in the event
               that a patient will not receive their medication from the certified pharmacy within four calendar days of
               the pharmacy’s receipt of the prescription (for example, if the medication is not in stock). In this
               circumstance, the pharmacy will be required to contact the certified prescriber to make them aware of
               the delay and will be required to obtain from the prescriber confirmation that it is appropriate to
               dispense mifepristone to the patient even though they will receive mifepristone more than four calendar
               days after the prescription was received by the certified pharmacy. This confirmation is intended to
               ensure timeliness of delivery in light of the labeled indication and gestational age. Additional details and
               rationale on the pharmacy requirements to dispense and ship drug in a timely manner are described in
               section 3.3.2.3.
               If a certified prescriber becomes aware of a patient death that occurs subsequent to the use of
               mifepristone dispensed from a pharmacy, the certified prescriber must obtain the NDC and lot number of
               the package of mifepristone the patient received from the pharmacy. This information will be reported to
               the appropriate Mifepristone Sponsor in the same manner prescribers have done previously. This
               additional requirement to obtain the NDC and lot number from the pharmacy is needed to ensure
               consistent adverse event reporting when mifepristone is dispensed from a certified pharmacy.
               Prescriber Agreement Form
               The Sponsors’ proposed changes to the Prescriber Agreement Form aligned with those described above.
               The proposed Prescriber Agreement Form explains the two methods of certification which are: 1)
               submitting the form to the authorized distributor and 2) submitting the form to the dispensing certified
               pharmacy. Further clarification was added that healthcare settings, such as medical offices, clinics, and
               hospitals, where mifepristone will be dispensed by or under the supervision of a certified prescriber in
               the Mifepristone REMS Program do not require pharmacy certification. The statement that certified
               prescribers are responsible for overseeing implementation and compliance with the REMS Program was
               also added. The following statement was added to the form: “I understand that the pharmacy may
               dispense mifepristone made by a different manufacturer than that stated on the Prescriber Agreement
               Form.” The account set up information was removed and replaced with prescriber information response
               fields.
               Reviewer Comment: We agree with the Sponsors’ proposal. Changes in the above prescriber
               requirements were incorporated in the Prescriber Agreement Form.


                           3.3.2.2.     Patient Requirements
               The Patient Agreement Form was updated to clarify that the signatures may be written or electronic, to
               reorganize the risk information about ectopic pregnancy, and to remove the statement that the
               Medication Guide will be taken to an emergency room or provided to a healthcare provider who did not
               prescribe mifepristone so that it is known that the patient had a medical abortion with mifepristone.
               The following materials support patient requirements:
               x Patient Agreement Form
               Reviewer Comment: We agree with the Sponsors’ proposal.
               The Patient Agreement Form continues to be an important part of standardizing the medication
               information on the use of mifepristone that prescribers communicate to their patients, and also provides
               the information in a brief and understandable format for patients. The requirement to counsel the

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               patient, to provide the patient with the Patient Agreement Form, and to have the healthcare provider
               and patient sign the Patient Agreement Form, ensures that each provider, including new providers,
               informs each patient of the appropriate use of mifepristone, risks associated with treatment, and what
               to do if the patient experiences symptoms that may require emergency care. The form is signed by the
               patient and the provider and placed in the patient’s medical record, and a copy is provided to the
               patient, to document the patient’s acknowledgment of receiving the information from the prescriber.
               The Agency agrees that the further clarification that signatures can be written or electronic is
               appropriate for the continued use of the form.
               The reference to ectopic pregnancy has been reorganized in the document since it is not a risk of the
               drug. The signs and symptoms of an untreated ectopic pregnancy that may persist after mifepristone use
               have been clarified in the section of the form that explains the signs and symptoms of potential problems
               that may occur after mifepristone use.
               The review team agrees with removing the patient’s agreement to take the Medication Guide with them
               if they visit an emergency room or HCP who did not give them mifepristone so the emergency room or
               HCP will understand that the patient is having a medical abortion. Although this statement has been in
               the Medication Guide for a number of years, upon further consideration, the Agency has concluded that
               patients seeking emergency medical care are not likely to carry a Medication Guide with them, the
               Medication Guide is readily available online, and information about medical conditions and previous
               treatments can be obtained at the point of care.


                           3.3.2.3.     Pharmacy Requirements
               The Sponsors proposed that certified pharmacies, in addition to certified prescribers and HCPs under the
               supervision of certified prescribers, can dispense mifepristone. In order for a pharmacy to become
               certified, the pharmacy must designate an authorized representative to carry out the certification
               process and oversee implementation and compliance with the Mifepristone REMS Program on behalf of
               the pharmacy. The Authorized Representative must certify that they have read and understood the
               Prescribing Information for mifepristone. Each location of the pharmacy must be able to receive
               Prescriber Agreement Forms by email and fax and be able to ship mifepristone using a shipping service
               that provides tracking information.
               Additionally, each dispensing pharmacy location must put processes and procedures in place to fulfill
               the REMS requirements. Certified pharmacies must verify prescriber certification by confirming they
               have obtained a copy of the prescriber’s signed Prescriber Agreement Form before dispensing. Certified
               pharmacies must dispense mifepristone such that it is received by the patient within four days from the
               day of prescription receipt by the pharmacy. If the pharmacy will not be able to deliver mifepristone to
               the patient within four days of receipt of the prescription, the pharmacy must contact the prescriber to
               confirm the appropriateness of dispensing mifepristone and document the certified prescriber’s
               decision. The pharmacy must also record the NDC and lot number from each package of mifepristone
               dispensed in the patient’s record, track and verify receipt of each shipment of mifepristone, dispense
               mifepristone in its original package, and only distribute, transfer, loan, or sell mifepristone to certified
               prescribers or between locations of the certified pharmacy. The pharmacy must also report any patient
               deaths to the prescriber, including the NDC and lot number from the package dispensed to the patient,
               and remind the prescriber of their obligation under the REMS to report patient deaths to the Sponsor
               that supplied the mifepristone; the certified pharmacy also must notify the Sponsor that supplied the
               mifepristone that the pharmacy submitted a report of a patient death to the prescriber and include the
               name and contact information for the prescriber as well as the NDC and lot number of the dispensed


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               product. Record-keeping requirements of the pharmacy include records of Prescriber Agreement Forms,
               mifepristone dispensing and shipping, and all processes and procedures and compliance with those
               processes and procedures. Pharmacies must train all relevant staff and participate in compliance audits.
               Pharmacies must also maintain the identity of patients and providers as confidential, including limiting
               access to patient and provider identity only to those personnel necessary to dispense mifepristone in
               accordance with the Mifepristone REMS Program requirements, or as necessary for payment and/or
               insurance purposes. The requirement that mifepristone not be dispensed from retail pharmacies was
               removed.
               The following materials support pharmacy requirements:
               x Pharmacy Agreement Form for Danco Laboratories, LLC
               x Pharmacy Agreement Form for GenBioPro, Inc.
               Reviewer Comment: We agree with the Sponsors’ proposal. The Mifepristone REMS Program continues
               to require that mifepristone be prescribed only by certified prescribers. With the removal of the in-person
               dispensing requirement, however, mifepristone can be dispensed from a pharmacy, provided the product
               is prescribed by a certified prescriber and all other requirements of the REMS are met. Given this
               modification to the dispensing requirements in the REMS, it is necessary to add a requirement for
               certification of pharmacies. Adding the pharmacy certification requirement incorporates pharmacies into
               the REMS, ensures that pharmacies are aware of and agree to follow applicable REMS requirements, and
               ensures that mifepristone is only dispensed pursuant to prescriptions that are written by certified
               prescribers. Without pharmacy certification, a pharmacy might dispense product that was not prescribed
               by a certified prescriber. Adding pharmacy certification ensures that the prescriber is certified prior to
               dispensing the product to a patient; certified prescribers, in turn, have agreed to meet all the conditions
               of the REMS, including ensuring that the Patient Agreement Form is completed. In addition, wholesalers
               and distributors can only ship to certified pharmacies. Based on our review and our consideration of the
               distribution model implemented by the Sponsors during the periods when the in-person dispensing
               requirement was not being enforced, as well as REMS assessment data and published literature, we
               conclude that provided all other requirements of the REMS are met, the REMS program, with the
               removal of the in-person dispensing requirement and the addition of a requirement for pharmacy
               certification, will continue to ensure the benefits of mifepristone for medical abortion outweigh the risks
               while minimizing the burden imposed by the REMS on healthcare providers and patients.

               The requirement to maintain confidentiality, including limiting access to patient and provider identity
               only to those personnel necessary for dispensing under the Mifepristone REMS Program or as necessary
               for payment and/or insurance purposes, is included to avoid unduly burdening patient access.

               The Sponsors proposed inclusion of this requirement because of concerns that patients may be reluctant
               or unwilling to seek to obtain mifepristone from pharmacies if they are concerned that confidentiality of
               their medical information could be compromised, potentially exposing them to intimidation, threats, or
               acts of violence by individuals opposed to the use of mifepristone for medical abortion. e Further,
               unwillingness on the part of prescribers to participate in the Mifepristone REMS Program on the basis of

               e
                See e.g., 2020 Violence and Disruption Statistics, National Abortion Federation (Dec. 16, 2021),
               https://prochoice.org/national-abortion-federation-releases-2020-violence-disruption-statistics/;
               Amanda Musa, CNN, Wyoming Authorities Search for a Suspect Believed to Have Set an Abortion Clinic on Fire,
               CNN WIRE (June 10, 2022), https://abc17news.com/news/2022/06/10/wyoming-authorities-search-for-a-suspect-
               believed-to-have-set-an-abortion-clinic-on-fire/.

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               similar confidentiality concerns may unduly burden patient access by limiting the number of prescribers
               who are willing to send prescriptions to certified pharmacies. Addition of this requirement protects
               patient access by requiring the pharmacy to put processes and procedures in place to limit access to
               confidential information to only those individuals who are essential for dispensing mifepristone under the
               Mifepristone REMS Program or as necessary for payment or insurance purposes. Inclusion of this
               requirement for certified pharmacies is consistent with the requirement in the current Mifepristone
               REMS Program, that distributors maintain secure and confidential records.

               Reference to mifepristone not being available in retail pharmacies was removed from the REMS. There is
               no single definition of the term "retail pharmacy” and therefore the scope of the exclusion in the REMS
               was not well defined. Including a restriction in the Mifepristone REMS Program that retail pharmacies
               cannot participate in the REMS may unintentionally prohibit the participation of mail order and specialty
               pharmacies that could, under one or more definitions, also be considered a “retail pharmacy.”

               After reconsideration of the term, “retail,” the Agency concluded that a more appropriate approach was
               to articulate the specific requirements that would be necessary for pharmacy certification. As modified,
               the REMS will not preclude the participation of any pharmacy that meets the certification requirements.
               However, we acknowledge that the provision in the REMS related to pharmacies’ verification of
               prescriber enrollment will likely limit the types of pharmacies that will choose to certify in the REMS. The
               REMS requires that pharmacies dispense mifepristone only after verifying that the prescriber is certified.
               The REMS further requires that pharmacies be able to receive the Prescriber Agreement Forms by email
                                                                                                                   (b) (4)
               and fax.




               The pharmacy certification requirements include that the drug reach patients within four days of the
               certified pharmacy receiving the prescription. During the course of the review, the review team
               concluded that requiring medication delivery to the patient within four days of the pharmacy’s receipt of
               a prescription is acceptable based on the labeled indication and literature,13 while taking into account
               practical shipping considerations (e.g., shipping over weekends and holidays). For patients who will not
               receive the drug within four calendar days of the date the pharmacy receives the prescription, the
               pharmacy must notify the certified prescriber and the certified prescriber must determine if it is still
               appropriate for the certified pharmacy to dispense the drug. The pharmacy must document the certified
               prescriber’s decision. A prescriber’s confirmation that it is appropriate to dispense mifepristone when it
               will not be delivered to the patient within the allotted four days is intended to ensure timeliness of
               delivery in light of the labeled indication and gestational age.




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               Pharmacy Agreement Form
               The proposed Pharmacy Agreement Form is a new form and is the means by which a pharmacy becomes
               certified to dispense mifepristone. The form, which is submitted by an authorized representative on
               behalf of a pharmacy seeking certification, outlines all requirements proposed above. Clarification is
               included in the form that healthcare settings, such as medical offices, clinics, and hospitals, where
               mifepristone will be dispensed by or under the supervision of a certified prescriber in the Mifepristone
               REMS Program, do not require pharmacy certification. Any new authorized representative must
               complete and submit the Pharmacy Agreement Form. Spaces for specific authorized representative
               information and pharmacy name and address are included. The completed form can be submitted by
               email or fax to the authorized distributor.
               Reviewer Comment: We agree with the Sponsors’ proposal. The Pharmacy Agreement Form aligns with
               the pharmacy requirements discussed above.


                           3.3.2.4.     Distributor Requirements
               The Sponsors proposed that the distributors’ processes and procedures in the approved Mifepristone
               REMS Program be updated to ensure that mifepristone is only shipped to clinics, medical offices and
               hospitals identified by certified prescribers and to certified pharmacies. Distributors will continue to
               complete the certification process for any Prescriber Agreement Forms they receive and also will
               complete the certification process for pharmacies upon receipt of a Pharmacy Agreement Form,
               including notifying pharmacies when they become certified. FDA was removed as a potential auditor for
               distributors.

               Reviewer Comment: We agree with the Sponsors’ proposal. At this time, FDA does not audit distributors
               directly, it carries out inspections of Sponsors to monitor industry compliance with REMS requirements.

                        3.3.3. REMS Sponsor Requirements
                            3.3.3.1. Sponsor Requirements to Support Prescriber Certification
               The Sponsors proposed additions to this section of the REMS document, including that Sponsors will
               ensure prescribers can complete the certification process by email or fax to an authorized distributor
               and/or certified pharmacy, and that Sponsors will ensure annually with each certified prescriber that
               their locations for receiving mifepristone are up to date. Sponsors will also ensure prescribers previously
               certified in the Mifepristone REMS Program complete the new Prescriber Agreement Form: (1) within
               120 days after approval of this modification, for those previously certified prescribers submitting
               prescriptions to certified pharmacies, or (2) within one year after approval of this modification, if
               previously certified and ordering from an authorized distributor.
               Reviewer Comment: We agree with the Sponsors’ proposal. The requirement to confirm that the
               locations associated with the certified prescriber are current is parallel to the pharmacy requirement that
               the authorized representative’s contact information is up to date. In determining the pharmacy
               requirement, which is necessary to ensure program compliance and is consistent with other approved
               REMS that include pharmacy certification, the Agency also concluded that a parallel requirement for
               certified prescribers should be added.
               With respect to recertification, it is important that active certified prescribers are informed of and agree
               to new REMS requirements to ensure the continued safe use of mifepristone. There is minimal burden to
               recertification and the timelines allow sufficient time to accomplish recertification.


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                           3.3.3.2.    Sponsor Requirements to Support Pharmacy Certification
               The Sponsors proposed the addition of Sponsor requirements to support pharmacy certification and
               compliance, including ensuring that pharmacies are certified in accordance with the requirements in the
               Mifepristone REMS Program, de-certifying pharmacies that do not maintain compliance with the
               certification requirements, and ensuring that pharmacy certification can be completed by email and fax
               to an authorized distributor. Annually, the authorized representative’s name and contact information
               will be verified to ensure it corresponds to that of the current designated authorized representative for
               the certified pharmacy, and if different, a new authorized representative must certify for the pharmacy.
               All reference to the requirement in the 2021 Mifepristone REMS Program that mifepristone to be
               dispensed to patients only in clinics, medical offices and hospitals by or under the supervision of a
               certified prescriber, and not from retail pharmacies, was removed.
               Reviewer Comment: We agree with the Sponsors’ proposal. Changes are in line with the REMS
               Modification Notification letters sent December 16, 2021. Refer to section 3.3.2.3 Reviewer Comments
               on Pharmacy Certification for rationale for removing the statement that mifepristone is not distributed
               to or dispensed from retail pharmacies. Ensuring that the authorized representative’s contact
               information is up to date is necessary to ensure that there is always a point person who is responsible for
               implementing the Mifepristone REMS Program in their pharmacy and can address any changes that are
               needed if pharmacy audits identify a need for improvement.


                           3.3.3.3.    Sponsor Implementation Requirements
               The Sponsors proposed that they will ensure that adequate records are maintained to demonstrate that
               REMS requirements have been met (including but not limited to records of mifepristone distribution,
               certification of prescribers and pharmacies, and audits of pharmacies and distributors), and that the
               records must be readily available for FDA inspections. The distributor audit requirement was updated to
               audit new distributors within 90 calendar days of becoming authorized and annually thereafter (a one-
               time audit requirement was previously required). The Sponsors also proposed a pharmacy audit
               requirement whereby certified pharmacies that order mifepristone are audited within 180 calendar days
               after the pharmacy places its first order of mifepristone, and annually thereafter for pharmacies that
               ordered in the previous 12 months.
               Reviewer’s Comment: We agree with the Sponsors’ proposal.
               The number of pharmacies that will certify in the REMS is uncertain; therefore, to obtain a reliable
               sample size for the audits, the Sponsors will need to audit all certified pharmacies within 180 calendar
               days after the pharmacy places its first order and annually thereafter for pharmacies that have ordered
               mifepristone in the previous 12 months. Audits performed at 180 days should allow time for
               establishment and implementation of audit protocols and for the Sponsors to perform the audits. With
               the addition of more stakeholders (i.e., certified pharmacies), it is also necessary to audit distributors
               annually to ensure the REMS requirements are followed. The requirement to conduct audits annually
               may be revisited if assessment data shows that the REMS is meeting its goal.


                    3.4. REMS Assessment Timetable

               The Sponsors proposed that assessments must be submitted one year from the approval of the modified
               REMS and annually thereafter, instead of every three years as per the previous requirement.


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               Reviewer’s Comment: We agree with the Sponsors’ proposal. With the addition of new pharmacy
               stakeholders and removal of the in-person dispensing requirement, more frequent assessment after this
               REMS modification is needed to ensure REMS processes are being followed and that the REMS is meeting
               its goal. The requirement can be revisited at a later date if assessment data shows that the modified
               REMS is meeting its goal. The NDA applicant is required to submit assessment reports as outlined in the
               timetable for submission of assessments. These reports address requirements for the Mifepristone REMS
               Program. The Sponsors have indicated that some data will be submitted as separate reports when
               Sponsor-specific information is needed to address the assessment metrics.


               4. Supporting Document
               The Sponsors’ REMS Supporting Document was substantially updated to include information regarding
               the proposed modification under review. Background and rationale from the 12/16/21 REMS
               Modification Notification letters was included. An updated description of the REMS goal and the ETASU
               was also included to align with the changes in the REMS Document and provide further clarification.
               Further explanation of prescriber requirements and rationale for various pharmacy requirements was
               also included.
               Regarding implementation of the modified REMS, the Sponsors additionally proposed that pharmacies
               that received and shipped mifepristone during the Agency’s exercise of enforcement discretion during
               the COVID-19 PHE, that wish to continue to dispense mifepristone, will be required to comply with the
               pharmacy certification requirements within 120 days of approval of the modified REMS.
               The communication strategy to alert current and future prescriber and pharmacy stakeholders was
               outlined. Distributors, certified prescribers that purchased mifepristone in the last twelve months, and
               various professional organizations will receive information about REMS changes within 120 days of
               modification approval. The Sponsors proposed to list pharmacies that agree to be publicly disclosed on
               their respective product websites but disclosure of this nature is not a requirement of the REMS. The
               Sponsors indicated that they anticipate certified pharmacies that do not agree to public disclosure will
               communicate with the certified prescribers they wish to work with.
               The REMS Assessment Plan is discussed in the following section.
               Reviewer’s Comment: We agree with the Sponsors’ proposal. The Supporting Document addresses all
               REMS requirements and provides sufficient clarification of implementation and maintenance of the
               REMS. The implementation requirements for pharmacies currently dispensing mifepristone under FDA’s
               exercise of enforcement discretion during the COVID-19 PHE provide for continued use of these
               pharmacies without breaks in service. The communication strategy is also adequate given the efforts to
               reach both established certified prescribers and potentially new prescribers through professional
               organizations.
               The Sponsors’ plan to communicate which pharmacies are certified to certified prescribers is adequate.
               For the reasons listed in section 3.3.2.3, confidentiality is a concern for REMS stakeholders. Disclosure of
               pharmacy certification status should be a choice made by individual certified pharmacies. The Sponsors
               have indicated that there will be some certified pharmacies that have agreed to publicly disclose their
               status, making this information available to certified prescribers who wish to use a pharmacy to dispense
               mifepristone.

               5. REMS Assessment Plan

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               The REMS Assessment Plan is summarized in the REMS Supporting Document and will be included in the
               REMS Modification Approval letter.
               The REMS Assessment Plan was revised to align with the modified REMS goal and objectives.
               The goal of the Mifepristone REMS Program is to mitigate the risk of serious complications associated
               with mifepristone by:
                    a. Requiring healthcare providers who prescribe mifepristone to be certified in the
                        Mifepristone REMS Program.
                            x This objective will be assessed using REMS Certification Statistics and REMS
                               Compliance metrics.
                    b. Ensuring that mifepristone is only dispensed by or under the supervision of certified
                        prescribers, or by certified pharmacies on prescriptions issued by certified
                        prescribers.
                            x This objective will be assessed using REMS Certification Statistics and REMS
                               Compliance metrics.
                    c. Informing patients about the risk of serious complications associated with mifepristone.
                            x This objective will be indirectly assessed using REMS Certification Statistics to avoid
                                compromising patient and prescriber confidentiality. As part of the certification
                                process, healthcare providers agree to:
                                x Ensure that the Patient Agreement Form is reviewed with the patient and the risks
                                    of the mifepristone treatment regimen are fully explained
                                x Ensure that the Patient Agreement Form is signed by the healthcare provider and
                                    the patient
                                x Ensure that the patient is provided with a copy of the Patient Agreement Form and
                                    the Medication Guide
                                x Ensure that the signed Patient Agreement Form is placed in the patient’s medical
                                    record

               The following revisions were made from the Mifepristone REMS Assessment Plan in the April 11, 2019,
               Supplement Approval letter:

               The Assessment Plan Categories of 1) Program Implementation and Operations and 2) Overall
               Assessment of REMS Effectiveness were added.

               REMS Certification Statistics metrics were added to capture certification numbers for program
               stakeholders to assess the first objective of requiring healthcare providers who prescribe mifepristone
               to be certified and the second objective of ensuring that mifepristone is only dispensed by or under the
               supervision of certified prescribers, or by certified pharmacies on prescriptions issued by certified
               prescribers. The total number of certified prescribers who certified with the wholesaler/distributor and
               the total number of certified prescribers who submitted a Prescriber Agreement Form to certified
               pharmacies were added to capture the additional method of prescriber certification. The number of
               newly certified prescribers and the number of active certified prescribers (i.e., those who ordered
               mifepristone or submitted a prescription during the reporting period) were added. Metrics were also
               added to capture the total number of certified, newly certified, and active certified pharmacies as well
               as the total number of authorized, newly authorized, and active authorized wholesaler/distributors.


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               Drug Utilization Data metrics were added to obtain information on shipment and dispensing of
               mifepristone. Metrics were added to capture the total number of tablets shipped by the
               wholesaler/distributor and the number of prescriptions dispensed.

               REMS Compliance Data metrics were added to assess the first objective of requiring healthcare
               providers who prescribe mifepristone to be certified and the second objective of ensuring that
               mifepristone is only dispensed by or under the supervision of certified prescribers, or by certified
               pharmacies on prescriptions issued by certified prescribers. These metrics capture program deviations
               and evaluate overall if the REMS is operating as intended. Metrics include certified pharmacies and
               wholesaler/distributor audit results and a summary of instances of non-compliance and actions taken to
               address non-compliance. Prescriber compliance metrics were added to assess if prescribers are
               decertified along with reasons why. Pharmacy compliance metrics were added to assess if prescriptions
               were dispensed that were written by non-certified prescribers or if mifepristone tablets were dispensed
               by non-certified pharmacies as well as the number of pharmacies that were decertified along with
               reasons why. Wholesaler/distributor metrics were added to assess if shipments were sent to non-
               certified prescribers and non-certified pharmacies and corrective actions taken. The audit plan and non-
               compliance plans will be submitted for FDA review within 60 days after the REMS modification approval.

               The Sponsors were asked to develop an assessment of prescription delivery timelines to determine what
               percentage of prescriptions were delivered on time (within four calendar days) and what percentage
               were delivered late (more than four calendar days) along with the length of the delay and reasons for
               the delay (e.g., mifepristone is out of stock shipment issues, other). The protocol for this assessment
               will be submitted for FDA review within 60 days after the REMS modification approval.

               The revised REMS Assessment Plan is in the Appendix.
               Reviewer’s Comment: We agree with the Sponsors’ proposed REMS Assessment Plan.

               6. Discussion
               The Sponsors submitted changes to the REMS to remove the requirement that mifepristone be
               dispensed only in certain healthcare settings (i.e., the “in-person dispensing requirement”) and to add
               that certified pharmacies can dispense the drug in order to minimize the burden on the healthcare
               delivery system of complying with the REMS and to ensure that the benefits of the drug outweigh the
               risks. The REMS goal was updated to this effect. Changes were required for prescriber requirements and
               Sponsors to support the change in ETASU, and new pharmacy requirements were introduced.
               The qualifications to become a certified prescriber have not changed as a result of the modification to
               the Mifepristone REMS Program; however, clarification has been provided for certain prescriber
               requirements and new prescriber requirements have been added to support pharmacy dispensing.
               Although certain responsibilities may be conducted by staff under the supervision of a certified
               prescriber, the certified prescriber remains responsible for ensuring compliance with the requirements
               of the Mifepristone REMS Program. In order to clarify this, revisions were made throughout the
               prescriber requirements and REMS materials to reflect that the certified prescriber is responsible for
               ensuring that the prescriber requirements are met. Additionally, the review team finds it acceptable that
               certified prescribers who wish to use a certified pharmacy to dispense mifepristone submit their
                                                                                                                    (b) (4)
               Prescriber Agreement Form to the dispensing certified pharmacy
                                                                                         . The burden to prescriber and

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               pharmacy stakeholders of having certified prescribers submit the form directly to the certified pharmacy
               that will be dispensing the mifepristone is not unreasonable and has been minimized to the extent
               possible; it does not impact the safe use of the product. Prescriber requirements necessitated by the
               addition of some pharmacy requirements were added as well and include prescriber responsibilities in
               deciding whether or not mifepristone should be dispensed if the patient will receive the drug from the
               certified pharmacy more than four days after the pharmacy receives the prescription, and prescriber
               adverse event reporting requirements if a prescriber becomes aware of a patient death and the
               mifepristone was dispensed from a certified pharmacy. The addition of the latter requirements will
               ensure consistent adverse event data is relayed to the relevant Mifepristone Sponsor.
               Changes were made to the Patient Agreement Form. Changes to the form were added to improve clarity
               of the safety messages. After further consideration, the patient’s agreement to take the Medication
               Guide with them if they visit an emergency room or HCP who did not give them mifepristone so the
               emergency room or HCP will understand that the patient is having a medical abortion has been removed
               from the Patient Agreement Form. The Medication Guide is not typically carried by patients and this
               information can be obtained at the point of care. Changes align with updates to labeling submitted with
               this modification.13, 14
               The Agency and Sponsors agreed during this modification to focus on certification of pharmacies that
               can receive Prescriber Agreement Forms via email or fax to complete the prescriber certification process.
               The proposed pharmacy certification requirements also support timely dispensing of mifepristone. If the
               mifepristone is shipped to the patient, the REMS requires that it must be delivered within four calendar
               days from the receipt of the prescription by the pharmacy; if the patient will receive the mifepristone
               more than four calendar days from pharmacy receipt of prescription, the REMS requires the pharmacist
               to confirm with the certified prescriber that it is still appropriate to dispense the drug to the patient.
               This allows prescribers to make treatment decisions based on individual patient situations. A
               requirement to maintain confidentiality was also added to avoid unduly burdening patient access since
               patients and prescribers may not utilize pharmacy dispensing if they believe their personal information
               is at risk. Ultimately, the addition of pharmacy distribution with the proposed requirements will offer
               another option for dispensing mifepristone, alleviating burden associated with the REMS.
                                                                                                                  (b) (4)




                        .
               The Agency reviewed the REMS in 2021, and per the review team’s conclusions, a REMS modification
               was necessary to remove the in-person dispensing requirement and add a requirement that pharmacies
               that dispense the drug be specially certified; the review team concluded that these changes could occur
               without compromising patient safety. There have been no new safety concerns identified relevant to the
               REMS ETASUs that the applicants proposed modifying in their June 22, 2022 submissions since the REMS
               Modification Notification letters dated 12/16/2021. It is still the position of the review team that the
               proposed modification is acceptable.
               Because the modification proposed include changes to the ETASU of the Mifepristone REMS Program,
               the assessment plan and timetable of assessments were changed. The assessment plan will capture
               information on pharmacy dispensing and provide valuable insight as to whether the program is
               operating as intended Annual assessments are consistent with other approved REMS modifications for
               major modifications necessitating extensive assessment plan changes.

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               As part of the REMS Assessment Plan, the REMS goal and objectives are assessed using Program
               Implementation and Operations Metrics, including REMS Certification Statistics and REMS Compliance
               Data. The metrics will provide information on the number of certified prescribers, certified pharmacies,
               and authorized wholesalers/distributors as well as if mifepristone is dispensed by non-certified
               prescribers or pharmacies. The Sponsors will use the indirect measure of healthcare provider
               certification to address the objective of informing patients of the risk of serious complications of
               mifepristone, due to concerns with prescriber and patient confidentiality. Although we typically assess
               whether patients are informed of the risks identified in a REMS through patient surveys and/or focus
               groups, we agree that the Sponsors’ continued use of the indirect measure of healthcare provider
               certification adequately addresses the Mifepristone REMS Program objective of informing patients. In
               addition, because of these prescriber and patient confidentiality concerns, we believe it is unlikely that
               the Agency would be able to use the typical methods of assessment of patient knowledge and
               understanding of the risks and safe use of mifepristone.


               7. Conclusions and Recommendations
               The review team finds the proposed REMS modification for the Mifepristone REMS Program, as
               submitted on June 22, 2022, and amended on October 19, 2022 (Danco) and October 20, 2022 (GBP),
               November 30, 2022 (both), December 9 (both), and December 16 (both) acceptable. The REMS
               materials were amended to be consistent with the revised REMS document. The review team
               recommends approval of the Mifepristone REMS Program, received on June 22, 2022, and last amended
               on December 16, 2022, and appended to this review.


               8. References
                                                   (b) (6)
               1.                          Clinical Review of SE-2 Efficacy Supplement for mifepristone, NDA
               020687. March 29, 2016. DARRTS Reference ID: 3909590.
                                    (b) (6)
               2.                 Summary Review for Regulatory Action for mifepristone, NDA 020687. March 29,
               2016. DARRTS Reference ID: 3909594.
                                     (b) (6)
               3.                              REMS Review for mifepristone, NDA 020687. March 29, 2016. DARRTS Reference
               ID: 3909588.
                                     (b) (6)
               4.                              REMS Review for mifepristone, NDA 020687. March 29, 2016. DARRTS Reference
               ID: 3909587.
               5.    Approval Letter for SE-2 Efficacy Supplement for mifepristone, NDA 020687. March 29, 2016.
               DARRTS Reference ID: 3909592.
                          (b) (6)
               6.                   REMS Review for mifepristone, NDA 020687. February 22, 2018. DARRTS Reference ID:
               4224674.
               7.    Approval Letter for SE-20 REMS Supplement for mifepristone, NDA 020687. March 29, 2016.
               DARRTS Reference ID: 4418041.
               8.      Am. Coll. of Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183, 233 (D. Md. July 13,
               2020), order clarified, 2020 WL 8167535 (D. Md. Aug. 19, 2020) (preliminarily enjoining FDA from
               enforcing the in-person dispensing requirement and any other in-person requirements of the



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               Mifepristone SSS REMS); FDA v. Am. Coll. of Obstetricians & Gynecologists, 141 S. Ct. 578 (Jan. 12, 2021)
               (staying the preliminary injunction imposed by the District Court).
                                           (b) (6)
               9.                           REMS Modification Rationale Review for mifepristone, NDA 020687.
               December 16, 2021. DARRTS Reference ID: 4905882.
               10.    General Advice Letter for the single, shared system Risk Evaluation and Mitigation Strategy
               (REMS) for mifepristone, NDA 020687, April 15, 2022. DARRTS ID 4969358.
               11.     Format and Content of a REMS Document Guidance for Industry
               https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM18
               4128.pdf. Accessed on December 18, 2022.
               12.     Grossman D, Raifman S, Morris N, et.al. Mail-order pharmacy dispensing of mifepristone for
               medication abortion after in-person clinical assessment. Contraception 2022; 107:36-41.
               https://doi.org/10.1016/j.contraception.2021.09.008. This article was included in the literature review
               for the December 16, 2021 REMS Modification Rationale Review, while the article was still in press.


               9. Appendices
               REMS Document

               Prescriber Agreement Form for Danco Laboratories, LLC

               Prescriber Agreement Form for GenBioPro, Inc.

               Patient Agreement Form

               Pharmacy Agreement Form for Danco Laboratories, LLC

               Pharmacy Agreement Form for GenBioPro, Inc.

               Mifepristone REMS Assessment Plan




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                                      RISK EVALUATION AND MITIGATION STRATEGY (REMS)
                                       SINGLE SHARED SYSTEM FOR MIFEPRISTONE 200 MG

               I.     GOAL
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               II. REMS ELEMENTS
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                            YLL7KHFHUWLILHGSUHVFULEHUZKRGLVSHQVHVPLIHSULVWRQHRUZKRVXSHUYLVHVWKHGLVSHQVLQJRI
                                PLIHSULVWRQHPXVW
                                 3URYLGHDQDXWKRUL]HGGLVWULEXWRUZLWKDVLJQHGPrescriber Agreement Form
                                 (QVXUHWKDWWKH1'&DQGORWQXPEHUIURPHDFKSDFNDJHRIPLIHSULVWRQHGLVSHQVHGDUH
                                   UHFRUGHGLQWKHSDWLHQW¶VUHFRUG
                                 (QVXUHWKDWKHDOWKFDUHSURYLGHUVXQGHUWKHLUVXSHUYLVLRQIROORZJXLGHOLQHVLY
                        F 0LIHSULVWRQH6SRQVRUV PXVW
                            L (QVXUHWKDWKHDOWKFDUHSURYLGHUVZKRSUHVFULEHWKHLUPLIHSULVWRQHDUHVSHFLDOO\FHUWLILHGLQ
                                DFFRUGDQFHZLWKWKHUHTXLUHPHQWVGHVFULEHGDERYHDQGGHFHUWLI\KHDOWKFDUHSURYLGHUVZKR
                                GRQRWPDLQWDLQFRPSOLDQFHZLWKFHUWLILFDWLRQUHTXLUHPHQWV
                            LL (QVXUHSUHVFULEHUVSUHYLRXVO\FHUWLILHGLQWKH0LIHSULVWRQH5(063URJUDPFRPSOHWHWKH
                                QHZPrescriber Agreement Form
                                  :LWKLQGD\VDIWHUDSSURYDORIWKLVPRGLILFDWLRQIRUWKRVHSUHYLRXVO\FHUWLILHG
                                    SUHVFULEHUVVXEPLWWLQJSUHVFULSWLRQVWRFHUWLILHGSKDUPDFLHV
                                  :LWKLQRQH\HDUDIWHUDSSURYDORIWKLVPRGLILFDWLRQLISUHYLRXVO\FHUWLILHGDQGRUGHULQJ
                                    IURPDQDXWKRUL]HGGLVWULEXWRU
                            LLL(QVXUHWKDWKHDOWKFDUHSURYLGHUVFDQFRPSOHWHWKHFHUWLILFDWLRQSURFHVVE\HPDLORUID[WRDQ
                                DXWKRUL]HGGLVWULEXWRUDQGRUFHUWLILHGSKDUPDF\
                            LY 3URYLGHWKH3UHVFULELQJ,QIRUPDWLRQDQGWKHLUPrescriber Agreement Form WRKHDOWKFDUH
                                SURYLGHUVZKRLQTXLUHDERXWKRZWREHFRPHFHUWLILHG
                            Y (QVXUHDQQXDOO\ZLWKHDFKFHUWLILHGSUHVFULEHUWKDWWKHLUORFDWLRQVIRUUHFHLYLQJPLIHSULVWRQH
                                DUHXSWRGDWH
                            7KHIROORZLQJPDWHULDOVDUHSDUWRIWKH0LIHSULVWRQH5(063URJUDP
                              xPrescriber Agreement Form for Danco Laboratories, LLC
                              xPrescriber Agreement Form for GenBioPro, Inc.
                              xPatient Agreement Form



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                3KDUPDFLHVWKDWGLVSHQVHPLIHSULVWRQHPXVWEHVSHFLDOO\FHUWLILHG
                        D 7REHFRPHVSHFLDOO\FHUWLILHGWRGLVSHQVHPLIHSULVWRQHSKDUPDFLHVPXVW
                            L %HDEOHWRUHFHLYHPrescriber Agreement FormsE\HPDLODQGID[
                            LL %HDEOHWRVKLSPLIHSULVWRQHXVLQJDVKLSSLQJVHUYLFHWKDWSURYLGHVWUDFNLQJLQIRUPDWLRQ
                            LLL'HVLJQDWHDQDXWKRUL]HGUHSUHVHQWDWLYHWRFDUU\RXWWKHFHUWLILFDWLRQSURFHVVRQEHKDOIRIWKH
                                SKDUPDF\.
                            LY (QVXUHWKHDXWKRUL]HGUHSUHVHQWDWLYHRYHUVHHVLPSOHPHQWDWLRQDQGFRPSOLDQFHZLWKWKH
                                0LIHSULVWRQH5(063URJUDPE\GRLQJWKHIROORZLQJ
                                  5HYLHZWKH3UHVFULELQJ,QIRUPDWLRQIRUPLIHSULVWRQH
                                  &RPSOHWHDPharmacy Agreement Form%\VLJQLQJDPharmacy Agreement FormWKH
                                    DXWKRUL]HGUHSUHVHQWDWLYHDJUHHVWKDWWKHSKDUPDF\ZLOOSXWSURFHVVHVDQGSURFHGXUHVLQ
                                    SODFHWRHQVXUHWKHIROORZLQJUHTXLUHPHQWVDUHFRPSOHWHG
                                   D  9HULI\WKDWWKHSUHVFULEHULVFHUWLILHGE\FRQILUPLQJWKHLUFRPSOHWHGPrescriber
                                       Agreement FormZDVUHFHLYHGZLWKWKHSUHVFULSWLRQRULVRQILOHZLWKWKHSKDUPDF\
                                   E  'LVSHQVHPLIHSULVWRQHVXFKWKDWLWLVGHOLYHUHGWRWKHSDWLHQWZLWKLQFDOHQGDUGD\VRI
                                       WKHGDWHWKHSKDUPDF\UHFHLYHVWKHSUHVFULSWLRQH[FHSWDVSURYLGHGLQF EHORZ
                                   F  &RQILUPZLWKWKHSUHVFULEHUWKHDSSURSULDWHQHVVRIGLVSHQVLQJPLIHSULVWRQHIRU
                                       SDWLHQWVZKRZLOOUHFHLYHWKHGUXJPRUHWKDQFDOHQGDUGD\VDIWHUWKHGDWHWKH
                                       SKDUPDF\UHFHLYHVWKHSUHVFULSWLRQDQGGRFXPHQWWKHSUHVFULEHU¶VGHFLVLRQ
                                   G  5HFRUGLQWKHSDWLHQW¶VUHFRUGWKH1'&DQGORWQXPEHUIURPHDFKSDFNDJHRI
                                       PLIHSULVWRQHGLVSHQVHG
                                   H  7UDFNDQGYHULI\UHFHLSWRIHDFKVKLSPHQWRIPLIHSULVWRQH
                                   I  'LVSHQVHPLIHSULVWRQHLQLWVSDFNDJHDVVXSSOLHGE\WKH0LIHSULVWRQH6SRQVRU
                                   J  5HSRUWDQ\SDWLHQWGHDWKVWRWKHSUHVFULEHULQFOXGLQJWKH1'&DQGORWQXPEHUIURP
                                       WKHSDFNDJHRIPLIHSULVWRQHGLVSHQVHGWRWKHSDWLHQWDQGUHPLQGWKHSUHVFULEHURI
                                       WKHLUREOLJDWLRQWRUHSRUWWKHGHDWKVWRWKH0LIHSULVWRQH6SRQVRUWKDWSURYLGHGWKH
                                       PLIHSULVWRQH1RWLI\WKH0LIHSULVWRQH6SRQVRUWKDWSURYLGHGWKHGLVSHQVHG
                                       PLIHSULVWRQHWKDWWKHSKDUPDF\VXEPLWWHGDUHSRUWRIGHDWKWRWKHSUHVFULEHU
                                       LQFOXGLQJWKHQDPHDQGFRQWDFWLQIRUPDWLRQIRUWKHSUHVFULEHUDQGWKH1'&DQGORW
                                       QXPEHURIWKHGLVSHQVHGSURGXFW
                                   K  1RWGLVWULEXWHWUDQVIHUORDQRUVHOOPLIHSULVWRQHH[FHSWWRFHUWLILHGSUHVFULEHUVRU
                                       RWKHUORFDWLRQVRIWKHSKDUPDF\
                                   L  0DLQWDLQUHFRUGVRIPrescriber Agreement Forms
                                   M  0DLQWDLQUHFRUGVRIGLVSHQVLQJDQGVKLSSLQJ
                                   N  0DLQWDLQUHFRUGVRIDOOSURFHVVHVDQGSURFHGXUHVLQFOXGLQJFRPSOLDQFHZLWKWKRVH
                                       SURFHVVHVDQGSURFHGXUHV
                                   O  0DLQWDLQWKHLGHQWLW\RIWKHSDWLHQWDQGSUHVFULEHUDVFRQILGHQWLDOLQFOXGLQJOLPLWLQJ
                                       DFFHVVWRSDWLHQWDQGSUHVFULEHULGHQWLW\RQO\WRWKRVHSHUVRQQHOQHFHVVDU\WRGLVSHQVH
                                       PLIHSULVWRQHLQDFFRUGDQFHZLWKWKH0LIHSULVWRQH5(063URJUDPUHTXLUHPHQWVRUDV
                                       QHFHVVDU\IRUSD\PHQWDQGRULQVXUDQFHSXUSRVHV
                                   P  7UDLQDOOUHOHYDQWVWDIIRQWKH0LIHSULVWRQH5(063URJUDPUHTXLUHPHQWV




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                                   Q  &RPSO\ZLWKDXGLWVFDUULHGRXWE\WKH0LIHSULVWRQH6SRQVRUVRUDWKLUGSDUW\DFWLQJ
                                       RQEHKDOIRIWKH0LIHSULVWRQH6SRQVRUVWRHQVXUHWKDWDOOSURFHVVHVDQGSURFHGXUHV
                                       DUHLQSODFHDQGDUHEHLQJIROORZHG
                        E 0LIHSULVWRQH6SRQVRUVPXVW
                            L (QVXUHWKDWSKDUPDFLHVDUHVSHFLDOO\FHUWLILHGLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVGHVFULEHG
                                 DERYHDQGGHFHUWLI\SKDUPDFLHVWKDWGRQRWPDLQWDLQFRPSOLDQFHZLWKFHUWLILFDWLRQ
                                 UHTXLUHPHQWV
                            LL (QVXUHWKDWSKDUPDFLHVFDQFRPSOHWHWKHFHUWLILFDWLRQSURFHVVE\HPDLODQGID[WRDQ
                                 DXWKRUL]HGGLVWULEXWRU
                            L 9HULI\DQQXDOO\WKDWWKHQDPHDQGFRQWDFWLQIRUPDWLRQIRUWKHSKDUPDF\¶VDXWKRUL]HG
                                UHSUHVHQWDWLYHFRUUHVSRQGVWRWKDWRIWKHFXUUHQWGHVLJQDWHGDXWKRUL]HGUHSUHVHQWDWLYHIRUWKH
                                FHUWLILHGSKDUPDF\DQGLIGLIIHUHQWUHTXLUHWKHSKDUPDF\WRUHFHUWLI\ZLWKWKHQHZ
                                DXWKRUL]HGUHSUHVHQWDWLYH
                            7KHIROORZLQJPDWHULDOVDUHSDUWRIWKH0LIHSULVWRQH5(063URJUDP
                              xPharmacy Agreement Form for Danco Laboratories, LLC
                              xPharmacy Agreement Form for GenBioPro, Inc.
                0LIHSULVWRQHPXVWEHGLVSHQVHGWRSDWLHQWVZLWKHYLGHQFHRURWKHUGRFXPHQWDWLRQRIVDIHXVH
                   FRQGLWLRQVDVHQVXUHGE\WKHFHUWLILHGSUHVFULEHULQVLJQLQJWKHPrescriber Agreement Form
                        D 7KHSDWLHQWPXVWVLJQDPatient Agreement Form LQGLFDWLQJWKDWWKHSDWLHQWKDV
                            L 5HFHLYHGUHDGDQGEHHQSURYLGHGDFRS\RIWKHPatient Agreement Form
                            LL 5HFHLYHGFRXQVHOLQJIURPWKHKHDOWKFDUHSURYLGHUUHJDUGLQJWKHULVNRIVHULRXVFRPSOLFDWLRQV
                                 DVVRFLDWHGZLWKPLIHSULVWRQH

               B. Implementation System
                0LIHSULVWRQH6SRQVRUVPXVWHQVXUHWKDWWKHLUPLIHSULVWRQHLVRQO\GLVWULEXWHGWRFHUWLILHGSUHVFULEHUVDQG
                   FHUWLILHGSKDUPDFLHVE\
                        D (QVXULQJWKDWGLVWULEXWRUVZKRGLVWULEXWH WKHLUPLIHSULVWRQHFRPSO\ZLWKWKHSURJUDP
                            UHTXLUHPHQWVIRUGLVWULEXWRUV 
                            L 7KHGLVWULEXWRUVPXVWSXWSURFHVVHVDQGSURFHGXUHVLQSODFHWR
                                  &RPSOHWHWKHFHUWLILFDWLRQSURFHVVXSRQUHFHLSWRIDPrescriber Agreement FormRU
                                    Pharmacy Agreement Form
                                  1RWLI\KHDOWKFDUHSURYLGHUVDQGSKDUPDFLHVZKHQWKH\KDYHEHHQFHUWLILHGE\WKH
                                    0LIHSULVWRQH5(063URJUDP
                                  6KLSPLIHSULVWRQHRQO\WRFHUWLILHGSKDUPDFLHVRUORFDWLRQVLGHQWLILHGE\FHUWLILHG
                                    SUHVFULEHUV
                                  1RWVKLSPLIHSULVWRQHWRSKDUPDFLHVRUSUHVFULEHUVZKREHFRPHGHFHUWLILHGIURPWKH
                                    0LIHSULVWRQH5(063URJUDP
                                  3URYLGHWKH3UHVFULELQJ,QIRUPDWLRQDQGWKHLU3UHVFULEHU$JUHHPHQW)RUPWRKHDOWKFDUH
                                    SURYLGHUVZKR  DWWHPSWWRRUGHUPLIHSULVWRQHDQGDUHQRW\HWFHUWLILHGRU  LQTXLUH
                                    DERXWKRZWREHFRPHFHUWLILHG
                            LL 3XWSURFHVVHVDQGSURFHGXUHVLQSODFHWRPDLQWDLQDGLVWULEXWLRQV\VWHPWKDWLVVHFXUH



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                                 FRQILGHQWLDODQGIROORZVDOOSURFHVVHVDQGSURFHGXUHVLQFOXGLQJWKRVHIRUVWRUDJHKDQGOLQJ
                                 VKLSSLQJWUDFNLQJSDFNDJHVHULDOQXPEHUV1'&DQGORWQXPEHUVSURRIRIGHOLYHU\DQG
                                 FRQWUROOHGUHWXUQVRIPLIHSULVWRQH
                             LLL7UDLQDOOUHOHYDQWVWDIIRQWKH0LIHSULVWRQH5(063URJUDPUHTXLUHPHQWV
                             LY &RPSO\ZLWKDXGLWVE\0LIHSULVWRQH6SRQVRUVRUDWKLUGSDUW\DFWLQJRQEHKDOIRI
                                 0LIHSULVWRQH6SRQVRUVWRHQVXUHWKDWDOOSURFHVVHVDQGSURFHGXUHVDUHLQSODFHDQGDUHEHLQJ
                                 IROORZHGIRUWKH0LIHSULVWRQH5(063URJUDP,QDGGLWLRQGLVWULEXWRUVPXVWPDLQWDLQ
                                 DSSURSULDWHGRFXPHQWDWLRQDQGPDNHLWDYDLODEOHIRUDXGLWV
                        E (QVXULQJWKDWGLVWULEXWRUVPDLQWDLQVHFXUHDQGFRQILGHQWLDOGLVWULEXWLRQUHFRUGVRIDOOVKLSPHQWV
                            RIPLIHSULVWRQH
                0LIHSULVWRQH6SRQVRUVPXVWPRQLWRUWKHLUGLVWULEXWLRQGDWDWRHQVXUHFRPSOLDQFHZLWKWKH
                   0LIHSULVWRQH5(063URJUDP
                0LIHSULVWRQH6SRQVRUVPXVWHQVXUHWKDWDGHTXDWHUHFRUGVDUHPDLQWDLQHGWRGHPRQVWUDWHWKDWWKH
                   0LIHSULVWRQH5(063URJUDPUHTXLUHPHQWVKDYHEHHQPHWLQFOXGLQJEXWQRWOLPLWHGWRUHFRUGVRI
                   PLIHSULVWRQHGLVWULEXWLRQFHUWLILFDWLRQRISUHVFULEHUVDQGSKDUPDFLHVDQGDXGLWVRISKDUPDFLHVDQG
                   GLVWULEXWRUV7KHVHUHFRUGVPXVWEHUHDGLO\DYDLODEOHIRU)'$LQVSHFWLRQV
                0LIHSULVWRQH6SRQVRUVPXVWDXGLWWKHLUQHZGLVWULEXWRUVZLWKLQFDOHQGDUGD\VDQGDQQXDOO\
                   WKHUHDIWHUDIWHUWKHGLVWULEXWRULVDXWKRUL]HGWRHQVXUHWKDWDOOSURFHVVHVDQGSURFHGXUHVDUHLQSODFH
                   DQGIXQFWLRQLQJWRVXSSRUWWKHUHTXLUHPHQWVRIWKH0LIHSULVWRQH5(063URJUDP0LIHSULVWRQH
                   6SRQVRUVZLOOWDNHVWHSVWRDGGUHVVWKHLUGLVWULEXWRUFRPSOLDQFHLIQRQFRPSOLDQFHLVLGHQWLILHG
                0LIHSULVWRQH6SRQVRUVPXVWDXGLWWKHLUFHUWLILHGSKDUPDFLHVZLWKLQFDOHQGDUGD\VDIWHUWKH
                   SKDUPDF\SODFHVLWVILUVWRUGHURIPLIHSULVWRQHDQGDQQXDOO\WKHUHDIWHUDXGLWFHUWLILHGSKDUPDFLHVWKDW
                   KDYHRUGHUHGPLIHSULVWRQHLQWKHSUHYLRXVPRQWKVWRHQVXUHWKDWDOOSURFHVVHVDQGSURFHGXUHVDUH
                   LQSODFHDQGIXQFWLRQLQJWRVXSSRUWWKHUHTXLUHPHQWVRIWKH0LIHSULVWRQH5(063URJUDP
                   0LIHSULVWRQH6SRQVRUVZLOOWDNHVWHSVWRDGGUHVVWKHLUSKDUPDF\FRPSOLDQFHLIQRQFRPSOLDQFHLV
                   LGHQWLILHG
                0LIHSULVWRQH6SRQVRUVPXVWWDNHUHDVRQDEOHVWHSVWRLPSURYHLPSOHPHQWDWLRQRIDQGFRPSOLDQFHZLWK
                   WKHUHTXLUHPHQWVRIWKH0LIHSULVWRQH5(063URJUDPEDVHGRQPRQLWRULQJDQGDVVHVVPHQWRIWKH
                   0LIHSULVWRQH5(063URJUDP
                0LIHSULVWRQH6SRQVRUVPXVWUHSRUWWR)'$DQ\GHDWKDVVRFLDWHGZLWKPLIHSULVWRQHZKHWKHURUQRW
                   FRQVLGHUHGGUXJUHODWHGDVVRRQDVSRVVLEOHEXWQRODWHUWKDQFDOHQGDUGD\VIURPWKHLQLWLDOUHFHLSW
                   RIWKHLQIRUPDWLRQE\WKH0LIHSULVWRQH6SRQVRU7KLVUHTXLUHPHQWGRHVQRWDIIHFWWKHVSRQVRUV¶RWKHU
                   UHSRUWLQJDQGIROORZXSUHTXLUHPHQWVXQGHU)'$UHJXODWLRQV

               C. Timetable for Submission of Assessments
               7KH1'$6SRQVRUPXVWVXEPLW5(06DVVHVVPHQWVWR)'$RQH\HDUIURPWKHGDWHRIWKHDSSURYDORIWKH
               PRGLILHG5(06  DQGDQQXDOO\WKHUHDIWHU7RIDFLOLWDWHLQFOXVLRQRIDVPXFKLQIRUPDWLRQDV
               SRVVLEOHZKLOHDOORZLQJUHDVRQDEOHWLPHWRSUHSDUHWKHVXEPLVVLRQWKHUHSRUWLQJLQWHUYDOFRYHUHGE\HDFK
               DVVHVVPHQWVKRXOGFRQFOXGHQRHDUOLHUWKDQFDOHQGDUGD\VEHIRUHWKHVXEPLVVLRQGDWHIRUWKDW
               DVVHVVPHQW7KH1'$6SRQVRUPXVWVXEPLWHDFKDVVHVVPHQWVRWKDWLWZLOOEHUHFHLYHGE\WKH)'$RQRU
               EHIRUHWKHGXHGDWH




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                                               MIFEPREX® (Mifepristone) Tablets, 200 mg

                                                   PRESCRIBER AGREEMENT FORM
               0LIHSUH[  0LIHSULVWRQH 7DEOHWVPJLVLQGLFDWHGLQDUHJLPHQZLWKPLVRSURVWROIRUWKHPHGLFDO
               WHUPLQDWLRQRILQWUDXWHULQHSUHJQDQF\WKURXJKGD\VJHVWDWLRQ3OHDVHVHH3UHVFULELQJ,QIRUPDWLRQDQG
               0HGLFDWLRQ*XLGHIRUFRPSOHWHVDIHW\LQIRUPDWLRQ
               7Rbecome a certified prescriber\RXPXVW
                 x If you submit Mifeprex prescriptions for dispensing from certified pharmacies
                    o   6XEPLWWKLVIRUPWRHDFKFHUWLILHGSKDUPDF\WRZKLFK\RXLQWHQGWRVXEPLW0LIHSUH[SUHVFULSWLRQV
                         7KHIRUPPXVWEHUHFHLYHGE\WKHFHUWLILHGSKDUPDF\EHIRUHDQ\SUHVFULSWLRQVDUHGLVSHQVHGE\
                         WKDWSKDUPDF\
                  x If you order Mifeprex for dispensing by you or healthcare providers under your supervision:
                    o   6XEPLWWKLVIRUPWRWKHGLVWULEXWRU7KLVIRUPPXVWEHUHFHLYHGE\WKHGLVWULEXWRUEHIRUHWKHILUVW
                         RUGHUZLOOEHVKLSSHGWRWKHKHDOWKFDUHVHWWLQJ
                    o   +HDOWKFDUHVHWWLQJVVXFKDVPHGLFDORIILFHVFOLQLFVDQGKRVSLWDOVZKHUH0LIHSUH[ZLOOEH
                         GLVSHQVHGE\RUXQGHUWKHVXSHUYLVLRQRIDFHUWLILHGSUHVFULEHULQWKH0LIHSULVWRQH5(06
                         3URJUDPGRQRWUHTXLUHSKDUPDF\FHUWLILFDWLRQ
               Prescriber Agreement: %\VLJQLQJWKLVIRUP\RXDJUHHWKDW\RXPHHWWKHTXDOLILFDWLRQVEHORZDQGZLOO
               IROORZWKHJXLGHOLQHVIRUXVH<RXDUHUHVSRQVLEOHIRURYHUVHHLQJLPSOHPHQWDWLRQDQGFRPSOLDQFHZLWKWKH
               0LIHSULVWRQH5(063URJUDP<RXDOVRXQGHUVWDQGWKDWLIWKHJXLGHOLQHVEHORZDUHQRWIROORZHGWKH
               GLVWULEXWRUPD\VWRSVKLSSLQJPLIHSULVWRQHWRWKHORFDWLRQVWKDW\RXLGHQWLI\DQGFHUWLILHGSKDUPDFLHVPD\
               VWRSDFFHSWLQJ\RXUPLIHSULVWRQHSUHVFULSWLRQV
               Mifepristone must be provided by or under the supervision of a certified prescriber who meets the
               following qualifications:
                 x $ELOLW\WRDVVHVVWKHGXUDWLRQRISUHJQDQF\DFFXUDWHO\
                 x $ELOLW\WRGLDJQRVHHFWRSLFSUHJQDQFLHV
                 x $ELOLW\WRSURYLGHVXUJLFDOLQWHUYHQWLRQLQFDVHVRILQFRPSOHWHDERUWLRQRUVHYHUHEOHHGLQJRUKDYH
                    PDGHSODQVWRSURYLGHVXFKFDUHWKURXJKRWKHUVDQGEHDEOHWRDVVXUHSDWLHQWDFFHVVWRPHGLFDO
                    IDFLOLWLHVHTXLSSHGWRSURYLGHEORRGWUDQVIXVLRQVDQGUHVXVFLWDWLRQLIQHFHVVDU\
                 x +DVUHDGDQGXQGHUVWRRGWKH3UHVFULELQJ,QIRUPDWLRQIRUPLIHSULVWRQH7KH3UHVFULELQJ,QIRUPDWLRQLV
                    DYDLODEOHE\FDOOLQJ($5/<237,21 WROOIUHH RUE\YLVLWLQJ
                    ZZZHDUO\RSWLRQSLOOFRP

               In addition to meeting these qualifications, you also agree to follow these guidelines for use:
                 x (QVXUHWKDWWKHPatient Agreement FormLVUHYLHZHGZLWKWKHSDWLHQWDQGWKHULVNVRIWKHPLIHSULVWRQH
                    WUHDWPHQWUHJLPHQDUHIXOO\H[SODLQHG(QVXUHDQ\TXHVWLRQVWKHSDWLHQWPD\KDYHSULRUWRUHFHLYLQJ
                    PLIHSULVWRQHDUHDQVZHUHG
                 x (QVXUHWKHKHDOWKFDUHSURYLGHUDQGSDWLHQWVLJQWKHPatient Agreement Form
                 x (QVXUHWKDWWKHSDWLHQWLVSURYLGHGZLWKDFRS\RIWKHPatient Agreement FormDQG0HGLFDWLRQ*XLGH
                 x (QVXUHWKDWWKHVLJQHGPatient Agreement FormLVSODFHGLQWKHSDWLHQW VPHGLFDOUHFRUG
                 x (QVXUHWKDWDQ\GHDWKVRISDWLHQWVZKRUHFHLYHG0LIHSUH[DUHUHSRUWHGWR'DQFR/DERUDWRULHV//&
                    LGHQWLI\LQJWKHSDWLHQWE\DQRQLGHQWLILDEOHUHIHUHQFHDQGLQFOXGLQJWKH1'&DQGORWQXPEHUIURPWKH
                    SDFNDJHRI0LIHSUH[WKDWZDVGLVSHQVHGWRWKHSDWLHQW


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Reference ID: 5103819
                Case 1:23-cv-03026-TOR                ECF No. 170-2    filed 12/11/24              PageID.3766         Page
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               (QVXUHWKDWKHDOWKFDUHSURYLGHUVXQGHU\RXUVXSHUYLVLRQIROORZWKHJXLGHOLQHVOLVWHGDERYH
                   x ,I0LIHSUH[ZLOOEHGLVSHQVHGWKURXJKDFHUWLILHGSKDUPDF\
                     o   $VVHVVDSSURSULDWHQHVVRIGLVSHQVLQJ0LIHSUH[ZKHQFRQWDFWHGE\DFHUWLILHGSKDUPDF\DERXW
                          SDWLHQWVZKRZLOOUHFHLYH0LIHSUH[PRUHWKDQFDOHQGDUGD\VDIWHUWKHSUHVFULSWLRQZDVUHFHLYHG
                          E\WKHFHUWLILHGSKDUPDF\
                     o   2EWDLQWKH1'&DQGORWQXPEHURIWKHSDFNDJHRI0LIHSUH[WKHSDWLHQWUHFHLYHGLQWKHHYHQWWKH
                          SUHVFULEHUEHFRPHVDZDUHRIWKHGHDWKRIDSDWLHQW
                   x ,I0LIHSUH[ZLOOEHGLVSHQVHGE\\RXRUE\KHDOWKFDUHSURYLGHUVXQGHU\RXUVXSHUYLVLRQ
                     o   (QVXUHWKH1'&DQGORWQXPEHUIURPHDFKSDFNDJHRI0LIHSUH[DUHUHFRUGHGLQWKHSDWLHQW¶V
                          UHFRUG
               
               ,XQGHUVWDQGWKDWDFHUWLILHGSKDUPDF\PD\GLVSHQVHPLIHSULVWRQHPDGHE\DGLIIHUHQWPDQXIDFWXUHUWKDQ
               WKDWVWDWHGRQWKLV3UHVFULEHU$JUHHPHQW)RUP
               
               3ULQW1DPH                                                        7LWOH                                   
               6LJQDWXUH                                                        'DWH                                
               0HGLFDO/LFHQVH                                                   6WDWH                                    
               13,                                                              
               3UDFWLFH6HWWLQJ$GGUHVV                                                                                   
               5HWXUQFRPSOHWHGIRUPWR0LIHSUH[#GDQFRGLVWULEXWRUFRPRUID[WR
               
               $SSURYHG>'RFFRQWURO,'@




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Reference ID: 5103819
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               PRESCRIBER AGREEMENT FORM                                                   Mifepristone Tablets, 200 mg
               0LIHSULVWRQH7DEOHWVPJLVLQGLFDWHGLQDUHJLPHQZLWKPLVRSURVWROIRUWKHPHGLFDOWHUPLQDWLRQ RI
               LQWUDXWHULQHSUHJQDQF\WKURXJKGD\VJHVWDWLRQ3OHDVHVHH3UHVFULELQJ,QIRUPDWLRQDQG0HGLFDWLRQ
               *XLGHIRUFRPSOHWHVDIHW\LQIRUPDWLRQ
               7Rbecome a certified prescriber\RXPXVW
                 x If you submit mifepristone prescriptions for dispensing from certified pharmacies
                    o    6XEPLWWKLVIRUPWRHDFKFHUWLILHGSKDUPDF\WRZKLFK\RXLQWHQGWRVXEPLWPLIHSULVWRQH
                         SUHVFULSWLRQV7KHIRUPPXVWEHUHFHLYHG E\WKHFHUWLILHGSKDUPDF\ EHIRUHDQ\SUHVFULSWLRQVDUH
                         GLVSHQVHGE\WKDWSKDUPDF\
                  x If you order mifepristone for dispensing by you or healthcare providers under your
                    supervision:
                    o    6XEPLWWKLVIRUP WRWKHGLVWULEXWRU7KLVIRUPPXVWEHUHFHLYHG E\WKHGLVWULEXWRU EHIRUHWKHILUVW
                         RUGHUZLOOEHVKLSSHGWRWKHKHDOWKFDUHVHWWLQJ
                    o    +HDOWKFDUHVHWWLQJVVXFKDVPHGLFDORIILFHVFOLQLFVDQGKRVSLWDOVZKHUH PLIHSULVWRQH ZLOOEH
                         GLVSHQVHGE\RU XQGHUWKHVXSHUYLVLRQRIDFHUWLILHGSUHVFULEHULQWKH0LIHSULVWRQH5(06
                         3URJUDPGRQRWUHTXLUHSKDUPDF\FHUWLILFDWLRQ
               Prescriber Agreement: %\VLJQLQJWKLVIRUP\RXDJUHHWKDW\RXPHHWWKHTXDOLILFDWLRQVEHORZDQG ZLOO
               IROORZWKHJXLGHOLQHVIRUXVH<RXDUHUHVSRQVLEOHIRURYHUVHHLQJLPSOHPHQWDWLRQDQGFRPSOLDQFHZLWKWKH
               0LIHSULVWRQH5(063URJUDP<RX DOVR XQGHUVWDQG WKDWLI WKHJXLGHOLQHVEHORZDUHQRWIROORZHG WKH
               GLVWULEXWRU PD\ VWRS VKLSSLQJ PLIHSULVWRQH WRWKHORFDWLRQVWKDW\RXLGHQWLI\DQGFHUWLILHGSKDUPDFLHVPD\
               VWRSDFFHSWLQJ\RXUPLIHSULVWRQH SUHVFULSWLRQV
               Mifepristone must be provided by or under the supervision of a certified prescriber who meets the
               following qualifications:
                 x $ELOLW\WRDVVHVVWKHGXUDWLRQRISUHJQDQF\DFFXUDWHO\
                 x $ELOLW\WRGLDJQRVHHFWRSLFSUHJQDQFLHV
                 x $ELOLW\WRSURYLGHVXUJLFDOLQWHUYHQWLRQLQFDVHVRILQFRPSOHWHDERUWLRQRUVHYHUHEOHHGLQJ RUKDYH
                   PDGHSODQVWRSURYLGHVXFKFDUHWKURXJKRWKHUVDQGEHDEOHWRDVVXUHSDWLHQWDFFHVVWRPHGLFDO
                   IDFLOLWLHVHTXLSSHGWRSURYLGHEORRGWUDQVIXVLRQVDQGUHVXVFLWDWLRQLIQHFHVVDU\
                 x +DVUHDGDQGXQGHUVWRRGWKH3UHVFULELQJ,QIRUPDWLRQIRU PLIHSULVWRQH7KH3UHVFULELQJ,QIRUPDWLRQLV
                   DYDLODEOHE\FDOOLQJ 0,)(,1)2 ²WROOIUHH RU E\YLVLWLQJ ZZZ0LIH,QIRFRP

               In addition to meeting these qualifications, you also agree to follow these guidelines for use:
                 x (QVXUHWKDWWKHPatient Agreement Form LVUHYLHZHGZLWKWKHSDWLHQWDQGWKHULVNVRIWKHPLIHSULVWRQH
                   WUHDWPHQWUHJLPHQDUHIXOO\H[SODLQHG(QVXUHDQ\TXHVWLRQVWKHSDWLHQWPD\KDYHSULRUWRUHFHLYLQJ
                   PLIHSULVWRQHDUHDQVZHUHG
                 x (QVXUHWKHKHDOWKFDUHSURYLGHUDQGSDWLHQWVLJQWKHPatient Agreement Form
                 x (QVXUHWKDWWKHSDWLHQWLVSURYLGHGZLWKDFRS\RIWKHPatient Agreement Form DQG0HGLFDWLRQ*XLGH
                 x (QVXUHWKDWWKHVLJQHGPatient Agreement Form LVSODFHGLQWKHSDWLHQW VPHGLFDOUHFRUG
                 x (QVXUHWKDWDQ\GHDWKVRI SDWLHQWVZKR UHFHLYHGPLIHSULVWRQH DUHUHSRUWHGWR*HQ%LR3UR,QFWKDW
                   SURYLGHGWKHPLIHSULVWRQHLGHQWLI\LQJWKHSDWLHQWE\DQRQLGHQWLILDEOHUHIHUHQFHDQGLQFOXGLQJWKH
                   1'&DQGORWQXPEHUIURPWKHSDFNDJHRIPLIHSULVWRQHWKDWZDVGLVSHQVHGWRWKHSDWLHQW
               (QVXUHWKDWKHDOWKFDUHSURYLGHUVXQGHU\RXUVXSHUYLVLRQIROORZWKHJXLGHOLQHVOLVWHGDERYH




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Reference ID: 5103819
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                 x ,IPLIHSULVWRQH ZLOOEHGLVSHQVHGWKURXJKDFHUWLILHGSKDUPDF\
                    o    $VVHVVDSSURSULDWHQHVVRIGLVSHQVLQJPLIHSULVWRQH ZKHQFRQWDFWHGE\DFHUWLILHGSKDUPDF\
                         DERXWSDWLHQWVZKR ZLOOUHFHLYHPLIHSULVWRQH PRUH WKDQFDOHQGDUGD\VDIWHUWKHSUHVFULSWLRQ
                         ZDVUHFHLYHGE\WKHFHUWLILHGSKDUPDF\
                    o    2EWDLQWKH1'&DQGORWQXPEHURIWKHSDFNDJHRIPLIHSULVWRQH WKHSDWLHQWUHFHLYHGLQWKHHYHQW
                         WKHSUHVFULEHUEHFRPHVDZDUHRIWKHGHDWKRID SDWLHQW
                 x ,IPLIHSULVWRQH ZLOOEHGLVSHQVHGE\\RX RUE\ KHDOWKFDUHSURYLGHUV XQGHU\RXU VXSHUYLVLRQ
                    o    (QVXUHWKH1'&DQGORWQXPEHUIURPHDFKSDFNDJHRIPLIHSULVWRQH DUHUHFRUGHGLQWKHSDWLHQW¶V
                         UHFRUG

               ,XQGHUVWDQGWKDWDFHUWLILHGSKDUPDF\PD\GLVSHQVHPLIHSULVWRQHPDGHE\DGLIIHUHQWPDQXIDFWXUHUWKDQ
               WKDWVWDWHGRQWKLV3UHVFULEHU$JUHHPHQW)RUP


               3ULQW1DPH                                                       7LWOH
               6LJQDWXUH                                                        'DWH
               0HGLFDO/LFHQVH                                                6WDWH
               13,
               3UDFWLFH6HWWLQJ$GGUHVV
               5HWXUQFRPSOHWHGIRUPWRRxAgreements@GenBioPro.com RUID[WR


               $SSURYHG >'RFFRQWURO,'@




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                PUTTING ACCESS INTO PRACTICE                     1-855-MIFE-INFO (1-855-643-3463) - www.MifeInfo.com
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Reference ID: 5103819
                Case 1:23-cv-03026-TOR                 ECF No. 170-2    filed 12/11/24              PageID.3769           Page
                                                              277 of 300



                 3$7,(17$*5((0(17)250                                            0LIHSULVWRQH7DEOHWVPJ
                 Healthcare Providers: Counsel the patient on the risks of mifepristone. Both you and the patient must
                 provide a written or electronic signature on this form.
                 Patient Agreement:
               1.       ,KDYHGHFLGHGWRWDNHPLIHSULVWRQHDQGPLVRSURVWROWRHQGP\SUHJQDQF\DQGZLOOIROORZP\
                        KHDOWKFDUHSURYLGHU VDGYLFHDERXWZKHQWRWDNHHDFKGUXJDQGZKDWWRGRLQDQHPHUJHQF\
               2.       ,XQGHUVWDQG
                        a. ,ZLOOWDNHPLIHSULVWRQHRQ'D\
                        b. ,ZLOOWDNHWKHPLVRSURVWROWDEOHWVWRKRXUVDIWHU,WDNHPLIHSULVWRQH
               3.       0\KHDOWKFDUHSURYLGHUKDVWDONHGZLWKPHDERXWWKHULVNVLQFOXGLQJ
                         • KHDY\EOHHGLQJ
                         • LQIHFWLRQ
               4.       ,ZLOOFRQWDFWWKHFOLQLFRIILFHSURYLGHUULJKWDZD\LILQWKHGD\VDIWHUWUHDWPHQW,KDYH
                          • DIHYHURI)RUKLJKHUWKDWODVWVIRUPRUHWKDQIRXUKRXUV
                          • KHDY\EOHHGLQJ VRDNLQJWKURXJKWZRWKLFNIXOOVL]HVDQLWDU\SDGVSHUKRXUIRUWZRKRXUVLQD
                               URZ 
                          • VHYHUHVWRPDFKDUHD DEGRPLQDO SDLQRUGLVFRPIRUWRU,DP³IHHOLQJVLFN´LQFOXGLQJZHDNQHVV
                               QDXVHDYRPLWLQJRUGLDUUKHDPRUHWKDQKRXUVDIWHUWDNLQJPLVRSURVWRO
                               ²WKHVHV\PSWRPVPD\EHDVLJQRIDVHULRXVLQIHFWLRQRUDQRWKHUSUREOHP LQFOXGLQJDQ
                               HFWRSLFSUHJQDQF\DSUHJQDQF\RXWVLGHWKHZRPE 
                         0\KHDOWKFDUHSURYLGHUKDVWROGPHWKDWWKHVHV\PSWRPVOLVWHGDERYH FRXOGUHTXLUHHPHUJHQF\
                         FDUH,I,FDQQRWUHDFKWKHFOLQLFRIILFHSURYLGHUULJKWDZD\P\KHDOWKFDUHSURYLGHUKDVWROGPHZKR
                         WRFDOODQGZKDWWRGR
               5.       ,VKRXOGIROORZXSZLWKP\KHDOWKFDUHSURYLGHUDERXWWRGD\VDIWHU,WDNHPLIHSULVWRQHWREHVXUH
                        WKDWP\SUHJQDQF\KDVHQGHGDQGWKDW,DPZHOO
               6.       ,NQRZWKDWLQVRPHFDVHVWKHWUHDWPHQWZLOOQRWZRUN7KLVKDSSHQVLQDERXWWRRXWRI
                        ZRPHQZKRXVHWKLVWUHDWPHQW,IP\SUHJQDQF\FRQWLQXHVDIWHUWUHDWPHQWZLWKPLIHSULVWRQHDQG
                        PLVRSURVWRO,ZLOOWDONZLWKP\SURYLGHUDERXWDVXUJLFDOSURFHGXUHWRHQGP\SUHJQDQF\
               7.       ,I,QHHGDVXUJLFDOSURFHGXUHEHFDXVHWKHPHGLFLQHVGLGQRWHQGP\SUHJQDQF\RUWRVWRSKHDY\
                        EOHHGLQJP\KHDOWKFDUHSURYLGHUKDVWROGPHZKHWKHUWKH\ZLOOGRWKHSURFHGXUHRUUHIHUPHWR
                        DQRWKHUKHDOWKFDUHSURYLGHUZKRZLOO
               8.       ,KDYHWKH0(',&$7,21*8,'(IRUPLIHSULVWRQH
               9.       0\KHDOWKFDUHSURYLGHUKDVDQVZHUHGDOOP\TXHVWLRQV



               Patient Signature:                               Patient Name SULQW                        Date       




               Provider Signature:                              Provider Name SULQW                       Date       

               Patient Agreement Forms may be provided, completed, signed, and transmitted in paper or electronically.
                         01/2023                                                                                                  




                                                                  DEAR277                              2023 SUPP 001143
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                                              MIFEPREX®(Mifepristone) Tablets, 200mg
                                                PHARMACY AGREEMENT FORM
           3KDUPDFLHVPXVWGHVLJQDWHDQDXWKRUL]HGUHSUHVHQWDWLYHWRFDUU\RXWWKHFHUWLILFDWLRQSURFHVVDQGRYHUVHH
           LPSOHPHQWDWLRQDQGFRPSOLDQFHZLWKWKH0LIHSULVWRQH5(063URJUDPRQEHKDOIRIWKHSKDUPDF\
           +HDOWKFDUHVHWWLQJVVXFKDVPHGLFDORIILFHVFOLQLFVDQGKRVSLWDOVZKHUHPLIHSULVWRQHZLOOEHGLVSHQVHGE\RU
           XQGHUWKHVXSHUYLVLRQRIDFHUWLILHGSUHVFULEHULQWKH0LIHSULVWRQH5(063URJUDPGRQRWUHTXLUHSKDUPDF\
           FHUWLILFDWLRQ
           By signing this form, as the Authorized Representative I certify that:
           x (DFKORFDWLRQRIP\SKDUPDF\WKDWZLOOGLVSHQVH0LIHSUH[LVDEOHWRUHFHLYHPrescriber Agreement FormsE\
              HPDLODQGID[
           x (DFKORFDWLRQRIP\SKDUPDF\WKDWZLOOGLVSHQVH0LIHSUH[LVDEOHWRVKLS0LIHSUH[XVLQJDVKLSSLQJVHUYLFH
              WKDWSURYLGHVWUDFNLQJLQIRUPDWLRQ
           x ,KDYHUHDGDQGXQGHUVWRRGWKH3UHVFULELQJ,QIRUPDWLRQIRU0LIHSUH[7KH3UHVFULELQJ,QIRUPDWLRQLVDYDLODEOH
              E\FDOOLQJ($5/<237,21 WROOIUHH RURQOLQHDWZZZHDUO\RSWLRQSLOOFRPDQG
           x (DFKORFDWLRQRIP\SKDUPDF\WKDWZLOOGLVSHQVH0LIHSUH[ZLOOSXWSURFHVVHVDQGSURFHGXUHVLQSODFHWR
              HQVXUHWKHIROORZLQJUHTXLUHPHQWVDUHFRPSOHWHG,DOVRXQGHUVWDQGWKDWLIP\SKDUPDF\GRHVQRWFRPSOHWH
              WKHVHUHTXLUHPHQWVWKHGLVWULEXWRUPD\VWRSDFFHSWLQJ0LIHSUH[RUGHUV
              o 9HULI\WKDWWKHSUHVFULEHULVFHUWLILHGLQWKH0LIHSULVWRQH5(063URJUDPE\FRQILUPLQJWKHLUFRPSOHWHG
                  Prescriber Agreement FormZDVUHFHLYHGZLWKWKHSUHVFULSWLRQRULVRQILOHZLWK\RXUSKDUPDF\
              o 'LVSHQVH0LIHSUH[VXFKWKDWLWLVGHOLYHUHGWRWKHSDWLHQWZLWKLQFDOHQGDUGD\VRIWKHGDWHWKHSKDUPDF\
                  UHFHLYHVWKHSUHVFULSWLRQH[FHSWDVSURYLGHGLQWKHIROORZLQJEXOOHW
              o &RQILUPZLWKWKHSUHVFULEHUWKHDSSURSULDWHQHVVRIGLVSHQVLQJ0LIHSUH[IRUSDWLHQWVZKRZLOOUHFHLYHWKH
                  GUXJPRUHWKDQFDOHQGDUGD\VDIWHUWKHGDWHWKHSKDUPDF\UHFHLYHVWKHSUHVFULSWLRQDQGGRFXPHQWWKH
                  SUHVFULEHU¶VGHFLVLRQ
              o 5HFRUGLQWKHSDWLHQW¶VUHFRUGWKH1'&DQGORWQXPEHUIURPHDFKSDFNDJHRI0LIHSUH[GLVSHQVHG
              o 7UDFNDQGYHULI\UHFHLSWRIHDFKVKLSPHQWRI0LIHSUH[
              o 'LVSHQVHPLIHSULVWRQHLQLWVSDFNDJHDVVXSSOLHGE\'DQFR/DERUDWRULHV//&
              o 5HSRUWDQ\SDWLHQWGHDWKVWRWKHSUHVFULEHULQFOXGLQJWKH1'&DQGORWQXPEHUIURPWKHSDFNDJHRI
                  0LIHSUH[GLVSHQVHGWRWKHSDWLHQWDQGUHPLQGWKHSUHVFULEHURIWKHLUREOLJDWLRQWRUHSRUWWKHGHDWKVWR
                  'DQFR/DERUDWRULHV//&1RWLI\'DQFRWKDW\RXUSKDUPDF\VXEPLWWHGDUHSRUWRIGHDWKWRWKHSUHVFULEHU
                  LQFOXGLQJWKHQDPHDQGFRQWDFWLQIRUPDWLRQIRUWKHSUHVFULEHUDQGWKH1'&DQGORWQXPEHURIWKH
                  GLVSHQVHGSURGXFW
              o 1RWGLVWULEXWHWUDQVIHUORDQRUVHOOPLIHSULVWRQHH[FHSWWRFHUWLILHGSUHVFULEHUVRURWKHUORFDWLRQVRIWKH
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              o 0DLQWDLQUHFRUGVRIPrescriber Agreement FormsGLVSHQVLQJDQGVKLSSLQJDQGDOOSURFHVVHVDQG
                  SURFHGXUHVLQFOXGLQJFRPSOLDQFHZLWKWKRVHSURFHVVHVDQGSURFHGXUHV
              o 0DLQWDLQWKHLGHQWLW\RI0LIHSUH[SDWLHQWVDQGSUHVFULEHUVDVFRQILGHQWLDODQGSURWHFWHGIURPGLVFORVXUH
                  H[FHSWWRWKHH[WHQWQHFHVVDU\IRUGLVSHQVLQJXQGHUWKLV5(06RUDVQHFHVVDU\IRUSD\PHQWDQGRU
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              o 7UDLQDOOUHOHYDQWVWDIIRQWKH0LIHSULVWRQH5(063URJUDPUHTXLUHPHQWV
              o &RPSO\ZLWKDXGLWVFDUULHGRXWE\WKH0LIHSULVWRQH6SRQVRUVRUDWKLUGSDUW\DFWLQJRQEHKDOIRIWKH
                  0LIHSULVWRQH6SRQVRUVWRHQVXUHWKDWDOOSURFHVVHVDQGSURFHGXUHVDUHLQSODFHDQGDUHEHLQJIROORZHG

           $Q\QHZDXWKRUL]HGUHSUHVHQWDWLYHPXVWFRPSOHWHDQGVXEPLWWKHPharmacy Agreement Form.
           $XWKRUL]HG5HSUHVHQWDWLYH1DPH                                            7LWOH                      


                                                                   *MIFEPREX is a registered trademark of Danco Laboratories, LLC
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           6LJQDWXUH                                                               'DWH                       
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Reference ID: 5103819
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           PHARMACY AGREEMENT FORM                                                                 Mifepristone Tablets, 200 mg
           3KDUPDFLHVPXVWGHVLJQDWHDQDXWKRUL]HGUHSUHVHQWDWLYHWRFDUU\RXWWKHFHUWLILFDWLRQSURFHVVDQGRYHUVHH
           LPSOHPHQWDWLRQDQGFRPSOLDQFHZLWKWKH0LIHSULVWRQH5(063URJUDPRQEHKDOIRIWKHSKDUPDF\
           +HDOWKFDUHVHWWLQJVVXFKDVPHGLFDORIILFHVFOLQLFVDQGKRVSLWDOVZKHUH PLIHSULVWRQH ZLOOEHGLVSHQVHGE\RU
           XQGHU WKH VXSHUYLVLRQ RIDFHUWLILHGSUHVFULEHULQWKH0LIHSULVWRQH5(06 3URJUDPGRQRWUHTXLUHSKDUPDF\
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           By signing this form, as the Authorized Representative I certify that:
           x (DFKORFDWLRQRIP\SKDUPDF\WKDWZLOOGLVSHQVHPLIHSULVWRQHLVDEOHWRUHFHLYHPrescriber Agreement Forms
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           x ,KDYHUHDGDQGXQGHUVWRRGWKH3UHVFULELQJ,QIRUPDWLRQIRUPLIHSULVWRQH7KH3UHVFULELQJ,QIRUPDWLRQLV
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              HQVXUHWKHIROORZLQJUHTXLUHPHQWVDUHFRPSOHWHG,DOVRXQGHUVWDQGWKDWLIP\SKDUPDF\GRHVQRWFRPSOHWH
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                  Prescriber Agreement Form ZDVUHFHLYHGZLWKWKHSUHVFULSWLRQRULVRQILOHZLWK\RXUSKDUPDF\
              o 'LVSHQVHPLIHSULVWRQH VXFKWKDWLWLVGHOLYHUHGWRWKHSDWLHQWZLWKLQFDOHQGDUGD\VRIWKHGDWHWKH
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              o &RQILUPZLWKWKHSUHVFULEHUWKHDSSURSULDWHQHVVRIGLVSHQVLQJPLIHSULVWRQHIRUSDWLHQWVZKRZLOOUHFHLYH
                  WKHGUXJPRUHWKDQ FDOHQGDUGD\VDIWHU WKHGDWHWKHSKDUPDF\UHFHLYHVWKHSUHVFULSWLRQ DQGGRFXPHQW
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              o 5HFRUGLQWKHSDWLHQW¶VUHFRUGWKH1'&DQGORWQXPEHUIURPHDFKSDFNDJHRIPLIHSULVWRQH GLVSHQVHG
              o 7UDFNDQGYHULI\UHFHLSWRIHDFKVKLSPHQWRIPLIHSULVWRQH
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              o 5HSRUWDQ\SDWLHQWGHDWKVWRWKHSUHVFULEHULQFOXGLQJWKH1'&DQGORWQXPEHUIURPWKHSDFNDJHRI
                  PLIHSULVWRQHGLVSHQVHGWRWKHSDWLHQWDQGUHPLQGWKHSUHVFULEHURIWKHLUREOLJDWLRQWRUHSRUWWKHGHDWKVWR
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                  LQFOXGLQJWKHQDPHDQGFRQWDFWLQIRUPDWLRQIRUWKHSUHVFULEHUDQGWKH1'&DQGORWQXPEHURIWKH
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              o 1RWGLVWULEXWHWUDQVIHUORDQRUVHOOPLIHSULVWRQHH[FHSWWRFHUWLILHGSUHVFULEHUV RURWKHUORFDWLRQVRIWKH
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              o 0DLQWDLQUHFRUGVRIPrescriber Agreement FormsGLVSHQVLQJDQGVKLSSLQJ DOOSURFHVVHVDQGSURFHGXUHV
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              o 0DLQWDLQWKHLGHQWLW\RIPLIHSULVWRQH SDWLHQWV DQGSUHVFULEHUV DVFRQILGHQWLDO DQGSURWHFWHGIURP
                  GLVFORVXUHH[FHSWWRWKHH[WHQWQHFHVVDU\IRU GLVSHQVLQJ XQGHU WKLV 5(06RUDVQHFHVVDU\IRUSD\PHQW
                  DQGRU LQVXUDQFHSXUSRVHV
              o 7UDLQDOOUHOHYDQWVWDIIRQWKH0LIHSULVWRQH5(063URJUDPUHTXLUHPHQWV
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                  0LIHSULVWRQH6SRQVRUVWRHQVXUHWKDWDOOSURFHVVHVDQGSURFHGXUHVDUHLQSODFHDQGDUHEHLQJIROORZHG

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           5HWXUQFRPSOHWHGIRUPWRRxAgreements@GenBioPro.com RUID[WR1-877-239-8036.


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               7KH5(06$VVHVVPHQW3ODQPXVWLQFOXGHEXWLVQRWOLPLWHGWRWKHIROORZLQJLWHPV
                Program Implementation and Operations
                 5(06&HUWLILFDWLRQ6WDWLVWLFV
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                             RUVXEPLWWHGDSUHVFULSWLRQGXULQJWKHUHSRUWLQJSHULRG 
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                             FRPSOHWHGQRWFRPSOHWHGLQSURJUHVV  SURYLGHIRUWKHFXUUHQWUHSRUWLQJSHULRG 
                       Y )RUDQ\VWDNHKROGHUVWKDWGLGQRWFRPSOHWHWKH&$3$ZLWKLQWKHWLPHIUDPHVSHFLILHG
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                        YL $VXPPDU\UHSRUWRIDOOUHVXOWLQJFKDQJHVWRSURFHVVHVDQGSURFHGXUHVQHFHVVDU\WR
                             HQVXUHFRPSOLDQFHZLWKWKH5(06UHTXLUHPHQWV SURYLGHIRUWKHFXUUHQWUHSRUWLQJ
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                                 FRPSOLDQFHHYHQWWRHQDEOHWUDFNLQJRYHUWLPH
                              7KHVRXUFHRIWKHQRQFRPSOLDQFHGDWD HJVHOIUHSRUWHGDXGLWRWKHU 
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                     LLL 3UHVFULEHUFRPSOLDQFH
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                                 PRUHWKDQIRXUGD\VDIWHUUHFHLSWRIWKHSUHVFULSWLRQGXUDWLRQDQGFDXVHVIRU
                                 GHOD\$SURSRVDOIRUWKLVDVVHVVPHQWZLOOEHVXEPLWWHGZLWKLQGD\VRIWKH
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                                  SURYLGHIRUWKHFXUUHQWUHSRUWLQJSHULRG 
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                              1XPEHURIKHDOWKFDUHSURYLGHUVZKRVXFFHVVIXOO\RUGHUHGPLIHSULVWRQHZKRZHUH
                                 QRWFHUWLILHG
                              1XPEHURIQRQFHUWLILHGSKDUPDFLHVWKDWVXFFHVVIXOO\RUGHUHGPLIHSULVWRQH
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Reference ID: 5103819
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Reference ID: 5103819
Case 1:23-cv-03026-TOR   ECF No. 170-2    filed 12/11/24   PageID.3777   Page
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                                DEAR285                     2021 REMS 001505
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               13, 2020 until January 12, 2021, enforcement was barred by an injunction issued in the ACOG v.
               FDA litigation. More recently, on April 12, 2021, the Agency stated its intent to exercise
               enforcement discretion with respect to the in-person dispensing requirement during the COVID-
               19 PHE, which is still ongoing as of the date of this review. These circumstances have provided
               additional information regarding the in-person dispensing requirement as there have been periods
               when the in-person dispensing requirement was not enforced.
               As part of the May 7, 2021, joint motion to stay the Chelius v. Becerra litigation, the Agency
               agreed to undertake a full review the Mifepristone REMS Program, in accordance with the
               REMS assessment provisions of the Federal Food, Drug, and Cosmetic Act (FD&C Act). 1
                                                                 (b)(6)/PPI         (b)(6)/PPI        (b)(6)/PPI
               After consultations between the                               (       and the
                                  (b)(6)/PPI
                                (            analyzing several different sources of information, including published
               literature, safety information collected during the COVID-19 PHE, FDA Adverse Event
               Reporting System (FAERS) reports, REMS assessment reports, and information provided by
               advocacy groups, individuals, the Applicants, and the plaintiffs in the Chelius litigation, we
               determined that the approved REMS for mifepristone could be modified without adversely
               impacting patient safety. Importantly, our review did not identify any differences in adverse
               events between periods when the in-person dispensing requirement was being enforced and
               periods when that requirement was not being enforced. The data suggested that the requirements
               for prescriber certification (ETASU A) and the Patient Agreement Form (ETASU D) should be
               maintained, while the in-person dispensing requirement (under ETASU C) could be removed, to
               reduce the burden imposed by the REMS. In determining that the in-person dispensing
               requirement could be removed, we concluded that a new requirement for pharmacy certification
               (ETASU B) is necessary to ensure the benefits of the product outweigh the risks.
               (b)(6)/PPI         (b)(6)/PPI                                                              (b)(6)/PPI
                            and       assessment and recommendations were presented to the
                          (b)(6)/PPI                          (b)(6)/
                        (            on November 2, 2021. The PPI unanimously agreed with our
               recommendations.
               For more detailed information on the review and assessments of the information, refer to the
                                                                           (b)(6)/    (b)(6)/PPI
               REMS Modification Rationale Review, jointly completed by PPI and                  on December 16,
               2021.
               In conclusion, provided all other conditions of the Mifepristone REMS Program are met and that
               the other elements of the REMS are maintained (ETASU A and D), the following are required:
                      1. Modification of the Mifepristone REMS Program to remove the requirement under
                         ETASU C that mifepristone be dispensed only in certain healthcare settings, specifically
                         clinics, medical offices, and hospitals. This would allow, for example, dispensing of
                         mifepristone by mail, via certified prescribers or pharmacies, in addition to in-person

               1
                   Section 505-1(g)(2) of the FD&C Act (21 U.S.C. § 355-1(g)(2)).

                                                                                                                          2

                                                                     DEAR286                      2021 REMS 001506
Reference ID: 4906018
                Case 1:23-cv-03026-TOR                 ECF No. 170-2    filed 12/11/24   PageID.3779       Page
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                       dispensing in clinics, medical offices and hospitals as currently outlined in ETASU C .
                       We find that this provision is no longer necessary to ensure that the benefits of the drug
                       outweigh the risks and that removing it will help minimize the burden of complying with
                       the REMS on the healthcare delivery system.
                    2. Modification of the Mifepristone REMS Program to add a requirement under ETASU B
                       that pharmacies that dispense the drug be specially certified.


                             (b)(6)/PPI   (b)(6)/PPI
               Based on the        and         determination that a modified REMS with the components
               described above is necessary to reduce the burden imposed by the REMS and ensure the benefits
               of mifepristone outweigh the risks, FDA is requiring submission of the proposed REMS
               modification within 120 days of the date of the notification letter.




                                                                                                                3

                                                              DEAR287                      2021 REMS 001507
Reference ID: 4906018
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Reference ID: 4906018
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                                                   Department of Health and Human Services
                                                             Public Health Service
                                                        Food and Drug Administration
                                                   Center for Drug Evaluation
                                                                     (b)(6)/PPI
                                                                                and Research




                                                                    (b)(6)/PPI
                                                   Integrated                      Memorandum

               Date:                                       December 22, 2022
                                                                                 (b)(6)/PPI
               Reviewers:




                                                                                       (b)(6)/PPI
                        (b)(6)/PPI




                                      (b)(6)/PPI




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                         (b)(6)/PPI




               Product Name:                               Mifepristone 200 mg

               Subject:                                    All Adverse Events

               Application Type/Number:                    NDA 020687; ANDA 091178

               Applicants:                                 Danco Laboratories, LLC; GenBioPro, Inc.
                  (b)(6)/PPI
                                      #:                   2022-2987




                                                                            1
                                                                   DEAR289                           2023 SUPP 001040
Reference ID: 5099635
Case 1:23-cv-03026-TOR   ECF No. 170-2    filed 12/11/24   PageID.3782   Page
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                                DEAR290                     2023 SUPP 001041
Case 1:23-cv-03026-TOR   ECF No. 170-2    filed 12/11/24   PageID.3783   Page
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                                DEAR291                     2023 SUPP 001042
                Case 1:23-cv-03026-TOR               ECF No. 170-2    filed 12/11/24              PageID.3784          Page
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               FAERS Case # 21055005 (Duplicate Case # 21177969), Reported Adverse Event Date - May
               18, 2022 a
               A 26-year-old female at 7 weeks gestation per ultrasound ingested mifepristone 200 milligrams
               (mg) and was given misoprostol 800 micrograms (mcg) to administer, either via the buccal or
               vaginal route, 24 - 48 hours later for medical termination of pregnancy. It was specifically noted
               that the patient ingested the mifepristone at the clinic during her in-person appointment. The
               exact day/time of the misoprostol administration was unknown; however, it was known that it
               was administered vaginally. Approximately 12 days post-mifepristone ingestion (unknown
               number of days post-misoprostol), the patient committed suicide. The autopsy documented the
               cause of death to be the result of a “gunshot wound of head.” Of note, all psychiatric screenings
               completed during the patient’s clinic visit were reportedly negative for any psychiatric-related
               concerns. Additionally, the patient did not report any psychiatric history or history of depression.

               FAERS Case # 21073590 (Duplicate Case # 21252634), Reported Adverse Event Date -
               June 5, 2022 b
               A 37-year-old female at 8 weeks 3 days gestation per ultrasound ingested mifepristone 200 mg
               followed by misoprostol 800 mcg buccally the next day for medical termination of pregnancy. It
               was specifically noted that the patient ingested the mifepristone at the clinic during her in-person
               appointment. No antibiotics or other medications were administered prior to her medical
               abortion. Approximately 8 days later, the patient presented to the hospital with complaints of
               significant abdominal pain and vaginal bleeding. She had not contacted the clinic about any of
               her symptoms prior to going to the hospital. Her white blood cell (WBC) count was found to be
               elevated at 29.3 K/uL (reference range: 4.0 - 11.0 K/uL) and the presence of copious,
               malodorous discharge was noted upon gynecologic examination; therefore, sepsis was suspected.
               Blood cultures were obtained, and intravenous (IV) antibiotics were initiated. The patient’s
               leukocytosis worsened despite being on antibiotics, and multiple interventions were documented
               over the course of her hospitalization, including additional antibiotics, hysterectomy,
               salpingectomy, and laparotomy. Her blood cultures were found to be positive for Clostridium
               sordellii. Ultimately, the patient expired 11 days post-mifepristone ingestion (10 days post-
               misoprostol). The death certificate documented the cause of death to be the result of sepsis/toxic
               shock syndrome secondary to Clostridium sordellii.

               FAERS Case # 21124769, Reported Adverse Event Date - July 8, 2022
               A 20-year-old female at 10 weeks gestation was believed to have ingested mifepristone 200 mg
               followed by misoprostol 800 mcg “under her tongue” (split into two 400 mcg doses) for medical
               termination of pregnancy. It was specifically noted that the patient “was given 1 pill by mouth at
                       (b)(6)/PPI
                                     then instructed to go home and take 2 pills under her tongue, followed by 2
               more pills under her tongue 4 hours later.” It was unknown if the patient had an ultrasound prior
               to mifepristone ingestion, the exact day/time of misoprostol administration was unknown, and
               the patient was unable to identify the medications she ingested as part of her medication abortion

               a
                 This death case was not accounted for in the Mifepristone U.S. Post-Marketing Adverse Events Summary through
               06/30/2022 (which was completed by (b)(6)/
                                                      PPI and finalized on November 9, 2022) as this case was not received by
               FDA until 7/7/2022.
               b
                 This death case was not accounted for in the Mifepristone U.S. Post-Marketing Adverse Events Summary through
               06/30/2022 (which was completed by (b)(6)/
                                                      PPI and finalized on November 9, 2022) as this case was not received by
               FDA until 7/13/2022.


                                                                      4
                                                               DEAR292                               2023 SUPP 001043
Reference ID: 5099635
                Case 1:23-cv-03026-TOR            ECF No. 170-2    filed 12/11/24           PageID.3785        Page
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                                                               (b)(6)/PPI
               regimen; the reporting healthcare provider in              suspected that the medications ingested were
                                                                                           (b)(6)/PPI
               mifepristone and misoprostol based on information found on the                         clinic’s website
               regarding their medication abortion protocol. Approximately 24 days later, the patient presented
                                   (b)(6)/PPI
               to the hospital (in            ), was found to have a high normal WBC at 15.23 (units were not
               specified; reference range: 4.5 - 15.3), elevated band neutrophils at 14 (units were not specified;
               reference range: 0 - 6), cervical tenderness, and a positive quantitative beta human chorionic
               gonadotropin level of 21.16 (units were not specified; reference range: < 4.83 non-pregnant). She
               was diagnosed as having a uterine infection and IV antibiotics were initiated. A dilation and
               curettage was also completed which “showed trophoblastic implantation site consistent with
               intrauterine conception and chronic endometritis.” It is unknown if the patient had contacted the
               clinic prior to going to the hospital.

               FAERS Case # 21458187 (Duplicate Case # 21668113), Reported Adverse Event Date -
               September 7, 2022
               A 36-year-old female at 9 weeks gestation per ultrasound ingested mifepristone 200 mg followed
               by misoprostol 800 mcg vaginally later the same day for medical termination of pregnancy. It
               was specifically noted that the patient ingested the mifepristone at the clinic during her in-person
               appointment. No antibiotics or other medications were administered prior to her medical
               abortion. Telephone follow-up was completed approximately 7 days later, and no concerns were
               reported by the patient to the clinic. Approximately 26 days later (post-mifepristone ingestion),
               the patient presented to the hospital with complaints of abdominal pain and shortness of breath.
               She had not contacted the clinic about any of her symptoms prior to going to the hospital. She
               was found to be hypotensive and tachycardic; persistent vaginal bleeding and acute onset kidney
               injury were also noted. A potential pulmonary embolism was identified, and sepsis was
               suspected given the patient’s clinical presentation and her initial elevated lactic acid of 6.1
               mmol/L (reference range: 0.4 - 2.0 mmol/L). IV antibiotics were initiated; however, there was no
               documentation of blood culture results prior to initial antibiotic administration. The patient
               quickly decompensated despite multiple interventions, which included intensive care, intubation,
               and additional antibiotics. A bedside exploratory laparotomy was also deemed to be necessary
               and “necrosis of the uterus, liver, spleen, patchy necrosis of the small bowel and stomach, and
               complete necrotizing soft tissue infection of the retroperitoneum” was found. It could not be
               determined if the uterus was the source of the infection, but it was noted to be a possibility. Body
               fluid cultures (“abdominal purulence”) initially identified gram-positive cocci in pairs and gram-
               negative rods but were then documented as “no growth after 5 days incubation.” Blood cultures
               (post-antibiotic initiation) were negative. Ultimately, the patient expired 27 days post-
               mifepristone ingestion (27 days post-misoprostol). The preliminary cause of death was
               documented to be the result of “septic shock secondary to necrotizing fasciitis infection” (“septic
               shock with multi-organ failure with unknown definitive cause”). The patient’s death certificate
               has been requested.

               FAERS Case # 21544690 (Duplicate Cases # 21643590, # 21682753, # 21706995), Reported
               Adverse Event Date - September 28, 2022
               A 24-year-old female at 8 weeks 5 days gestation per ultrasound ingested mifepristone 200 mg
               followed by misoprostol 800 mcg vaginally (exact day of misoprostol administration was
               unknown) for medical termination of pregnancy. It was specifically noted that the patient
               ingested the mifepristone at the clinic during her in-person appointment. No antibiotics or other



                                                                   5
                                                           DEAR293                            2023 SUPP 001044
Reference ID: 5099635
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               medications were administered prior to her medical abortion. Approximately 5 days later, the
               patient presented to the hospital with a 4-day history of nausea/vomiting, diarrhea, and
               abdominal pain. The patient reported a “normal amount” of vaginal bleeding. She had not
               contacted the clinic about any of her symptoms prior to going to the hospital. The patient was
               found to be dehydrated, and laboratory data showed hemoconcentration with acute renal failure;
               this was documented as being likely due to dehydration and IV fluids were administered. Sepsis
               was also suspected given her elevated lactic acid of 9.1 mmol/L (reference range: 0.4 - 2.0
               mmol/L) and IV antibiotics were administered. Blood cultures were documented as being
               obtained per the healthcare provider’s notes; however, no blood culture order or results were
               found in the patient’s medical records. While awaiting transfer to a hospital with a higher level
               of care, the patient quickly decompensated despite multiple interventions, which included
               multiple fluid boluses, intubation, and cardiopulmonary resuscitation. Ultimately, the patient
               expired 6 days post-mifepristone ingestion (unknown number of days post-misoprostol). An
               autopsy was completed, and the cause of death was reported to be the result of “complications of
               septic abortion.” Postmortem blood cultures were reported to be negative for bacteria.

               Reviewers’ Comments: We identified a total of five FAERS cases in which an adverse event
               reportedly occurred from October 1, 2021 - December 3, 2022, with mifepristone use for
               medical termination of pregnancy in the U.S. Of note, all five cases reported that mifepristone
               was dispensed to and ingested by the patient while they were physically (i.e., in-person) at the
               clinic.

               Of these five cases, one case reported suicide via a gunshot wound to the head, one case
               reported sepsis, and three cases reported both sepsis and death (i.e., death associated with
               sepsis). Of note, our review of the three cases reporting death associated with sepsis did not
               identify any new aspect of this known and labeled adverse event.

               The risks of infection and sepsis are known and labeled adverse events with the use of
               mifepristone for medical termination of pregnancy. Language regarding the risk of infection and
               sepsis, in addition to specific clinical considerations (e.g., laboratory parameters that may be
               affected, signs and symptoms that may be present) and notation of the “sometimes fatal
               infections” or “very rare cases of fatal septic shock”, can be found in various sections of the
               prescribing information (e.g., BOXED WARNING, WARNINGS AND PRECAUTIONS) for the
               mifepristone products approved for medical termination of pregnancy. 1, 2

               The estimated number of women who have used mifepristone in the U.S. for medical termination
               of pregnancy since its approval on September 28, 2000, through the end of June 2022 is
               approximately 5.6 million women. 3 Since the U.S. approval of mifepristone for medical
               termination of pregnancy on September 28, 2000, there have been a total of eleven cases of
               death associated with sepsis (inclusive of two of the three cases summarized above reporting
               both sepsis and death) identified in the U.S. post-marketing setting (nine cases tested positive for
               Clostridium sordellii, one case tested positive for Clostridium perfringens, and one case had
               negative blood cultures).3 Nine of the eleven fatal sepsis cases reported vaginal misoprostol use;
               two cases reported buccal misoprostol use. In the approved regimen for mifepristone for the
               medical termination of intrauterine pregnancy through 70 days gestation, misoprostol is
               administered by the buccal route and the prescribing information for the mifepristone products



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                                                          DEAR294                           2023 SUPP 001045
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               approved for medical termination of pregnancy only reference the use of misoprostol via the
               buccal route; however, in clinical practice, vaginal administration is also used. 4, 5

               Of note, the aforementioned numerical analysis regarding the eleven cases of death associated
               with sepsis does not include the case in which the preliminary cause of death was reported to be
               the result of “septic shock secondary to necrotizing fasciitis infection” (“septic shock with multi-
               organ failure with unknown definitive cause”) as we have not yet received the requested death
               certificate. This death certificate is necessary to complete our analysis of this specific case given
               the uncertainty regarding the cause of infection.

               3.2      LITERATURE CASE SELECTION

               The literature search retrieved 79 publications. After applying the case definition in Section 2.1,
               no relevant case reports of adverse events that reportedly occurred from October 1, 2021 -
               December 3, 2022, with mifepristone use for medical termination of pregnancy in the U.S. were
               identified in the published medical literature (see Figure 2).

               Figure 2. Literature Case Selection

                                                      Publications Meeting Literature
                                                          Search Criteria (n=79)




                                                       Excluded Publications (n=79)
                                     Did not meet the case definition (n=47)
                                      o The case occurred outside of the U.S. (n=36)
                                      o Mifepristone was used for a reason other than medical
                                        termination of pregnancy (n=8)*
                                      o No adverse event was reported (n=2)
                                      o Insufficient information provided for case assessment (n=1)
                                     Duplicate (n=32)†

                               * 7 publications documented the use of mifepristone for Cushing’s syndrome (or
                               related conditions) and 1 publication documented the use of mifepristone for
                               adrenal incidentalomas.
                               † These 32 publications were identified and accounted for in a (b)(6)/
                                                                                               PPI
                                                                                                      memorandum
                               completed in December 2021. 6


               4        SUMMARY AND CONCLUSION

               In summary, we identified five cases from FAERS in which an adverse event reportedly
               occurred from October 1, 2021 - December 3, 2022, with mifepristone use for medical
               termination of pregnancy in the U.S. Of these five cases, one case reported suicide, one case
               reported sepsis, and three cases reported both sepsis and death (i.e., death associated with sepsis).
               We did not identify any additional case reports in the published medical literature.




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                                                                 DEAR295                                    2023 SUPP 001046
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               Based on the U.S. postmarketing data from FAERS reviewed in this memorandum, we have not
               identified any new safety concerns with the use of mifepristone for medical termination of
               pregnancy.




                                                            8
                                                      DEAR296                        2023 SUPP 001047
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               6        APPENDICES

               6.1      APPENDIX A. FDA ADVERSE EVENT REPORTING SYSTEM (FAERS)

               FDA Adverse Event Reporting System (FAERS)

               The FDA Adverse Event Reporting System (FAERS) is a database that contains information on
               adverse event and medication error reports submitted to FDA. The database is designed to
               support FDA's postmarketing safety surveillance program for drug and therapeutic biological
               products. The informatic structure of the database adheres to the international safety reporting
               guidance issued by the International Council on Harmonisation. Adverse events and medication
               errors are coded to terms in the Medical Dictionary for Regulatory Activities (MedDRA)
               terminology. The suspect products are coded to valid tradenames or active ingredients in the
               FAERS Product Dictionary (FPD).

               FAERS data have limitations. First, there is no certainty that the reported event was actually due
               to the product. FDA does not require that a causal relationship between a product and event be
               proven, and reports do not always contain enough detail to properly evaluate an event. Further,
               FDA does not receive reports for every adverse event or medication error that occurs with a
               product. Many factors can influence whether or not an event will be reported, such as the time a
               product has been marketed and publicity about an event. Therefore, FAERS data cannot be used
               to calculate the incidence of an adverse event or medication error in the U.S. population.




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                                                          DEAR298                          2023 SUPP 001049
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